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                             Exhibit 1
              Scotiabank Credit Agreement, as amended
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                                                                     EXECUTION COPY




                                       CREDIT AGREEMENT


                                             dated as of


                                             May 4, 2012


                                               among



                            PUERTO RICO ELECTRIC POWER AUTHORITY,
                                             as Borrower,



                                       The Lenders Party Hereto


                                                 and



                                  SCOTIABANK DE PUERTO RICO,
                                      as Administrative Agent




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           SCHEDULES:

           Schedule 2.01 Commitments
           Schedule 2.04 Existing Indebtedness
           Schedule 6.06 Existing Restrictions

           EXHIBITS:

           Exhibit A     Assignment and Assumption
           Exhibit B     Form of Note
           Exhibit C     Form of Borrowing Request
           Exhibit D     Form of Financial Compliance Certificate




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                                               CREDIT AGREEMENT

                THIS CREDIT AGREEMENT dated as of May 2, 2012 (this "Agreement"), among
           PUERTO RICO ELECTRIC POWER AUTHORITY, the LENDERS party hereto, and
           SCOTIABANK DE PUERTO RICO, as Administrative Agent.

                  The parties hereto agree as follows :

                                                      ARTICLE I

                                        DEFINITIONS; CONSTRUCTION

                 Section 1.01 Defined Terms. As used in this Agreement, the following terms have the
           meanings specified below:

                   "ABR Advance" means any Advance or Borrowing bearing interest at a rate determined
           by reference to the Alternate Base Rate.

                   "Adjustment Event" has the meaning assigned to such term in Section 2.09(a).

                   "Administrative Agent" means Scotiabank de Puerto Rico, in its capacity as
           administrative agent for the Lenders hereunder and any successor appointed pursuant to
           Article VIII hereof.

                  "Administrative Questionnaire" means an Administrative Questionnaire m a form
           supplied by the Administrative Agent.

                  "Advance" has the meaning assigned to such term in Section 2.01.

                  "Advance Repayment Date" means, with respect to each Advance, the date that such
           Advance is due and payable in accordance with Section 2.06, but in no event later than the
           Maturity Date.

                   "Affiliate" means, with respect to a specified Person, another Person that directly, or
           indirectly through one or more intermediaries, Controls or is Controlled by or is under common
           Control with the Person specified.

                  "Agreement" has the meaning assigned to such term in the preamble hereof.

                  "Alternate Base Rate" means a variable per annum reference rate of interest (as
           announced and adjusted by The Bank of Nova Scotia from time to time) for United States dollar
           loans made by said bank in the United States and Puerto Rico, with no representation by the
           Lenders that said rate is the lowest or most favorable rate offered by the Lenders or by The Bank
           of Nova Scotia. If The Bank of Nova Scotia ceases to announce a base rate, "Alternate Base
           Rate" shall mean the rate of interest published in The Wall Street Journal from time to time as
           the base or prime rate for such particular date. If more than one base or prime rate is published
           in The Wall Street Journal for a day, the average of such base or prime rates shall be used, and
           such average shall be rounded up to the nearest one thousandth of one percent (0.001 %). If The


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           Wall Street Journal ceases to publish the base or prime rate, the Administrative Agent shall select
           an equivalent publication that publishes such base or prime rate, and if such base or prime rates
           are no longer generally published or are limited, regulated or administered by a governmental or
           quasi-governmental body, then the Administrative Agent shall select, in its reasonable discretion,
           a comparable interest rate index. Each change in the Alternate Base Rate shall be effective from
           and including the date such change is publicly announced as being effective.

                   "Applicable Percentage" means, with respect to any Lender, the percentage of the total
           Commitments represented by such Lender' s Commitment. If the Commitments have terminated
           or expired, the Applicable Percentage, with respect to any Lender, shall be the percentage which
           such Lender' s Advances then outstanding constitutes of the aggregate principal amount of all
           Advances then outstanding.

                  "Applicable Margin" means 175 basis points; provided that the Applicable Margin shall
           be increased by the number of basis points set forth in the table below, effective as of the date a
           downgrade is made by either Moody' s or S&P to the long term ratings for Senior Debt, as
           follows:

                     Rating                                                          Spread

                     Moody' s             Baa2            S&P        BBB             +25 basis points
                     Moody' s             Baa3            S&P        BBB-            +50 basis points
                     Moody' s             Below Baa3      S&P        Below BBB-      +75 basis points



                  "Approved Fund" has the meaning assigned to such term in Section 9.04(b )(ii).

                  "Assignment and Assumption" means an assignment and assumption entered into by a
           Lender and an assignee (with the consent of any party whose consent is required by
           Section 9.04), and accepted by the Administrative Agent, in the form of Exhibit A or any other
           form approved by the Administrative Agent.

                  "Availability Period" means the period from and including the Effective Date to but
           excluding the earlier of (a) May 3, 2013 and (b) the date of termination of the Commitment.

                   "Board" means the Board of Governors of the Federal Reserve System of the United
           States of America.

                 "Borrower" means Puerto Rico Electric Power Authority, a public corporation and
           government instrumentality of the Commonwealth of Puerto Rico.

                   "Borrowing" means a borrowing made by the Borrower pursuant to Error! Reference
           source not found. consisting of Advances made on the same day by the Lenders ratably accord-
           ing to their respective Commitments.

                  "Borrowing Request" means a request by the Borrower for a Borrowing in accordance
           with Section 2.03.


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                  "Business Day" means any day that is not a Saturday, Sunday or other day on which
           commercial banks in the Commonwealth are authorized or required by law to remain closed,
           provided, however, that when used in connection with a LIBOR Advance, the term "Business
           Day" will also exclude any day on which banks are not open for dealings in Dollar deposits in
           the London interbank market.

                   "Capital Lease Obligations" of any Person means the obligations of such Person to pay
           rent or other amounts under any lease of (or other arrangement conveying the right to use) real or
           personal property, or a combination thereof, which obligations are required to be classified and
           accounted for as capital leases on a balance sheet of such Person under GAAP, and the amount
           of such obligations shall be the capitalized amount thereof determined in accordance with
           GAAP.

                   "Change in Law" means (i) the introduction, enactment, adoption or phase-in of any Law
           (or any provision thereof) after the Closing Date; (ii) any change in any Law (or any provision
           thereof) or in the interpretation or re-interpretation or application thereof by any Governmental
           Authority after the Closing Date; or (iii) compliance by the Lenders with any request, guideline,
           decision or directive (whether or not having the force of law) of any Governmental Authority
           made or issued after the Closing Date.

                  "Charges" has the meaning set forth in Section 9.12.

                  "Closing Date" means May 4, 2012.

                  "Code" means the Internal Revenue Code of 1986, as amended from time to time.

                  "Commitment" has the meaning set forth in Section 2.01.

                  "Commonwealth" means the Commonwealth of Puerto Rico.

                   "Control" means the possession, directly or indirectly, of the power to direct or cause the
           direction of the management or policies of a Person, whether through the ability to exercise
           voting power, by contract or otherwise. "Controlling" and "Controlled" have meanings
           correlative thereto.

                  "Current Expenses" has the meaning given to such term in the Trust Agreement.

                  "Credit Exposure" means, with respect to any Lender at any time, the then outstanding
           principal amount of the Advances made by such Lender at such time.

                  "Date of Taxability" means the date set forth in any Final Determination as the date on
           which interest on the Advances is deemed to be includable in gross income of the recipients
           thereof for Federal income tax purposes.

                  "Default" means any event or condition which constitutes an Event of Default or which
           upon notice, lapse of time or both would, unless cured or waived, become an Event of Default.

                  "Default Rate" has the meaning set fo1ih in Section 2.09.


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                      "Determination of Taxability" means any determination, decision, decree or advisement
               by the Commissioner of the Internal Revenue and District Director of the Internal Revenue or
               any court of competent jurisdiction, or an opinion obtained by the Administrative Agent, of
               counsel qualified in such matters, that an Event of Taxability has occurred. A Determination of
               Taxability also shall be deemed to have occurred on the first to occur of the following:

                              (a)    the date when the Borrower provides any notice or files any statement,
               supplemental statement, or other tax schedule, return or document which discloses that an Event
               of Taxability has occurred; or

                              (b)   the effective date of any federal legislation enacted or federal rule or
               regulation promulgated after the Closing Date that causes an Event of Taxability.

                      "Dollars" or ".$." means lawful money of the United States of America.

                       "Effective Date" means the date on which the conditions specified in Section 4.01 are
               satisfied (or waived in accordance with Section 9.02).

                      "Environmental Laws" means all laws, rules, regulations, codes, ordinances, orders,
               decrees, judgments, injunctions, notices or binding agreements issued, promulgated or entered
               into by any Governmental Authority, relating in any way to the environment, preservation or
               reclamation of natural resources, the management, release or threatened release of any
               Hazardous Material or to health and safety matters.

                        "Environmental Liability" means any liability, contingent or otherwise (including any
               liability for damages, costs of environmental remediation, fines, penalties or indemnities), of the
               Borrower or any Subsidiary directly or indirectly resulting from or based upon (a) violation of
               any Environmental Law, (b) the generation, use, handling, transportation, storage, treatment or
               disposal of any Hazardous Materials, (c) exposure to any Hazardous Materials, (d) the release or
               threatened release of any Hazardous Materials into the environment or (e) any contract,
               agreement or other consensual arrangement pursuant to which liability is assumed or imposed
               with respect to any of the foregoing.

                   "Equity Interests" means shares of capital stock, partnership interests, membership
           interests in a limited liability company, beneficial interests in a trust or other equity ownership
           interests in a Person, and any waiTants, options or other rights entitling the holder thereof to
           purchase or acquire any such equity interest.

                  "Extension Premium" has the meaning set fmih m Error! Reference source not
           found.(a).

                      "Event" or "Events" has the meaning given such terms in Section 2.15.

                      "Event of Default" has the meaning assigned to such term in Article VII.

                  "Event of Taxability" means with respect to the Advances: (i) (A) the application of the
           proceeds of such Advances in such manner that such Advances become "arbitrage bonds" within
           the meaning of Code Sections 103(b)(2) and 148, with the result that interest on such Advances


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           is or becomes includable in gross income of the recipients thereof for Federal income tax
           purposes or (B) if as the result of any act, failure to act or use of the proceeds of such Advances
           or any misrepresentation or inaccuracy in any of the representations, warranties or covenants
           contained in this Agreement or in any of the Loan Documents by the Borrower or the enactment
           of any federal legislation or the promulgation of any federal rule or regulation after the Closing
           Date, the interest on such Advances is or becomes includable in gross income of the recipients
           thereof for Federal income tax purposes; (ii) any portion of the interest on the Advances paid or
           payable by the Borrower is (A) not excludable from the gross income of any of the Lenders for
           Commonwealth income tax purposes or (B) subject to the payment of municipal license taxes or
           sales and use taxes imposed by the Commonwealth or any of its municipalities; or (C) the Notes
           cease to be exempt in whole or in part from Commonwealth property taxes.

                  "Eurocurrency Liabilities" has the meaning assigned to that term in Regulation D of the
           Board of Governors of the Federal Reserve System, as in effect from time to time.

                   "Excluded Taxes" means, with respect to the Administrative Agent, any Lender or any
           other recipient of any payment to be made by or on account of any obligation of the Borrower
           hereunder, (a) income or franchise taxes imposed on (or measured by) its net income by the
           United States of America, the Commonwealth or by the jurisdiction under the laws of which
           such recipient is organized or in which its principal office is located or, in the case of any
           Lender, in which its applicable lending office is located and (b) any branch profits taxes imposed
           by the United States of America or any similar tax imposed by any other jurisdiction in which
           the Borrower is located.

                 "Existing Credit Facility" means the Credit Agreement dated as of June 17, 2011 among
           the Authority, as Borrower, the Lenders party thereto and Scotiabank de Puerto Rico, as
           Administrative Agent.

                   "Federal Funds Effective Rate" means, for any day, the weighted average (rounded
           upwards, if necessary, to the next 1/ 100 of 1%) of the rates on overnight Federal funds
           transactions with members of the Federal Reserve System arranged by Federal funds brokers, as
           published on the next succeeding Business Day by the Federal Reserve Bank of New York, or, if
           such rate is not so published for any day that is a Business Day, the average (rounded upwards, if
           necessary, to the next 1/100 of 1%) of the quotations for such day for such transactions received
           by the Administrative Agent from three Federal funds brokers of recognized standing selected by
           it.

                    "Final Determination" means the entry of any decree or judgment by a court of
           competent jurisdiction, or the taking of any official action by the Internal Revenue Service or the
           Department of the Treasury of the Commonwealth or any Municipality of the Commonwealth,
           that is final under applicable procedural law and has the effect of a determination that an Event
           ofTaxability has occurred.

                  "Financial Officer" means the Executive Director, Chief Financial Officer, Treasurer or
           Assistant Treasurer of the Borrower.




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                       "Foreign Lender" means any Lender that is organized under the laws of a jurisdiction
               other than that in which the Borrower is located. For purposes of this definition, the United
               States of America, each state thereof, the District of Columbia and the Commonwealth shall be
               deemed to constitute a single jurisdiction.

                      "GAAP" means generally accepted accounting principles in the United States of
               America, including accounting rules prescribed by the Governmental Accounting Standards
               Board.

                      "GDB Resolution" means Resolution CE-2012-37 adopted on April 13, 2012 by the
               Executive Committee of Government Development Bank for Puerto Rico, authorizing a
               revolving credit facility for the Borrower for a maximum amount up to $500,000,000 from
               Scotiabank de Puerto Rico.

                       "Governmental Authority" means the government of the United States of America, any
               other nation or any political subdivision thereof, whether state, territorial or local, including the
               government of the Commonwealth, and any agency, authority, instrumentality, regulatory body,
               court, central bank or other entity exercising executive, legislative, judicial, taxing, regulatory or
               administrative powers or functions of or pertaining to government but excluding the Borrower.

                   "Guarantee" of or by any Person (the "guarantor") means any obligation, contingent or
           otherwise, of the guarantor guaranteeing or having the economic effect of guaranteeing any
           Indebtedness or other obligation of any other Person (the "primary obligor") in any manner,
           whether directly or indirectly, and including any obligation of the guarantor, direct or indirect, to
           purchase or pay (or advance or supply funds for the purchase or payment of) such Indebtedness
           or other obligation or to purchase (or to advance or supply funds for the purchase of) any
           security for the payment thereof, (b) to purchase or lease property, securities or services for the
           purpose of assuring the owner of such Indebtedness or other obligation of the payment thereof,
           (c) to maintain working capital, equity capital or any other financial statement condition or
           liquidity of the primary obligor so as to enable the primary obligor to pay such Indebtedness or
           other obligation, or (d) as an account party in respect of any letter of credit or letter of guaranty
           issued to support such Indebtedness or obligation; provided, that the term Guarantee shall not
           include endorsements for collection or deposit in the ordinary course of business.

                    "Hazardous Materials" means all explosive or radioactive substances or wastes and all
           hazardous or toxic substances, wastes or other pollutants, including petroleum or petroleum
           distillates, asbestos or asbestos containing materials, polychlorinated biphenyls, radon gas,
           infectious or medical wastes and all other substances or wastes of any nature regulated pursuant
           to any Environmental Law.

                       "Holder" means any assignee or transferee of Scotiabank de Puerto Rico, or a subsequent
               transferee, under Section 9.04(e) hereof.

                   "Indebtedness" of any Person means, without duplication, (a) all obligations of such
           Person for borrowed money or with respect to deposits or advances of any kind, (b) all
           obligations of such Person evidenced by bonds, debentures, notes or similar instruments, (c) all
           obligations of such Person upon which interest charges are customarily paid, (d) all obligations



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           of such Person under conditional sale or other title retention agreements relating to property
           acquired by such Person, (e) all obligations of such Person in respect of the deferred purchase
           price of property or services (excluding current accounts payable incurred in the ordinary course
           of business), (f) all Indebtedness of others secured by (or for which the holder of such
           Indebtedness has an existing right, contingent or otherwise, to be secured by) any Lien on
           property owned or acquired by such Person, whether or not the Indebtedness secured thereby has
           been assumed, (g) all Guarantees by such Person of Indebtedness of others, (h) all Capital Lease
           Obligations of such Person, (i) all obligations, contingent or otherwise, of such Person as an
           account party in respect of letters of credit and letters of guaranty, and G) all obligations,
           contingent or otherwise, of such Person in respect of bankers' acceptances. The Indebtedness of
           any Person shall include the Indebtedness of any other entity (including any partnership in which
           such Person is a general partner) to the extent such Person is liable therefor as a result of such
           Person' s ownership interest in or other relationship with such entity, except to the extent the
           terms of such Indebtedness provide that such Person is not liable therefor.

                  "Indemnified Taxes" means Taxes other than Excluded Taxes.

                  "Interest Election Request" means a request by the Borrower to continue a Borrowing in
           accordance with Section 2.04.

                  "Interest Payment Date" means (a) the Maturity Date, (b) any date on which the principal
           of the Advances is paid by reason of repayment, acceleration or otherwise or (c) with respect to
           each Advance, the last day of each Interest Period therefor.

                   "Interest Period" means, for any LIBOR Advance or Rollover, the period commencing on
           the date such LIBOR Advance or Rollover is disbursed or continued as a Rollover or an ABR
           Advance is converted to a LIBOR Advance; provided, however, that each Interest Period shall be
           for a period equal to I-week, I-month, 2-months or 3-months and shall in no event mature after
           the Maturity Date; provided, further , that (i) if any Interest Period would end on a day other than
           a Business Day, such Interest Period shall be extended to the next succeeding Business Day
           unless such next succeeding Business Day would fall in the next calendar month, in which case
           such Interest Period shall end on the immediately preceding Business Day, and (ii) any Interest
           Period that commences on the last Business Day of a calendar month (or on a day for which
           there is no numerically corresponding day in the last calendar month of such Interest Period)
           shall end on the last Business Day of the last calendar month of such Interest Period.

                 "Investment Obligations" means investments permitted in accordance with the Trust
           Agreement.

                  "1'.,aw" means any law, rule, regulation, statute, ordinance, judicial precedent or code,
           including the interpretation thereof by any Governmental Authority charged with its
           enforcement, interpretation or administration.

                   "Legal Proceeding" means any action brought by the Borrower contesting the basis of an
           asserted Determination of Taxability, either directly or in the name of any Lender, up to and
           including the conclusion of any appellate review.




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                  "Lenders" means the Persons listed on Schedule 2.01 and any other Person that shall
           have become a party hereto pursuant to an Assignment and Assumption, other than any such
           Person that ceases to be a party hereto pursuant to an Assignment and Assumption.

                  "Lender Group" means, with respect to a Lender, such Lender and all of its Affiliates
           which also are Lenders.

                   "LIBOR" means for any Interest Period for each Advance the rate of interest per annum
           at which deposits of equal (or like) amounts in United States dollars are offered by the principal
           office of The Bank of Nova Scotia in London, England, to prime banks in the London interbank
           market at 11 :00 a.m. (London time), two Business Days before the first day of each Interest
           Period, for a period equal to such Interest Period.

                   "LIBOR Advance" means any Advance bearing interest at a rate determined by reference
           to the LIBOR Rate.

                  "LIBOR Funds" means deposits in United States dollars in leading banks in the London
           interbank market.

                  "LIBOR Rate" means for any Interest Period for each Advance, LIBOR plus the
           Applicable Margin.

                    "LIBOR Rate Reserve Percentage" of any Lender for an Interest Period for any Advance
           means the reserve percentage applicable during such Interest Period (or if more than one such
           percentage shall be so applicable, the daily average of such percentages for those days in such
           Interest Period during which any such percentage shall be so applicable) under regulations issued
           from time to time by the Board of Governors of the Federal Reserve System (or any successor)
           for determining the maximum reserve requirement (including, without limitation, any
           emergency, supplemental or other marginal reserve requirement) for such Lender with respect to
           liabilities or assets consisting of or including Eurocurrency Liabilities having a term equal to
           such Interest Period.

                   "Lien" means, with respect to any asset, (a) any mortgage, deed of trust, lien, pledge,
           hypothecatiou, encumbrance, charge or security interest in, on or of such asset, (b) the interest of
           a vendor or a lessor under any conditional sale agreement, capital lease or title retention
           agreement (or any financing lease having substantially the same economic effect as any of the
           foregoing) relating to such asset and (c) in the case of securities, any purchase option, call or
           similar right of a third party with respect to such securities.

                  "Loan Documents" means this Agreement, the Notes, the Resolution, the GDB
           Resolution and all documents, instruments and agreements delivered in connection with the
           foregoing.

                   "Material Adverse Effect" means a material adverse effect on (a) the business, assets,
           operations, prospects or condition, financial or otherwise, of the Borrower and the Subsidiaries
           taken as a whole, (b) the ability of the Borrower to perform any of its obligations under this
           Agreement, the Trust Agreement or the Resolution or (c) the rights of or benefits available to the
           Lenders under this Agreement and the other Loan Documents.


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                      "Material Indebtedness" means Indebtedness (other than the Advances), or obligations in
               respect of one or more Swap Agreements, of any one or more of the Borrower and its
               Subsidiaries in an aggregate principal amount exceeding $10,000,000. For purposes of
               determining Material Indebtedness, the "principal amount" of the obligations of the Borrower or
               any Subsidiary in respect of any Swap Agreement at any time shall be the maximum aggregate
               amount (giving effect to any netting agreements) that the Borrower or such Subsidiary would be
               required to pay if such Swap Agreement were terminated at such time.

                      "Maturity Date" means May 3, 2013.

                      "Maximum Rate" has the meaning set fo1th in Section 9.12.

                      "Moody' s" means Moody' s Investors Service, Inc.

                      "Note" means a note substantially in the form of Exhibit B.

                      "Obligations" has the meaning set forth in Exhibit B.

                      "Other Taxes" means any and all present or future stamp or documentary taxes or any
               other excise or property taxes, charges or similar levies arising from any payment made
               hereunder or from the execution, delivery or enforcement of, or otherwise with respect to, this
               Agreement or the Notes.

                     "Operating Account" means Account #226902003367 established by the Borrower with
               the Administrative Agent exclusively for use in connection with this Agreement.

                      "Participant" has the meaning set forth in Section 9.04(c)(i).

                      "Permitted Encumbrances" means:

                             (a)    Liens imposed by law for taxes that are not yet due or are being contested
               in compliance with Section 5.04;

                              (b)     carriers', warehousemen' s, mechanics', materialmen's, repairmen's and
               other like Liens imposed by law, arising in the ordinary course of business and securing
               obligations that are not overdue by more than 30 days or are being contested in compliance with
               Section 5.04;

                               (c) pledges and deposits made in the ordinary course of business in
               compliance with workers ' compensation, unemployment insurance and other social security laws
               or regulations;

                           (d)     deposits to secure the performance of bids, trade contracts, leases,
           statutory obligations, surety and appeal bonds, performance bonds and other obligations of a like
           nature, in each case in the ordinary course of business;

                          (e)    judgment liens in respect of judgments that do not constitute an Event of
           Default under clause (k) of Article VII; and



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                               (f)     easements, zoning restrictions, rights-of-way and similar encumbrances on
               real property imposed by law or arising in the ordinary course of business that do not secure any
               monetary obligations and do not materially detract from the value of the affected property or
               interfere with the ordinary conduct of business of the Borrower or any Subsidiary;

                             (g)    provided that the term "Permitted Encumbrances" shall not include any
               Lien securing Indebtedness.

                      "Person" means any natural person, corporation, limited liability company, trust, joint
               venture, association, company, partnership, Governmental Authority or other entity.

                      "Register" has the meaning set forth in Section 9.04(b)(iv).

                      "Related Parties" means, with respect to any specified Person, such Person' s Affiliates
               and the respective directors, officers, employees, agents and advisors of such Person and such
               Person' s Affiliates.

                     "Required Lenders" means, at any time, Lenders having Credit Exposures and unused
               Commitments representing more than 50% of the sum of the total Credit Exposures and unused
               Commitments at such time; provided that if there are only two Lenders, then "Required Lenders"
               means both Lenders.

                       "Resolution" means, collectively, Resolution No. 3909 of the Borrower and the
               Ce11ificate of Determination dated May 4, 2012 authorizing the Borrowings and providing,
               among other things, that the Borrowings shall constitute Current Expenses under the Trust
               Agreement.

                     "Rollover" means the continuation, for an additional Interest Period, of a LIBOR
               Advance upon reaching the last day of its current Interest Period.

                      "Senior Debt" means the senior debt obligations of the Borrower issued under the Trust
               Agreement that are not guaranteed by any other Person or subject to any other credit
               enhancement; however, if all senior debt outstanding under the Trust Agreement is guaranteed
               by another Person or otherwise subject to credit enhancement, the rating of such senior debt will
               be considered without regard to such guarantee or credit enhancement, as the case may be.

                "S&P" means Standard & Poor' s Ratings Services, a division of The McGraw Hill
           Companies, Inc.

                   "subsidiary" means, with respect to any Person (the "parent") at any date, any
           corporation, limited liability company, partnership, association or other entity the accounts of
           which would be consolidated with those of the parent in the parent's consolidated financial
           statements if such financial statements were prepared in accordance with GAAP as of such date,
           as well as any other corporation, limited liability company, partnership, association or other
           entity (a) of which securities or other ownership interests representing more than 50% of the
           equity or more than 50% of the ordinary voting power or, in the case of a partnership, more than
           50% of the general partnership interests are, as of such date, owned, controlled or held, or (b)



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           that is, as of such date, otherwise Controlled, by the parent or one or more subsidiaries of the
           parent or by the parent and one or more subsidiaries of the parent.

                  "Subsidiary" means any subsidiary of the Borrower.

                   "Swap Agreement" means any agreement with respect to any swap, forward, future or
           derivative transaction or option or similar agreement involving, or settled by reference to, one or
           more rates, currencies, commodities, equity or debt instruments or securities, or economic,
           financial or pricing indices or measures of economic, financial or pricing risk or value or any
           similar transaction or any combination of these transactions.

                  "Taxes" means any and all present or future taxes, levies, imposts, duties, deductions,
           charges or withholdings imposed by any Governmental Authority.

                   "Transactions" means the execution, delivery and performance of this Agreement and the
           other Loan Documents, the adoption of the Resolution and the GDB Resolution, the making of
           the Advances and the use of the proceeds thereof, provided, however, that "Transactions" will
           not include, or be deemed to include, any transfer, assignment, participation, sale or other
           disposition of a Note or a Lender' s interest therein.

                  "Trust Agreement" means the Trust Agreement, dated as of January 1, 1974, as amended
           and supplemented, by and between the Borrower and U.S. Bank National Association, as
           successor trustee.

                   Section 1.02 Terms Generally. The definitions of terms herein shall apply equally to
           the singular and plural forms of the terms defined. Whenever the context may require, any
           pronoun shall include the corresponding masculine, feminine and neuter forms . The words
           "include," "includes" and "including" shall be deemed to be followed by the phrase "without
           limitation." The word "will" shall be construed to have the same meaning and effect as the word
           "shall." Unless the context requires otherwise, (a) any definition of or reference to any
           agreement, instrument or other document herein shall be construed as referring to such
           agreement, instrument or other document as from time to time amended, supplemented or
           otherwise modified (subject to any restrictions on such amendments, supplements or
           modifications set forth herein), (b) any reference herein to any Person shall be construed to
           include such Person' s successors and assigns, (c) the words "herein," "hereof and "hereunder,"
           and words of similar import, shall be construed to refer to this Agreement in its entirety and not
           to any particular provision hereof, (d) all references herein to Articles, Sections, Exhibits and
           Schedules shall be construed to refer to Articles and Sections of, and Exhibits and Schedules to,
           this Agreement and (e) the words "asset" and "property" shall be construed to have the same
           meaning and effect and to refer to any and all tangible and intangible assets and properties,
           including cash, securities, accounts and contract rights.

                   Section 1.03 Accounting Terms; GAAP. Except as otherwise expressly provided
           herein, all terms of an accounting or financial nature shall be construed in accordance with
           G AAP, as in effect from time to time; provided that if the Borrower notifies the Administrative
           Agent that the Borrower requests an amendment to any provision hereof to eliminate the effect
           of any change occurring after the date hereof in GAAP or in the application thereof on the



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           operation of such provision (or if the Administrative Agent notifies the Borrower that the
           Required Lenders request an amendment to any provision hereof for such purpose), regardless of
           whether any such notice is given before or after such change in GAAP or in the application
           thereof, then such provision shall be interpreted on the basis of GAAP as in effect and applied
           immediately before such change shall have become effective until such notice shall have been
           withdrawn or such provision amended in accordance herewith.

                                                    ARTICLE II

                                                 THE ADVANCES

                  Section 2.01 Commitment. (a) Each Lender severally agrees, on and subject to the
           tenns and conditions hereinafter set forth, to make advances (each an "Advance") to the
           Borrower from time to time during the Availability Period, under a revolving line of credit in an
           aggregate principal amount not to exceed the amount set opposite such Lender' s name as its
           Commitment in Schedule 2.01 or, if such Lender has entered into an Assignment and
           Assumption, the amount set forth for such Lender in the Register maintained by the
           Administrative Agent pursuant to Section 9.04(b)(iv) (such Lender' s "Commitment").

                  (b) If at the time of any Borrowing there is any principal amount outstanding to any
           Lender under the Existing Credit Facility, then (i) such Lender' s Commitment shall be deemed
           reduced by such outstanding amount; and (ii) all other Lenders' Commitments shall also be
           deemed reduced so that each Lender will maintain the same percentage share of the total
           Commitments.

                   (c) Each Borrowing made by the Borrower under this Section 2.01 shall consist of one or
           more Advances made on the same day by the Lenders ratably in accordance with their respective
           Commitments. Within the foregoing limit and subject to the terms and conditions set forth
           herein, the Borrower may borrow, repay and reborrow the Borrowings.

                    Section 2.02 Advances and Borrowings. Each Borrowing shall consist of LIBOR
           Advances made or continued by the Lenders ratably in accordance with their respective
           Commitments. Each Advance shall be in an integral multiple of $1,000,000, and the minimum
           amount of an Advance shall be $1,000,000; provided, however, if less than $1,000,000 is
           available to the Borrower a LIBOR Advance may be requested by the Borrower in an aggregate
           amount that is equal to the entire unused balance of each Lender's Commitment. The failure of
           any Lender to make any Advance required to be made by it shall not relieve any other Lender of
           its obligations hereunder; provided that the Commitments of the Lenders are several and not joint
           (mancomunado), and no Lender shall be responsible for any other Lender' s failure to make
           Advances as required.




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                      Section 2.03 Funding of Borrowings.

                               (a) To request a Borrowing, the Borrower shall notify the Administrative Agent of
               such request by telephone not later than 11 :00 a.m. , San Juan, Puerto Rico time, two Business
               Days before the date of the proposed Borrowing, p rovided however, that the initial LIBOR
               Advance may be requested prior to 11 :00 a.m. on the same day as the initial Borrowing. Each
               such telephonic Borrowing Request shall be irrevocable and shall be confirmed promptly by
               hand delivery or telecopy to the Administrative Agent of a written Borrowing Request in the
               form of Exhibit C and signed by the Borrower. Upon fulfi llment of the applicable conditions set
               forth in Article IV, the Administrative Agent and Lenders will make the funds available to the
               Borrower by funding the Borrower' s Operating Account held with the Administrative Agent.
               Each such telephonic and written Borrowing Request shall specify the following information:

                                     (i)    the amount of the requested Borrowing;

                                     (ii)   the date of such Borrowing, which shall be a Business Day;

                                   (iii)   the initial Interest Period selected by the Borrower for the
               requested Advance, which shall be equal to 1-week, I-month, 2-months or 3-months; and
:II                                     (iv)   the Current Expenses to be paid, which Current Expenses shall be
C
u,             evidenced by unpaid invoices or other documentation acceptable to the Administrative Agent,
:z:
·-
               and shall total no less than the amount requested in the Borrowing Request.

                       If no Interest Period is specified with respect to any LIBOR Advance, then the Borrower
               shall be deemed to have selected an Interest Period of one month's duration; provided that no
               Interest Period may be selected which would mature after the Advance Repayment Date.

                              (b)    Each Lender shall make each Advance to be made by it hereunder on the
               proposed date thereof by wire transfer of immediately available funds by 12:00 noon, San Juan,
               Puerto Rico time, to the account of the Administrative Agent most recently designated by it for
               such purpose by notice to the Lenders. The Administrative Agent will make such Advances
               available to the Borrower by promptly crediting the amounts so received, in like funds, to the
               Operating Account.

                           (c)     Unless the Administrative Agent shall have received notice from a Lender
           prior to the proposed date of any Borrowing that such Lender will not make available to the
           Administrative Agent such Lender' s share of such Borrowing, the Administrative Agent may
           assume that such Lender has made such share available on such date in accordance with
           paragraph (a) of this Section and may, in reliance upon such assumption, make available to the
           Borrower a corresponding amount. In such event, if a Lender has not in fact made its share of
           the applicable Borrowing available to the Administrative Agent, then the applicable Lender
           agrees to pay to the Administrative Agent forthwith on demand such corresponding amount with
           interest thereon, for each day from and including the date such amount is made available to the
           Borrower to but excluding the date of payment to the Administrative Agent, at the greater of the
           Federal Funds Effective Rate and a rate determined by the Administrative Agent in accordance


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           with banking industry rules on interbank compensation. If such Lender pays such amount to the
           Administrative Agent, then such amount shall constitute such Lender' s Advance included in
           such Borrowing.

                  Section 2.04 Interest Elections

                            (a)     Each Borrowing initially shall be a LIBOR Advance and shall have an
           initial Interest Period as specified in such Borrowing Request. The Borrower may thereafter elect
           to continue such LIBOR Advance for one or more Interest Periods, all as provided in this
           Section; provided that the Borrower may not select an Interest Period that would mature after the
           Advance Repayment Date other than a final 1-week Interest Period, and on the last day of such
           final 1-week Interest Period, the Advance shall become due and payable.

                           (b)   Not later than 11 :00 a.m., San Juan, Puerto Rico time, two Business Days
           before the end of each Interest Period for each LIBOR Advance, the Administrative Agent shall
           provide the Borrower with the terms and interest rates available to the Borrower for the next
           Interest Period.

                           (c)    To make an election pursuant to this Section, the Borrower shall notify the
           Administrative Agent of such election by telephone, e-mail or facsimile by not later than 2:00
           p.m., San Juan, Puerto Rico time, two Business Days before (A) the effective date of such
           election or (B) the last day of an Interest Period, and the Administrative Agent shall thereupon
           inform the Lenders of the Borrower's election by 3:00 p.m. on the same date . Each such
           telephonic, electronic or facsimile Interest Election Request shall be irrevocable and shall be
           confirmed promptly by hand delivery or telecopy to the Administrative Agent of a written
           Interest Election Request in a form approved and signed by the Borrower.

                          (d)    Each telephonic and written Interest Election Request shall specify the
           following information in compliance with Section 2.02:

                          (i)     the Borrowing to which such Interest Election Request applies;

                        (ii)    the effective date of the election made pursuant to such Interest Election
                  Request, which shall be a Business Day;

                          (iii)   that such Borrowing shall be a LIBOR Advance or a Rollover; and

                          (iv)  the Interest Period to be applicable thereto after giving effect to such
                  election, which shall be a period contemplated by the definition of the term "Interest
                  Period."

                          (e)      If any such Interest Election Request does not specify an Interest Period,
           then the Borrower shall be deemed to have selected an Interest Period of 1-month; provided,
           however, if such 1-month Interest Period would mature after the Advance Repayment Date, then
           such Interest Period shall be deemed to be 1-week ; provided, further, that if such I-week Interest
           Period shall mature after the Advance Repayment Date, then no additional Interest Period shall
           be available therafter for such Advance and such Advance shall become due and payable on the



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           last day of such Interest Period. Notwithstanding anything to the contrary contained herein, no
           LIBOR Advance or Rollover shall mature after the Maturity Date.

                           (f)    If the Borrower fails to deliver a timely Interest Election Request with
           respect to a Borrowing at the time specified in clause (b) of this Section 2. 04 prior to the end of
           the Interest Period applicable thereto, then, unless such Borrowing is repaid as provided herein,
           at the end of such Interest Period such Borrowing shall be continued as a LIBOR Advance with
           an Interest Period of I -month; provided, however, if such Interest Period would mature after the
           Advance Repayment Date, then such LIBOR Advance shall be continued with an Interest Period
           equal to I-week; provided, further, that if such I-week Interest Period would mature after the
           Advance Repayment Date then no additional Interest Period shall be available thereafter for such
           Advance and such Advance shall become due and payable on the last day of said Interest Period.
           Notwithstanding anything to the contrary contained herein, no LIBOR Advance or Rollover shall
           mature after the Maturity Date.

                      Section 2.05 Termination and Reduction of Commitments.

                                (a)   Unless previously terminated, the Commitments shall terminate on the
               Maturity Date.

                          (b)    The Borrower may at any time tenninate, or from time to time reduce, the
           Commitments; provided that (i) each reduction of the Commitments shall be in an amount that is
           an integral multiple of $ I ,000,000 and not less than $ I ,000,000, and (ii) the Borrower shall not
           terminate or reduce the Commitments if, after giving effect to any concurrent repayment of the
           Advances in accordance with Section 2.06, the Credit Exposures would exceed the total
           Commitments.

                          (c)     The Borrower shall notify the Administrative Agent of any election to
           terminate or reduce the Commitments under paragraph (b) of this Section at least five (5)
           Business Days prior to the effective date of such termination or reduction, specifying such
           election and the effective date thereof. Promptly following receipt of any such notice, the
           Administrative Agent shall advise the Lenders of the contents thereof. Each notice delivered by
           the Bonower pursuant to this Section shall be in-evocable; provided that a notice of termination
           of the Commitments delivered by the Bonower may state that such notice is conditioned upon
           the effectiveness of other credit facilities, in which case such notice may be revoked by the
           Borrower (by notice to the Administrative Agent on or prior to the specified effective date) if
           such condition is not satisfied. Any termination or reduction of the Commitments shall be
           permanent. Each reduction of the Commitments shall be made ratably among the Lenders in
           accordance with their respective Commitments.

                          (d)    If an Event of Default or a Final Determination has occurred, the
           Commitment shall be automatically and immediately reduced to zero and the Availability Period
           shall thereupon be terminated. The Administrative Agent shall give notice to the Borrower of
           such reduction and termination; however, failure to give such notice shall in no way affect the
           reduction of the Commitment and the termination of the Availability Period.

                      Section 2.06 Repayment of Advances; Evidence of Debt.



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                          (a)     The Advances made to the Borrower by each Lender shall be evidenced
           by a Note payable to the order of such Lender. The aggregate outstanding principal amount of
           the Notes shall not exceed FIVE HUNDRED MILLION DOLLARS ($500,000,000).

                         (b)    Each LIBOR Advance shall be due and payable on the last day of the
           Interest Period ending closest to six months after disbursement thereof (the "Advance
           Repayment Date"), determined as provided in Section 2.04.

                         (c)     Any Advance that, 180 days after the initial disbursement, is an ABR
           Advance, shall be due and payable on that date.

                         (d)       The aggregate unpaid principal balance of all outstanding Advances,
           together with interest thereon shall be payable in full on the Maturity Date. The Borrower
           hereby unconditionally promises to pay to the Administrative Agent for the account of each
           Lender the then unpaid principal amount of each Advance on its Advance Repayment Date as
           determined pursuant to Section 2.06(b), but in no event later the Maturity Date.

                          (e)    Each Lender shall maintain in accordance with its usual practice an
           account or accounts evidencing the indebtedness of the Borrower to such Lender resulting from
           each Advance made by such Lender, including the amounts of principal and interest payable and
           paid to such Lender from time to time hereunder.

                          (f)    The Administrative Agent shall maintain accounts in which it shall record
           the amount of each Advance made hereunder, (ii) the amount of any principal or interest due and
           payable or to become due and payable from the Borrower to each Lender hereunder, (iii) the
           amount of any sum received by the Administrative Agent hereunder for the account of the
           Lenders and each Lender' s share thereof and (iv) the principal amount of any Note issued under
           Section 9.04(e) hereof, and the name, address and wire transfer instructions and any other
           account information for the assignee to which such Note will be delivered.

                          (g)     The entries made in the accounts maintained pursuant to paragraph (b) or
           of this Section shall be prima facie evidence of the existence and amounts of the obligations
           recorded therein; provided that the failure of any Lender or the Administrative Agent to maintain
           such accounts or any error therein shall not in any manner affect the obligation of the Borrower
           to repay the Advances in accordance with the terms of this Agreement and, in the event of any
           discrepancy between such entries, the entries in the accounts maintained by the Administrative
           Agent shall govern.

                          (h)    The obligations of the Borrower to the Lenders will be evidenced by the
           Notes.

                    Section 2.07 Optional Prepayment of Advances.

                            (a) The Borrower shall have the right at any time and from time to time to
           prepay any Borrowing in whole or in part, subject to prior notice in accordance with paragraph
           (b) of this Section.




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                           (b)    The Borrower shall notify the Administrative Agent by telephone
           (confirmed by telecopy) (i) in the case of prepayment of a LIBOR Advance, not later than 11 :00
           a.m. , San Juan, Puerto Rico time, two Business Days before the date of prepayment or (ii) in the
           case of prepayment of an ABR Advance, not later than 11 :00 a.m. , San Juan, Puerto Rico time,
           one Business Day before the date of prepayment. Each such notice shall be irrevocable and shall
           specify the repayment date and the principal amount of each Borrowing or portion thereof to be
           prepaid; provided that if a notice of repayment is given in connection with a conditional notice of
           termination of the Commitments as contemplated by Section 2.05, then such notice ofrepayment
           may be revoked if such notice of termination is revoked in accordance with Section 2.05 .
           Promptly following receipt of any such notice relating to a Borrowing, the Administrative Agent
           shall advise the Lenders of the contents thereof. Each partial repayment of any Borrowing shall
           be in an amount not less than $1 ,000,000 and integral multiples thereof. Each repayment of a
           Borrowing shall be made to the Administrative Agent and applied ratably to the Advances
           included in the prepaid Borrowing.

                         (c)     All repayments under this Section 2.07 shall be made together with
           accrued interest as required by Section 2.09 to the date of such repayment on the principal
           amount prepaid.

                         (d)     All prepayments under this Section 2.07 shall be made without
           prepayment penalty or premium, without prejudice to the obligation of the Borrower to pay the
           amounts required to be paid to the Lenders pursuant to subsection (e) below.

                           (e)     In the event of (a) the payment of any principal of any LIBOR Advance,
           other than on the last day of an Interest Period applicable thereto (including as a result of an
           Event of Default), or (b) the failure to borrow, continue or prepay any LIBOR Advance on the
           date specified in any notice delivered pursuant thereto, then, in any such event, the Borrower
           shall compensate each Lender for the loss, cost and expense attributable to such event. Such
           loss, cost or expense to any Lender shall be deemed to include an amount reasonably determined
           by such Lender to be the excess, if any, of (i) the amount of interest which would have accrued
           on the principal amount of such Advance had such event not occurred, at the LIBOR Rate that
           would have been applicable to such Advance, for the period from the date of such event to the
           last day of the then current Interest Period therefor (or, in the case of a failure to borrow or
           continue, for the period that would have been the Interest Period for such Advance), over (ii) the
           amount of interest which would accrue on such principal amount for such period at the interest
           rate which such Lender would be offered, at the commencement of such period, for dollar
           deposits of a comparable amount and period from other banks in the LIBOR market. A
           certificate of any Lender setting fmih in reasonable detail any amount or amounts that such
           Lender is entitled to receive pursuant to this Section shall be delivered to the Borrower and shall
           be conclusive absent manifest error. The Borrower shall pay such Lender the amount shown as
           due on any such certificate within 10 days after receipt thereof. Notwithstanding anything to the
           contrary herein, this paragraph (e) shall not apply to any LIBOR Advance with an Interest Period
           of I -week.




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                       Section 2.08 Structuring Fee. The Borrower agrees to pay to the Administrative
               Agent a fee equal to $150,000 (the "Structuring Fee"). The Structuring Fee shall be payable in
               irnrnediately available funds no later than [five (5)] Business Days following the Closing Date.

                      Section 2.09 Interest.

                                (a)     LIBOR Advances. Each Advance shall accrue interest from the date it was
               made until the full repayment thereof at a fluctuating annual rate equal at all times during each
               Interest Period for such Advance at LIBOR plus the Applicable Margin; provided however, that
               cornrnencing on the 91 st day after the initial disbursement of the Advance and until full payment
               thereof, the applicable interest rate shall increase by 25 basis points (the "Extension Premium").
               The Administrative Agent shall give the Borrower prompt written notice of the LIBOR Rate that
               is set for each Interest Period, including the Extension Premium if applicable.

                              Any adjustment to the Applicable Margin due to a change in any rating of the
               Senior Debt by Moody' s or by S& P (an "Adjustment Event") shall be made by the
               Administrative Agent, as soon as practicable after receipt by the Administrative Agent of (i)
               notice from the Borrower provided pursuant to Section 5.02 hereof or (ii) other evidence
               satisfactory to the Administrative Agent confirming that an Adjustment Event has transpired
               which gives rise to an adjustment to the Applicable Margin. Any such adjustment to the
               Applicable Margin shall be effective as of the date of the occurrence of the Adjustment Event.

                              (b)    ABR Advances. During the first 90 days after disbursement, ABR
               Advances shall bear interest at a fluctuating rate per annum equal at all times to the Alternate
               Base Rate plus the Applicable Spread. Cornrnencing on the 91st day after disbursement, ABR
               Advances shall bear interest at a fluctuating rate per annum equal at all times to the Alternate
               Base Rate, plus the Applicable Spread, plus 25 basis points.

                           (c)     Default Rate. Anything hereunder to the contrary notwithstanding, and
           without prejudice to any remedies of the Administrative Agent or the Lenders provided
           hereunder or at law or in equity, the interest rate applicable to the outstanding principal amount
           of the Advances during any period when an Event of Default, pursuant to clause (a) and (b)
           under Article VII hereof shall have occurred and be continuing, shall be four percent (4%) over
           the Alternate Base Rate and (ii) when an Event of Default, other than an Event of Default under
           clause (a) or (b) of Article VII, shall have occurred and is continuing shall be one percent (1 %)
           over the Alternate Base Rate (the "Default Rate").

                          (d)     The Administrative Agent shall determine the interest rate for Advances as
           provided above and shall furnish such rate to the Borrower and the Lenders. No later than the
           second Business Day preceding each Interest Payment Date, the Administrative Agent shall
           notify the Borrower in writing or by readily accessible electronic means of the total amount of
           interest payable on the Advances on such Interest Payment Date.

                          (e)    Accrued interest on each Advance shall be payable in arrears on each
           Interest Payment Date for such Advance and upon the earliest of the Maturity Date, the
           termination of the Cornrnitments and such other date on which the Advances are due and payable
           hereunder; provided that in the event of any repayment or prepayment of any Advance, accrued



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               interest on the principal amount repaid or prepaid shall be payable on the date of such repayment
               or prepayment.

                               (f)   Interest shall be calculated on the basis of a 360-day year for LIBOR
               Advances and if the Alternate Base Rate is in effect on the basis of a 365-day year, in each case
               for the actual number of days elapsed.

                               (g)    Upon a Final Determination, the Administrative Agent shall calculate
               (i) the amount of interest which accrued on all Advances from the Date of Taxability to the date
               of the Final Determination and (ii) the amount of interest which would have accrued on all
               Advances from the Date of Taxability to the date of the Final Determination if the interest rate
               during such period of calculation had been the sum of the LIBOR Rate (including any Extension
               Premium) for each such Interest Period for such Advance plus an amount equal to any additional
               costs incurred by the Administrative Agent and the Lenders due to the Final Determination so
               that net of such additional costs the Administrative Agent and Lenders receive the amount they
               would have received had no Final Determination been made. Upon such calculation the
               Administrative Agent shall make demand on the Borrower for amount equal to an amount by
               which the amount described in clause (ii) exceeds the amount described in clause (i). The
               Bon-ower shall pay to the Administrative Agent for the benefit of the Lenders as additional
               interest on the Advances the amount so demanded upon receipt of such demand.

                              (h)   The obligation of any Lender hereunder to make, fund or maintain
               Advances bearing interest at the LIBOR Rate shall in all cases be subject to the availability to all
               of the Lenders of LIBOR funds.

                   Section 2.10 Alternate Rate of Interest. If prior to the commencement of any Interest
           Period for any LIBOR Advance the Administrative Agent determines (which determination shall
           be conclusive absent manifest en-or) that (i) such deposits in the relevant amount and for the
           relevant Interest Period are not available to it, (ii) by reason of circumstances affecting its
           relevant market, adequate means do not exist for ascertaining the interest rate applicable
           hereunder to LIBOR Advances, or (iii) the LIBOR Rate will not adequately and fairly reflect the
           cost to the Administrative Agent or Lender of making or continuing LIBOR Advances for an
           applicable Interest Period, then the Administrative Agent shall give notice thereof to the
           Bon-ower by telephone or telecopy as promptly as practicable thereafter and, until the Lender
           notifies the Bon-ower that the circumstances giving rise to such notice no longer exist, (i) such
           Bon-owing (unless prepaid) shall be converted to, an ABR Advance (provided that no such
           conversion shall be required earlier than the last day of the then-current Interest Period) and (ii)
           if any Bon-owing Request requests a LIBOR Advance, such Bon-owing shall be made as an ABR
           Advance. The Administrative Agent shall promptly notify the B01Tower when the circumstances
           giving rise to such notice no longer exist, and upon receipt of such notice the Borrower may elect
           to convert such ABR Advances to LIBOR Advances.
                      Section 2.11    Taxes.

                         (a)    Any and all payments by or on account of any obligation of the Bon-ower
           hereunder shall be made free and clear of and without deduction for any Indemnified Taxes or
           Other Taxes; provided that if the Borrower shall be required to deduct any Indemnified Taxes or
           Other Taxes from such payments, then (i) the sum payable shall be increased as necessary so that


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           after making all required deductions (including deductions applicable to additional sums payable
           under this Section) the Administrative Agent or Lender (as the case may be) receives an amount
           equal to the sum it would have received had no such deductions been made, (ii) the Borrower
           shall make such deductions and (iii) the Borrower shall pay the full amount deducted to the
           relevant Governmental Authority in accordance with applicable law.

                        (b)    In acldition, the Borrower shall pay any Other Taxes to the relevant
           Governmental Authority in accordance with applicable law.

                           (c)   The Borrower shall indemnify the Administrative Agent and each Lender,
           within 10 days after written demand therefor, for the full amount of any Indemnified Taxes or
           Other Taxes paid by the Administrative Agent or such Lender, as the case may be, on or with
           respect to any payment by or on account of any obligation of the Borrower hereunder (including
           Indemnified Taxes or Other Taxes imposed or asserted on or attributable to amounts payable
           under this Section) and any penalties, interest and reasonable expenses arising therefrom or with
           respect thereto, whether or not such Indemnified Taxes or Other Taxes were correctly or legally
           imposed or asserted by the relevant Governmental Authority. A certificate as to the amount of
           such payment or liability delivered to the Borrower by a Lender or by the Administrative Agent
           on its own behalf or on behalf of a Lender shall be conclusive absent manifest error.

                         (d)    As soon as practicable after any payment of Indemnified Taxes or Other
           Taxes by the Borrower to a Governmental Authority, the Borrower shall deliver to the
           Administrative Agent the original or a certified copy of a receipt issued by such Governmental
           Authority evidencing such payment, a copy of the return reporting such payment or other
           evidence of such payment reasonably satisfactory to the Administrative Agent.

                          (e)     Any Foreign Lender that is entitled to an exemption from or reduction of
           withholding tax under the law of the jurisdiction in which the Borrower is located, or any treaty
           to which such jurisdiction is a party, with respect to payments under this Agreement shall deliver
           to the Borrower (with a copy to the Administrative Agent), at the time or times prescribed by
           applicable law, such properly completed and executed documentation prescribed by applicable
           law or reasonably requested by the Borrower as will permit such payments to be made without
           withholding or at a reduced rate.

                           (f)     If the Administrative Agent or a Lender determines, in its sole discretion,
           that it has received a refund or credit of any Taxes or Other Taxes as to which it has been
           indemnified by the Borrower or with respect to which the Borrower has paid additional amounts
           pursuant to this Section 2.11, it shall pay to the Borrower such refund or an amount equal to such
           credit (but only to the extent of indemnity payments made, or additional amounts paid, by the
           Borrower under this Section 2.11 with respect to the Taxes or Other Taxes giving rise to such
           refund or credit), net of all reasonable out-of-pocket expenses relating to such refund or credit of
           the Administrative Agent or such Lender and without interest (other than any interest paid by the
           relevant Governmental Authority with respect to such refund); provided, that the Borrower
           agrees, upon the request of the Administrative Agent or such Lender, to repay the amount paid
           over to the Borrower (plus any penalties, interest or other charges imposed by the relevant
           Governmental Authority) to the Administrative Agent or such Lender in the event the
           Administrative Agent or such Lender is required to repay such refund to such Governmental


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           Authority. This Section shall not be construed to require the Administrative Agent or any
           Lender to make available its tax returns (or any other information relating to its taxes which it
           deems confidential) to the Borrower or any other Person.

                  Section 2.12 Payments Generally; Pro Rata Treatment; Sharing of Set-offs.

                           (a)     The Borrower shall make each payment required to be made by it
           hereunder (whether of principal, interest, fees, or amounts payable under Section 2.11 , or
           otherwise) prior to 12:00 noon, San Juan, Puerto Rico time, on the date when due, in
           immediately available funds, without set off or counterclaim except as otherwise provided in
           Section 2.12(f). All payments to the Administrative Agent shall be made through the Federal
           Reserve Wire System to JPMorgan Chase Bank-New York, ABA No. 021000021 at the Federal
           Reserve Bank of New York for credit to Scotiabank de Puerto Rico, account number 001058975.
           With respect to payments of principal and interest, payment should be made to the account name
           and number to be provided by the Administrative Agent to the Borrower, from time to time.
           Any amounts received after such time on any date may, in the discretion of the Administrative
           Agent, be deemed to have been received on the next succeeding Business Day for purposes of
           calculating interest thereon. Payments pursuant to Sections 2.11 and 9.03 shall be made directly
           to the Persons entitled thereto. The Administrative Agent shall distribute any such payments
           received by it for the account of any other Person to the appropriate recipient promptly following
           receipt thereof. If any payment hereunder shall be due on a day that is not a Business Day, the
           date for payment shall be extended to the next succeeding Business Day, and, in the case of any
           payment accruing interest, interest thereon shall be payable for the period of such extension. All
           payments hereunder shall be made in Dollars.

                         (b)     If at any time insufficient funds are received by and available to the
           Administrative Agent to pay fully all amounts of principal, interest and fees then due hereunder,
           such funds shall be applied (i) first, towards payment of interest and fees then due hereunder,
           ratably among the parties entitled thereto in accordance with the amounts of interest and fees
           then due to such parties, and (ii) second, towards payment of principal then due hereunder,
           ratably among the parties entitled thereto in accordance with the amounts of principal then due to
           such parties.

                           (c)    If any Lender shall, by exercising any right of set off or counterclaim or
           otherwise, obtain payment in respect of any principal of or interest on any of its Advances
           resulting in such Lender receiving payment of a greater proportion of the aggregate amount of its
           Advances and accrued interest thereon than the proportion received by any other Lender, then
           the Lender receiving such greater prop011ion shall purchase (for cash at face value) participations
           in the Advances of other Lenders to the extent necessary so that the benefit of all such payments
           shall be shared by the Lenders ratably in accordance with the aggregate amount of principal of
           and accrued interest on their respective Advances; provided that (i) if any such participations are
           purchased and all or any portion of the payment giving rise thereto is recovered, such
           participations shall be rescinded and the purchase price restored to the extent of such recovery,
           without interest, and (ii) the provisions of this paragraph shall not be construed to apply to any
           payment made by the Borrower pursuant to and in accordance with the express terms of this
           Agreement or any payment obtained by a Lender as consideration for the assignment of or sale
           of a participation in any of its Advances to any assignee or participant, other than to the


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           Borrower or any Subsidiary or Affiliate thereof (as to which the provisions of this paragraph
           shall apply). The Borrower consents to the foregoing and agrees, to the extent it may effectively
           do so under applicable law, that any Lender acquiring a participation pursuant to the foregoing
           arrangements may exercise against the Bonower rights of set-off and counterclaim with respect
           to such participation as fully as if such Lender were a direct creditor of the Bonower in the
           amount of such participation.

                           (d)    Unless the Administrative Agent shall have received notice from the
           Borrower prior to the date on which any payment is due to the Administrative Agent for the
           account of the Lenders hereunder that the Borrower will not make such payment, the
           Administrative Agent may assume that the Borrower has made such payment on such date in
           accordance herewith and may, in reliance upon such assumption, distribute to the Lenders the
           amount due. In such event, if the Borrower has not in fact made such payment, then each of the
           Lenders, severally agrees to repay to the Administrative Agent forthwith on demand the amount
           so distributed to such Lender with interest thereon, for each day from and including the date such
           amount is distributed to it to but excluding the date of payment to the Administrative Agent, at
           the greater of the Federal Funds Effective Rate and a rate determined by the Administrative
           Agent in accordance with banking industry rules on interbank compensation.

                          (e)      If any Lender shall fail to make any payment required to be made by it
           pursuant to Section 2.03(b) or 9.03(c), then the Administrative Agent may, in its discretion
           (notwithstanding any contrary provision hereof), apply any amounts thereafter received by the
           Administrative Agent for the account of such Lender to satisfy such Lender's obligations under
           such Sections until all such unsatisfied obligations are fully paid.

                          (f)     To the extent permitted by applicable law, the Borrower may offset
           against any payments due to any Lender under this Agreement or the Notes the amount of any
           loss suffered by the Borrower as a result of the failure of such Lender to return any monies of the
           Borrower on deposit with such Lender due to the bankruptcy or insolvency of such Lender. Any
           such offset may be made only against payments due to the insolvent Lender, when and as the
           same become due, and no offsets may be made against any amounts due and payable to any other
           Lender. The Borrower may not exercise any right of setoff with respect to all or any po1iion of
           deposits which are insured by the Federal Deposit Insurance Corporation.

                          (g)     If any scheduled payment of principal and/or interest is not made within
           10 days of its due date, the Bonower shall also pay a late charge equal to 5% of such late
           principal and/or interest payment. Acceptance by the Administrative Agent of any late payment
           without an accompanying late charge shall not be deemed a waiver of the Administrative
           Agent's right to collect such late charge or to collect a late charge for any subsequent late
           payment received.

                  Section 2.13 Mitigation Obligations; Replacement of Lenders.

                          (a)    If the Borrower is required to pay any additional amount to any Lender or
           any Governmental Authority for the account of any Lender pursuant to Section 2.11, then such
           Lender shall use reasonable efforts to designate a different lending office for funding or booking
           its Advances hereunder or to assign its rights and obligations hereunder to another of its offices,


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               branches or affiliates if, in the judgment of such Lender, such designation or assignment (i)
               would eliminate or reduce amounts payable pursuant to Section 2.11 in the future and (ii) would
               not subject such Lender to any unreimbursed cost or expense and would not otherwise be
               disadvantageous to such Lender. The Borrower hereby agrees to pay all reasonable costs and
               expenses incurred by any Lender in connection with any such designation or assignment.

                                (b)   If the Borrower is required to pay any additional amount to any Lender or
               any Governmental Authority for the account of any Lender pursuant to Section 2.11 , or if any
               Lender defaults in its obligation to fund Advances hereunder, then the Borrower may, at its sole
               expense and effort, upon notice to such Lender and the Administrative Agent, require such
               Lender to assign and delegate, without recourse (in accordance with and subject to the
               restrictions contained in Section 9.04), all its interests, rights and obligations under this
               Agreement to an assignee that shall assume such obligations (which assignee may be another
               Lender, if a Lender accepts such assignment); provided that (i) the BoITower shall have received
               the prior written consent of the Administrative Agent which consent shall not unreasonably be
               withheld, (ii) such Lender shall have received payment of an amount equal to the outstanding
               principal of its Advances, accrued interest thereon, accrued fees and all other amounts payable to
               it hereunder, from the assignee (to the extent of such outstanding principal and accrued interest
               and fees) or the Borrower (in the case of all other amounts) and (iii) in the case of any such
               assignment resulting from a claim for compensation under Section 2.11 or payments required to
               be made pursuant to Section 2.11, such assignment will result in a reduction in such
               compensation or payments. A Lender shall not be required to make any such assignment and
               delegation if, prior thereto, as a result of a waiver by such Lender or otherwise, the
               circumstances entitling the Borrower to require such assignment and delegation cease to apply.

                       Section 2.14 Notes as Current Expenses. The Lenders acknowledge and agree that all
               obligations hereunder are evidenced by the Notes and constitute Cunent Expenses under the
               Trust Agreement, which Current Expenses are subject to the terms and conditions of the Trust
               Agreement and the Resolution relating to the priority of payments and the right to exercise
               remedies thereunder.

                      Section 2.15 Change in Circumstances.

                           (a)     If due to any Change in Law there shall be (i) any increase in the cost to
           any Lender of making or maintaining the Advances; (ii) any increase in the amount of capital
           required or maintained, or expected to be maintained, by any Lender and the amount of such
           capital is increased by or based upon the existence of its Advances or Commitment hereunder; or
           (iii) any decrease in the effective rate of return on the capital of any Lender of making or
           maintaining the Advances (each an "Event," collectively, the "Events"), excluding any Events
           resulting from changes in the basis of taxation of overall net income or overall gross income
           affecting such Lender (the determination of any and all of the preceding Events being at the
           affected Lender' s sole and absolute discretion with respect to the Advances), then such Lender
           shall provide the Borrower and the Administrative Agent with a written notice that shall (1)
           describe in reasonable detail the Event together with the approximate date of the effectiveness
           thereof, (2) set forth the cost to the Lender in respect of such Event and (3) calculate such
           amount as the Lender determines in its sole and absolute discretion is necessary to be
           compensated for the cost of such Event. Such notice or notices may be sent by a Lender in


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           respect of an Event or Events from time to time. The Borrower shall pay directly to the
           Administrative Agent for the account of the affected Lender from time to time upon such
           Lender' s written demand, the amount sufficient to compensate the Lender for the cost of such
           Events.

                          (b)     If any Change in Law shall make it unlawful for any Lender to continue
           to maintain its Commitment, or for the Bo1rower to comply with its obligations in respect of
           Advances by such Lender, the Borrower shall forthwith (or within the period allowed for such
           payment, if any, prior to the date when such unlawfulness becomes effective), upon such
           Lender' s demand, prepay the outstanding Advances made by such Lender in full , together with
           accrued interest thereon and payment of any funding-loss compensation required pursuant to
           Section 2.07(e) above. The affected Lender shall submit to the Borrower and the Administrative
           Agent a written statement setting forth the basis for determining such amounts.

                  Any notice pursuant to this Section 2.15, including the certifications made therein, shall
           be conclusive and binding on the Borrower absent manifest error.

                           (c)     The Borrower shall pay to each Lender, so long as such Lender shall be
           required under regulations of the Board of Governors of the Federal Reserve System to maintain
           reserves with respect to liabilities or assets consisting of or including Eurocwrency Liabilities,
           additional interest on the unpaid principal amount of each Advance of such Lender, from the date
           of such Advance until such principal amount is paid in full, at an interest rate per annum equal at
           all times to the remainder obtained by subtracting (i) the LIBOR Rate (plus any Extension
           Premium, if applicable) for such Interest Period for such Advance from (ii) the rate obtained by
           dividing such LIBOR Rate (plus any Extension Premium, if applicable) by a percentage equal to
           100% minus the LIBOR Rate Reserve Percentage of such Lender for such Interest Period,
           payable on each date on which interest is payable on such Advance. Such additional interest
           shall be determined by such Lender and notified to the Borrower through the Administrative
           Agent.

                          (d)     Notwithstanding any other provision of this Agreement, if any Lender
           shall notify the Administrative Agent that the introduction of or any change in, or in the
           interpretation of, any law or regulation makes it unlawful, or any central bank or other
           Governmental Authority asserts that it is unlawful, for any Lender to perform its obligations
           hereunder to make LIBOR Advances or to fund or maintain LIBOR Advances, as the case may
           be, (i) the Administrative Agent shall immediately notify the Borrower in writing of such
           circumstances, (ii) the obligation of the Lenders to make LIBOR Advances shall be suspended
           until the Administrative Agent shall notify the Borrower and the Lenders that the circumstances
           causing such suspension no longer exist and (iii) all outstanding LIBOR Advances shall
           automatically be converted into ABR Advances. The Administrative Agent shall promptly
           notify the Borrower in writing when the circumstances giving rise to such notice no longer exist,
           and upon receipt of such written notice the Borrower may conve1t such ABR Advances to
           LIBOR Advances.




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                                                        ARTICLE III

                                       REPRESENTATIONS AND WARRANTIES

                      The Borrower represents and warrants to the Lenders that:

                      Section 3.01 Organization; Powers. Each of the Borrower and its Subsidiaries is duly
               organized, validly existing and in good standing under the laws of the jurisdiction of its
               organization, has all requisite power and authority to carry on its business as now conducted and,
               except where the failure to do so, individually or in the aggregate, could not reasonably be
               expected to result in a Material Adverse Effect, is qualified to do business in, and is in good
               standing in, every jurisdiction where such qualification is required.

                       Section 3.02 Authorization; Enforceability.         The Transactions are within the
               Borrower' s powers and have been duly authorized by all necessary corporate action on the part
               of the Borrower. The Trust Agreement, this Agreement and each other Loan Document to which
               the Borrower is a party have been duly executed and delivered by the Borrower and constitute
               legal, valid and binding obligations of the Borrower, enforceable in accordance with their terms,
               subject to applicable bankruptcy, insolvency, reorganization, moratorium or other laws affecting
               creditors' rights generally and subject to general principles of equity, regardless of whether
               considered in a proceeding in equity or at law. The Advances will be treated as Current
               Expenses under the Trust Agreement, and the B01rnwer will record the Advances as Current
               Expenses on its books, records and financial statements.

                    Section 3.03 Governmental Approvals; No Conflicts. The Transactions (a) do not
           require any consent or approval of, registration or filing with, or any other action by, any
           Governmental Authority, except such as have been obtained or made and are in full force and
           effect, (b) will not violate any law or regulation applicable to the Borrower or the organizational
           documents of the Borrower or any of its Subsidiaries or any order of any Governmental
           Authority applicable to the Borrower, (c) will not violate or result in a default under any
           indenture, agreement or other instrument binding upon the Borrower or any of its Subsidiaries or
           its assets, or give rise to a right thereunder to require any payment to be made by the Borrower or
           any of its Subsidiaries, and (d) will not result in the creation or imposition of any Lien on any
           asset of the Borrower or any of its Subsidiaries except as provided in the Trust Agreement.

                   Section 3.04 Financial Condition; No Material Adverse Change.              (a)       The
           Borrower has heretofore furnished to the Administrative Agent its consolidated balance sheet
           and statements of revenues; expenses and changes in net assets and cash flows as of and for the
           fiscal year ended June 30, 2011, reported on by Ernst & Young LLP, independent public
           accountants. Such financial statements present fairly, in all material respects, the financial
           position and results of operations and, as applicable, cash flows of the Borrower and, as
           applicable, its consolidated Subsidiaries as of such date and for such periods in accordance with
           GAAP.

                          (b)    Since the last date of the period covered by the most recent audited
           financial statements delivered to the Administrative Agent, there has been no material adverse




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           change in the business, assets, operations, prospects or condition, financial or otherwise, of the
           Borrower and its Subsidiaries, taken as a whole.

                   Section 3.05 Properties. Each of the Borrower and its Subsidiaries has good title to, or
           valid leasehold interests in, all its real and personal property material to its business, except for
           minor defects in title that do not interfere with its ability to conduct its business as currently
           conducted or to utilize such properties for their intended purposes and except as permitted
           pursuant to Section 6.01.

                  Section 3.06 Litigation and Environmental Matters.

                           (a)    There are no actions, suits or proceedings by or before any arbitrator or
           Governmental Authority pending against or, to the knowledge of the Borrower, threatened
           against or affecting the Borrower or any of its Subsidiaries (i) as to which there is a reasonable
           possibility of an adverse determination and that, if adversely determined, could reasonably be
           expected, individually or in the aggregate, to result in a Material Adverse Effect or (ii) that
           involve this Agreement or the Transactions.

                          (b)    Except with respect to any other matters that, individually or in the
           aggregate, could not reasonably be expected to result in a Material Adverse Effect, neither the
           Borrower nor any of its Subsidiaries (i) has failed to comply with any Environmental Law or to
           obtain, maintain or comply with any permit, license or other approval required under any
           Environmental Law, (ii) has become subject to any Environmental Liability, (iii) has received
           notice of any claim with respect to any Environmental Liability or (iv) knows of any basis for
           any Environmental Liability.

                  Section 3.07 Compliance with Laws and Agreements. Each of the Borrower and its
           Subsidiaries is in compliance with all laws, regulations and orders of any Governmental
           Authority applicable to it or its property and all indentures, agreements and other instruments
           binding upon it or its property, except where the failure to do so, individually or in the aggregate,
           could not reasonably be expected to result in a Material Adverse Effect. No Default has
           occurred and is continuing.

                   Section 3.08 Status. Neither the Borrower nor any of its Subsidiaries is an "investment
           company" as defined in, or subject to regulation under, the Investment Company Act of 1940 or
           a public utility holding company under the Public Utility Holding Company Act of 2005 .

                  Section 3.09 Taxes. Each of the Borrower and its Subsidiaries has timely filed or
           caused to be filed all tax returns and reports required to have been filed and has paid or caused to
           be paid all taxes required to have been paid by it, except (a) taxes that are being contested in
           good faith by appropriate proceedings and for which the Borrower or such Subsidiary, as
           applicable, has set aside on its books adequate reserves or (b) to the extent that the failure to do
           so could not reasonably be expected to result in a Material Adverse Effect.

                  Section 3.10 Disclosure. The Borrower has disclosed to the Administrative Agent all
           agreements, instruments and corporate or other restrictions to which it or any of its Subsidiaries
           is subject, and all other matters known to it, that, individually or in the aggregate, could
           reasonably be expected to result in a Material Adverse Effect. The Administrative Agent shall


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           furnish all such information so received from the Borrower to the Lenders. None of the other
           reports, financial statements, certificates or other information furnished by or on behalf of the
           Borrower to the Administrative Agent or any Lender in connection with the negotiation of this
           Agreement or delivered hereunder (as modified or supplemented by other information so
           furnished) contains any material misstatement of fact or omits to state any material fact
           necessary to make the statements therein, in the light of the circumstances under which they were
           made, not misleading; provided that, with respect to projected financial information, the
           Borrower represents only that such information was prepared in good faith based upon
           assumptions believed to be reasonable at the time.

                   Section 3.11 Resolution; Trust Agreement. The Resolution has been duly adopted by
           the Borrower and proceedings related thereto have been validly and legally taken. The Notes
           have been duly and validly"authorized in accordance with law. The Notes are valid and binding
           obligations of the Borrower, payable as Current Expenses from the Puerto Rico Electric Power
           Authority General Fund established under the Trust Agreement.

                  Section 3.12 Repayment. If the Borrower incurs or issues Indebtedness for the
           purpose of repaying the Advances and other obligations hereunder, such incurrence or issuance
           of Indebtedness (a) does not require any consent or approval of, registration or filing with, or any
           other action by, any Governmental Authority (other than the Borrower), except such as have
           been obtained or made and are in full force and effect other than (i) the approval of the
           Government Development Bank for Puerto Rico which is not expected to be unreasonably
           withheld or delayed, and (ii) if applicable, the filing of Form 8038-G with the Internal Revenue
           Service, (b) will not violate any law or regulation applicable to the Borrower or the
           organizational documents of the Borrower or any of its Subsidiaries or any order of any
           Governmental Authority applicable to the Borrower, (c) will not violate or result in a default
           under any indenture, agreement or other instrument binding upon the Borrower or any of its
           Subsidiaries or its assets, or give rise to a right thereunder to require any payment to be made by
           the Borrower or any of its Subsidiaries, and (d) will not result in the creation or imposition of
           any Lien on any asset of the Borrower or any of its Subsidiaries except as permitted in
           Section 6.01.

                   Section 3.13 No Immunity. With respect to actions, obligations or contracts which
           constitute proprietary functions, the Borrower is not entitled to claim immunity on the grounds of
           sovereignty or other similar grounds with respect to itself or its revenues (i1Tespective of their
           use or intended use) from (i) suit, (ii) relief by way of injunction, order for specific performance
           or for recovery of property, or (iii) execution of enforcement of any judgment to which it or its
           revenues might otherwise be made subject in any suit, action or proceedings relating to this
           Agreement or the other Loan Documents brought validly in the courts of any jurisdiction and no
           such immunity (whether claimed or not claimed) may be attributed to the Borrower or its
           revenues.

                   Section 3.14 Tax-Exemption. All payments of principal and interest under this
           Agreement and the Notes are exempt from all Commonwealth (including any instrumentality or
           political subdivision of the Commonwealth) taxes and assessments of any kind or nature,
           including, without limitation, income taxes, municipal license taxes (patents) and withholding



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               obligations. The Notes are exempt from all Commonwealth (including any instrumentality or
               political subdivision of the Commonwealth) property taxes.

                             All representations and warranties made in this Agreement and the other Loan
               Documents by the Borrower shall be deemed to have been relied upon by the Administrative
               Agent and each of the Lenders notwithstanding any investigation heretofore or hereafter made by
               the Administrative Agent or any Lender or on its or their behalf.



                                                       ARTICLE IV

                                                       CONDITIONS

                       Section 4.01 Effective Date. The obligations of the Lenders to make Advances
               hereunder shall not become effective until the date on which each of the following conditions is
               satisfied (or waived in accordance with Section 9.02) (the "Effective Date"):

                               (a)     The Administrative Agent (or its counsel) shall have received from each
               party hereto either (i) a counterpart of this Agreement, the Notes and each other Loan Document
               signed in original on behalf of such party or (ii) written evidence satisfactory to the
               Administrative Agent (which may include telecopy transmission or electronic scan of a signed
               signature page of this Agreement) that such party has signed a counterpart of this Agreement and
               each other Loan Document to which such party is a party.

                              (b)    The Administrative Agent shall have received a favorable written opinion
               (addressed to the Administrative Agent and the Lenders and dated the Effective Date) of (i) the
               general counsel to the Borrower and (ii) Nixon Peabody LLP, special counsel to the Bonower
               ("Special Counsel"), each in form and substance satisfactory to the Lenders. The Borrower
               hereby requests such counsel to deliver such opinions.

                           (c)    The Administrative Agent shall have received such documents and
           certificates as the Administrative Agent or its counsel may reasonably request relating to the
           organization, existence and good standing of the Borrower, the authorization of the Transactions
           (including but not limited to the adoption of the Resolution and the GDB Resolution) and any
           other legal matters relating to the Borrower, this Agreement or the Transactions, all in form and
           substance satisfactory to the Administrative Agent and its counsel.

                           (d)    The Administrative Agent shall have received a certificate, dated the
           Effective Date and signed, by the President, a Vice President or a Financial Officer of the
           Bonower confirming, as of the Effective Date (i) compliance with the conditions set forth in
           paragraphs (b ), (c) and (d) of Section 4.02 and (ii) the long term ratings in effect for the Senior
           Debt by Moody's and S&P is no less than Baal and BBB+, respectively.

                        (e)    The Administrative Agent shall have received all fees and other amounts
           due and payable on or prior to the Effective Date, including, to the extent invoiced,
           reimbursement or payment of all out-of-pocket expenses required to be reimbursed or paid by the
           Bonower hereunder, such out of pocket expenses not to exceed $40,000.


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                         (f)     The Administrative Agent shall have received evidence of filing of this
           Agreement and the other Loan Documents with the Office of the Comptroller of the
           Commonwealth, pursuant to Act No. 18 of the Legislative Assembly of Puerto Rico, approved
           on October 30, 1979, as amended by Act No. 127 of May 31, 2004.

                           (g)     The Administrative Agent shall notify the Borrower and the Lenders of
           the Effective Date, and such notice shall be conclusive and binding. Notwithstanding the
           foregoing, the obligations of the Lenders to make Advances hereunder shall not become effective
           unless each of the foregoing conditions is satisfied (or waived pursuant to Section 9.02) at or
           prior to 3:00 p.m., San Juan, Puerto Rico time, on May 4, 2012 (and, in the event such conditions
           are not so satisfied or waived, the Commitments shall terminate at such time).

                  Section 4.02 Conditions Precedent to Each Advance. The obligation of each Lender
           to make an Advance on the occasion of any Bonowing is subject to the satisfaction of the
           following conditions:

                           (a)    The Bonower shall have notified the Administrative Agent by 11:00 a.m.
           at least two (2) Business Days in advance of the date of any Borrowing, provided however, that
           the initial LIBOR Advance may be requested prior to 11 :00 a.m. on the same day as the initial
           Borrowing, by providing to the Administrative Agent a Bonowing Request.

                           (b)    The representations and wananties of the Borrower set forth in this
           Agreement shall be true and correct on and as of the date of such Borrowing, except to the extent
           such representations and warranties expressly relate to an earlier date in which case they shall
           have been tme and correct on and as of such earlier date. For the avoidance of doubt, the
           representations and warranties contained in Section 3 .04(b) shall relate to the most recent audited
           financial statements delivered to the Administrative Agent immediately prior to such Borrowing.

                         (c)     At the time of and immediately after giving effect to such Borrowing, no
           Default under this Agreement or any default, event of default or event which, with notice or
           lapse of time or both, would constitute a default or an event of default under any other Loan
           Document shall have occurred and be continuing.

                         (d)    All actions under the Act which, in the opinion of Special Counsel, shall
           be necessary in connection with the transactions contemplated hereby and by the other Loan
           Documents shall have been duly taken and shall be in full force and effect.

                         (e)     Between the Closing Date and the date of such Borrowing, (i) there shall
           not have been a Determination of Taxability or Final Determination, (ii) there is no Legal
           Proceeding pending, and (iii) there shall not have been a Change in Law which would prohibit
           any Lender from lawfully making its Advance or would make the Borrower' s execution of this
           Agreement or use of the proceeds of any Advances illegal or have the retroactive effect of
           making such use illegal.

                  Each Borrowing shall be deemed to constitute a representation and warranty by the
           Borrower on the date thereof as to the matters specified in paragraphs (b), (c), (d) and (e) of this
           Section.



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                                                      ARTICLE V

                                            AFFIRMATIVE COVENANTS

                  Until the Commitments have expired or been terminated and the principal of and interest
           on the Advances and all fees payable hereunder have been paid in full , the Borrower covenants
           and agrees with the Lenders that:

                   Section 5.01 Financial Statements and Other Information. The Borrower will
           furnish to the Administrative Agent (for delivery to each Lender) and, with respect to paragraphs
           (d) and (e) below, each Lender:

                          (a)     within 180 days after the end of each fiscal year of the Bon-ower, its
           audited consolidated balan2e sheet and related statements of revenues, expenses and changes in
           net assets and cash flows as of the end of and for such year, setting forth in each case in
           comparative form the figures for the previous fiscal year, all reported on by Ernst & Young LLP
           or other independent public accountants of recognized national standing (without a "going
           concern" or like qualification or exception and without any qualification or exception as to the
           scope of such audit) to the effect that such consolidated financial statements present fairly in all
           material respects the financial condition and results of operations of the Borrower and its
           consolidated Subsidiaries on a consolidated basis in accordance with GAAP consistently applied;

                            (b)    within 60 days after the end of each of the first three fiscal quarters of the
           fiscal year of the Borrower, (i) its balance sheet and related statements ofrevenues, expenses and
           changes in net assets as of the end of and for such fiscal quarter and the then elapsed portion of
           the fiscal year, setting forth in each case in comparative form the figures for the corresponding
           period or periods of (or, in the case of the balance sheet, as of the end of) the previous fiscal
           year, all certified by one of its Financial Officers as presenting fairly in all material respects the
           financial condition and results of operations of the Borrower in accordance with GAAP
           consistently applied, subject to normal yearend audit adjustments and the absence of footnotes,
           and (ii) its monthly report to its Governing Board for the last month of such fiscal quarter;

                            (c)     concurrently with any delivery of financial statements under paragraph (a)
           or (b) above, a certificate of a Financial Officer of the Borrower substantially in the form of
           Exhibit D hereto (i) certifying as to whether a Default has occurred and, if a Default has
           occurred, specifying the details thereof and any action taken or proposed to be taken with respect
           thereto, (ii) setting forth in reasonable detail the calculations in Section 5.09 for the most recent
           four fiscal quarters, and (iii) stating whether any change in GAAP or in the application thereof
           has occurred since the date of the audited financial statements referred to in Section 3.04 and, if
           any such change has occurred, specifying the effect of such change on the financial statements
           accompanying such certificate;

                           (d)   concurrently with any delivery of financial statements under paragraph (a)
           above, a certificate of the accounting firm that reported on such financial statements stating
           whether they obtained knowledge during the course of their examination of such financial
           statements of any Default (which certificate may be limited to the extent required by accounting
           rules or guidelines);



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                         (e)     promptly after the same become publicly available, copies of its annual
           report and other reports, statements and other materials distributed by the Borrower (i) in
           connection with any future bond issuances by the Borrower or (ii) to its investors or stakeholders
           generally;

                           (f)    promptly after Moody' s or S&P shall have announced a change in the
           rating established or deemed to have been established for the Senior Debt, written notice of such
           rating change; and

                          (g)    promptly following any request therefor, such other information regarding
           the operations, business affairs and financial condition of the Borrower or any Subsidiary, or
           compliance with the terms of this Agreement, as the Administrative Agent or any Lender may
           reasonably request.

                   Section 5.02 Notices of Material Events or Adjustment Event; Legal Proceedings
           and Final Determination. The Borrower will furnish to the Administrative Agent (for delivery
           to each Lender) notice, either in writing or in an electronic form of communication acceptable to
           the Administrative Agent, within 10 days of the Borrower' s actual knowledge of any the
           following :

                          (a)     the occurrence of any Default or Adjustment Event;

                          (b)    the filing or commencement of any action, suit or proceeding by or before
           any arbitrator or Governmental Authority against or affecting the Borrower or any Affiliate
           thereof that, if adversely determined, could reasonably be expected to result in a Material
           Adverse Effect;

                         (c)      the commencement of any Legal Proceeding or the receipt of any Final
           Determination; and

                           (d)    any other development that results in, or could reasonably be expected to
           result in, a Material Adverse Effect.

                    Each notice delivered under this Section shall be accompanied by a statement of a
           Financial Officer or other executive officer of the Borrower setting forth the details of the event
           or development requiring such notice and any action taken or proposed to be taken with respect
           thereto.

                    Section 5.03 Existence; Conduct of Business. The Borrower will, and will cause each
           of its Subsidiaries to, do or cause to be done all things necessary to preserve, renew and keep in
           full force and effect its legal existence and the rights, licenses, permits, privileges and franchises
           material to the conduct of its business; provided that the foregoing shall not prohibit any merger,
           consolidation, liquidation or dissolution permitted under Section 6.02.

                   Section 5.04 Payment of Obligations. The Borrower will, and will cause each of its
           Subsidiaries to, pay its obligations, including tax liabilities, that, if not paid, could result in a
           Material Adverse Effect before the same shall become delinquent or in default, except where
           (a) the validity or amount thereof is being contested in good faith by appropriate proceedings,


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           (b) the Borrower or such Subsidiary has set aside on its books adequate reserves with respect
           thereto in accordance with GAAP and (c) the failure to make payment pending such contest
           could not reasonably be expected to result in a Material Adverse Effect.

                  Section 5.05 Maintenance of Properties; Insurance. The Borrower will, and will
           cause each of its Subsidiaries to, (a) keep and maintain all prope11y material to the conduct of its
           business in good working order and condition, ordinary wear and tear excepted, and
           (b) maintain, with financially sound and reputable insurance companies, insurance or self-insure
           in such amounts and against such risks as are customarily maintained by companies engaged in
           the same or similar businesses operating in the same or similar locations.

                   Section 5.06 Books and Records; Inspection Rights. The Bonower will, and will
           cause each of its Subsidiaries to, keep proper books of record and account in which full, true and
           correct entries are made of all dealings and transactions in relation to its business and activities.
           The Borrower will, and will cause each of its Subsidiaries to, permit any representatives
           designated by the Administrative Agent or any Lender, upon reasonable prior notice to the
           Borrower (and to the Administrative Agent, if the visit is requested by a Lender), to visit and
           inspect its prope11ies, to examine and make extracts from its books and records, and to discuss its
           affairs, finances and condition with its officers and independent accountants, all at such
           reasonable times and as often as reasonably requested.

                   Section 5.07 Compliance with Laws and the Trust Agreement. The Borrower will,
           and will cause each of its Subsidiaries to, comply with all laws, rules, regulations and orders of
           any Governmental Authority applicable to it or its property, except where the failure to do so,
           individually or in the aggregate, could not reasonably be expected to result in a Material Adverse
           Effect. The Borrower will comply with its obligations under the Trust Agreement.

                    Section 5.08 Use of Proceeds; Future Tax Exempt Status. The proceeds of the
           Advances will be used to finance the Borrower' s working capital requirements, classified as
           Current Expenses (as defined in the Trust Agreement), including but not limited to fuel oil
           purchases. No pai1 of the proceeds of any Advance will be used, whether directly or indirectly,
           (i) to repay any outstanding amounts under the Existing Credit Agreement or any other credit
           facility used to pay for cunent expenses or (ii) for any purpose that entails a violation of any of
           the Regulations of the Board, including Regulations T, U and X.

                   Section 5.09 Financial Covenant. The Borrower shall at all times fix, charge and
           collect reasonable rates and charges for use of the services and facilities furnished by the System
           (as defined in the Trust Agreement) so as to generate Revenues (as defined in the Trust
           Agreement) that will at all times be sufficient (i) to comply with Section 502(B) of the Trust
           Agreement and (ii) to pay an amount equal to at least 100% of the principal of and interest on
           Subordinate Obligations for the next Fiscal Year (as defined in the Trust Agreement).

                  Section 5.10 Tax ·Exempt Status. The Borrower covenants for the benefit of the
           Administrative Agent and each Lender that the Bonower shall not knowingly direct that moneys
           on deposit in any fund or account in connection with the Advances (whether or not such moneys
           were derived from the proceeds of the Advances or from any other sources) be used in a manner
           which will cause the Advances to be classified as "arbitrage bonds" within the meaning of


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           Section 148 of the Code. Any officer of the Borrower (including its Executive Director, the
           Director of Finance and the Treasurer) having responsibility with respect to Advances is
           authorized and directed, alone or in conjunction with any other officer, employee or consultant of
           the Borrower, to give an appropriate certificate on behalf of the Borrower, for inclusion in the
           transcript of proceedings for the Advances, setting forth the facts , estimates and circumstances
           and reasonable expectations pe1iaining to Section 148 of the Code.

                   The Borrower hereby covenants that it will file such returns and make payments, if any,
           required to be made to the United States government pursuant to the Code and to take any
           actions required in order to .establish or maintain the exclusion of the interest on the Borrowings
           from gross income for fede~al income tax purposes.

                   Section 5.11 Operating Account. The Borrower shall maintain the Operating Account
           and shall deposit therein from time to time funds sufficient to cover its interest payment
           obligations under this Agreement, which the Administrative Agent may debit from the Operating
           Account when due.



                                                     ARTICLE VI

                                             NEGATIVE COVENANTS

                  Until the Commitments have expired or been terminated and the principal of and interest
           on the Advances and all fees payable hereunder have been paid in full, the Borrower covenants
           and agrees with the Lenders that:

                   Section 6.01 Liens. The Borrower will not, and will not permit any Subsidiary to,
           create, incur, assume or permit to exist any Lien on any property or asset now owned or hereafter
           acquired by it, or assign or sell any income or revenues (including accounts receivable) or rights
           in respect of any thereof, except:

                          (a)    Liens under the Trust Agreement;

                           (b)    Liens on fixed or capital assets acquired, constructed or improved by the
           Borrower; provided that (i) such Liens secure Indebtedness, including Capital Lease Obligations,
           of the Borrower incurred to finance the acquisition, construction or improvement of such assets,
           (ii) such Liens and the Indebtedness secured thereby are incurred contemporaneously with such
           acquisition or the completion of such construction or improvement, (iii) the Indebtedness seemed
           thereby does not exceed the cost of acquiring, constructing or improving such fixed or capital
           assets, as the case may be, or $5,000,000 in the aggregate at any time with respect to all such
           Indebtedness of the Borrower, and (iv) such Lien shall not apply to any other property or assets
           of the Borrower or any Subsidiary; and

                          (c)    Permitted Encumbrances.

                  Section 6.02 Fundamental Changes; Sale of Assets. The Borrower will not, and will
           not permit any Subsidiary ,to, merge into or consolidate with any other Person, or permit any


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               other Person to merge into or consolidate with it, or sell, transfer, lease or otherwise dispose of
               (in one transaction or in a series of transactions) all or substantially all of its assets, or all or
               substantially all of the stock of any of its Subsidiaries (in each case, whether now owned or
               hereafter acquired), or liquidate or dissolve, except for mergers between the Borrower and any of
               its subsidiaries where the Borrower is the surviving entity, if at the time thereof and immediately
               after giving effect thereto no Default shall have occurred, such transaction could not reasonably
               be expected to result in a Material Adverse Effect

                       Section 6.03 Investments, Loans, Advances, Guarantees and Acquisitions. The
               Borrower will not, and will not permit any of its Subsidiaries to, purchase, hold or acquire
               (including pursuant to any merger with any Person that was not a wholly owned Subsidiary prior
               to such merger) any capital stock, evidences of indebtedness or other securities (including any
               option, warrant or other right to acquire any of the foregoing) of, make or permit to exist any
               loans or advances to, Guarantee any obligations of, or make or permit to exist any investment or
               any other interest in, any other Person, or purchase or otherwise acquire (in one transaction or a
               series of transactions) any assets of any other Person constituting a business unit, except:

                              (a)     Investment Obligations;

                              (b)     investments by the Borrower in the capital stock of its Subsidiaries; and

                             (c)     loans or advances made by the Borrower to any Subsidiary and made by
               any Subsidiary to the Borrower or any other Subsidiary.

                   Section 6.04 Swap Agreements. The Borrower will not, and will not permit any of its
           Subsidiaries to, enter into any Swap Agreement, except (a) Swap Agreements existing on the
           date hereof, (b) Swap Agreements entered into to hedge or mitigate risks to which the Borrower
           or any Subsidiary has actual exposure, including hedges of fuel and power costs of the Borrower,
           and (c) Swap Agreements entered into in order to effectively cap, collar or exchange interest
           rates (from floating to fixed rates, from one floating rate to another floating rate or otherwise)
           with respect to any interest-bearing liability or investment of the Borrower or any Subsidiary.

                   Section 6.05 Transactions with Affiliates. The Borrower will not, and will not permit
           any of its Subsidiaries to, sell, lease or otherwise transfer any property or assets to, or purchase,
           lease or otherwise acquire any property or assets from, or otherwise engage in any other
           transactions with, any of its Affiliates, except (a) in the ordinary course of business at prices and
           on terms and conditions not less favorable to the Borrower or such Subsidiary than could be
           obtained on an arm's-length basis from unrelated third parties, (b) transactions between or
           among the Borrower and its Subsidiaries not involving any other Affiliate, (c) Subsidiaries may
           declare and pay dividends ratably with respect to their Equity Interests, and (d) transactions
           permitted pursuant to the Trust Agreement.

                   Section 6.06 Restrictive Agreements. The Borrower will not, and will not permit any
           of its Subsidiaries to, directly or indirectly, enter into, incur or permit to exist any agreement or
           other arrangement that prohibits, restricts or imposes any condition upon (a) the ability of the
           Borrower or any Subsidiary to create, incur or permit to exist any Lien upon any of its property
           or assets, except as provided in the Trust Agreement, or (b) the ability of any Subsidiary to pay



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           dividends or other distributions with respect to any shares of its capital stock or to make or repay
           loans or advances to the Borrower or any other Subsidiary or to Guarantee Indebtedness of the
           Borrower or any other Subsidiary; provided that (i) the foregoing shall not apply to restrictions
           and conditions imposed by law or by this Agreement, (ii) the foregoing shall not apply to
           restrictions and conditions existing on the date hereof identified on Schedule 6.06 (or any
           extension or renewal of sl:lch restriction or condition), (iii) the foregoing shall not apply to
           customary restrictions and conditions contained in agreements relating to the sale of a Subsidiary
           pending such sale, provided that such restrictions and conditions apply only to the Subsidiary
           that is to be sold and such sale is permitted hereunder, (iv) clause (a) of the foregoing shall not
           apply to restrictions or conditions imposed by any agreement relating to secured Indebtedness if
           such restrictions or conditions apply only to the prope11y or assets securing such Indebtedness
           and (v) clause (a) of the foregoing shall not apply to customary provisions in leases and other
           contracts restricting the assignment thereof.



                                                     ARTICLE VII

                                               EVENTS OF DEFAULT

                  If any of the following events ("Events of Default") shall occur:

                          (a)    the Borrower shall fail to pay any principal of any Advance or any interest
           on any Advance when and as the same shall become due and payable, whether at the due date
           thereof or otherwise;

                          (b)    the Borrower shall fail to pay any fee or any other amount (other than an
           amount referred to in clause (a) of this A11icle) payable under this Agreement when and as the
           same shall become due and payable, and such failure shall continue unremedied for a period of
           three Business Days;

                            (c)     any representation or warranty made or deemed made by or on behalf of
           the Borrower or any Subsidiary in (i) this Agreement or any amendment or modification hereof
           or waiver hereunder shall prove to have been incorrect when made or deemed made or (ii) any
           report, certificate, financial statement or other document furnished pursuant to or in connection
           with this Agreement or any amendment or modification hereof or waiver hereunder shall prove
           to have been incorrect in any material respect when made or deemed made;

                        (d)     the Borrower shall fail to observe or perform any covenant, condition or
           agreement contained in Sections 5.02, 5.03 (with respect to the Borrower's existence), 5.08 or in
           A11icle VI;

                            (e)     the Borrower shall fail to observe or perform any covenant, condition or
           agreement contained in (i) ,this Agreement (other than those specified in clause (a), (b) or (d) of
           this Article), (ii) any other existing or future credit facility with the Administrative Agent or any
           of its Affiliates or a credit facility with any other financial institution or debt holder, and such
           failure shall continue unremedied for a period of 30 days after the earlier of the Borrower
           obtaining actual knowledge thereof or the Borrower receiving notice thereof from the


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           Administrative Agent; provided, however, that if such failure is not capable of being remedied
           within 30 days and the Borrower is diligently pursuing remediation, such failure continues
           unremedied for a period 90 days after such notice;

                           (f)     the Borrower or any Subsidiary shall fail to make any payment (whether
           of principal or interest and regardless of amount) in respect of any Material Indebtedness, when
           and as the same shall become due and payable after giving effect to applicable grace periods and
           notices;

                           (g)    any e.vent or condition not referred to in the foregoing clause (f) occurs
           that results in any Material Indebtedness becoming due prior to its scheduled maturity or that
           enables or permits (with or without the giving of notice, the lapse of time or both) the holder or
           holders of any Material Indebtedness or any trustee or agent on its or their behalf to cause any
           Material Indebtedness to become due, or to require the prepayment, repurchase, redemption or
           defeasance thereof, prior to its scheduled maturity; provided that this clause (g) shall not apply to
           secured Indebtedness that becomes due as a result of the voluntary sale or transfer of the property
           or assets securing such Indebtedness;

                           (h)    an involuntary proceeding shall be commenced or an involuntary petition
           shall be filed seeking (i) liquidation, reorganization or other relief in respect of the Borrower or
           any Subsidiary or its debts, or of a substantial part of its assets, under any Federal, state or
           foreign bankruptcy, insolvency, receivership or similar law now or hereafter in effect or (ii) the
           appointment of a receiver, trustee, custodian, sequestrator, conservator or similar official for the
           Borrower or any Subsidiary or for a substantial part of its assets, and, in any such case, such
           proceeding or petition shall continue undisrnissed for 60 days or an order or decree approving or
           ordering any of the foregoing shall be entered;

                            (i)     the Borrower or any Subsidiary shall (i) voluntarily commence any
           proceeding or file any petition seeking liquidation, reorganization or other relief under any
           Federal, state or foreign bankruptcy, insolvency, receivership or similar law now or hereafter in
           effect, (ii) consent to the institution of, or fail to contest in a timely and appropriate manner, any
           proceeding or petition described in clause (h) of this Article, (iii) apply for or consent to the
           appointment of a receiver, trustee, custodian, sequestrator, conservator or similar official for the
           Borrower or any Subsidiary or for a substantial part of its assets, (iv) file an answer admitting the
           material allegations of a petition filed against it in any such proceeding, (v) make a general
           assignment for the benefit of creditors or (vi) take any action for the purpose of effecting any of
           the foregoing;

                            G)     the Borrower or any Subsidiary shall become unable, admit in writing its
           inability or fail generally to pay its debts as they become due;

                         (k)     the B01Tower denies, to any material extent, its obligations under this
           Agreement or any related Loan Document or claims any such document or security interest in
           connection with this Agreement to be invalid or withdrawn in whole or in part;

                       (1)    one or more judgments for the payment of money in an aggregate amount
           m excess of $10,000,000 shall be rendered against the Borrower, any Subsidiary or any



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           combination thereof and the same shall remain undischarged for a period of 60 consecutive days
           during which execution shall not be effectively stayed, or any action shall be legally taken by a
           judgment creditor to attach or levy upon any assets of the Borrower or any Subsidiary to enforce
           any such judgment and the same shall not be bonded;

                             (m)   any amendment to the Trust Agreement adversely effects the priority of
               payment for any amounts due under this Agreement;

                             (n)    any material change or development occurs which the Administrative
               Agent reasonably determines has had or will likely have a Material Adverse Effect;

                             (o)     total indebtedness of the Bonower to the Administrative Agent and the
               Lenders pursuant to this Agreement due on demand, shall become immediately due and payable
               by the Borrower to the Administrative Agent and Lenders on demand;

                               (p)    any judgment, injunction or decree is entered or issued and becomes
               enforceable against the Borrower or any property of the Borrower preventing the Borrower from
               continuing to operate a material portion of its business affairs in the normal course or any
               creditor takes possession of any material property of the Borrower; or

                             (q)    an event of default shall have occurred under the Trust Agreement;

           then, and in every such event (other than an event with respect to the Borrower described in
           clause (h) or (i) of this Article), and at any time thereafter during the continuance of such event,
           the Administrative Agent may and at the request of the Required Lenders shall, by notice to the
           Borrower, take either or both of the following actions, at the same or different times:
           (i) terminate the Commitments and thereupon the Commitments and the Availability Period shall
           terminate immediately, and (ii) declare the Advances then outstanding to be due and payable in
           whole (or in part, in which case any principal not so declared to be due and payable may
           thereafter be declared to be due and payable) and thereupon the principal of the Advances and
           other amounts so declared to be due and payable, together with accrued interest thereon and all
           fees and other obligations of the Borrower accrued hereunder, shall become due and payable
           immediately, without presentment, demand, protest or other notice of any kind, all of which are
           hereby waived by the Borrower; and in case of any event with respect to the Borrower described
           in clause (h) or (i) of this Article, the Commitments and the Availability Period shall
           automatically terminate and the principal of the Advances then outstanding, together with
           accrued interest thereon and all fees and other obligations of the Borrower accrued hereunder,
           shall automatically become due and payable, without presentment, demand, protest or other
           notice of any kind, all of which are hereby waived by the Borrower.

                                                     ARTICLE VIII

                                           THE ADMINISTRATIVE AGENT

                   Each of the Lenders hereby irrevocably appoints the Administrative Agent as its agent
           and authorizes the Administrative Agent to take such actions on its behalf and to exercise such
           powers as are delegated to the Administrative Agent by the terms hereof, together with such
           actions and powers as are reasonably incidental thereto.


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                   The bank serving as the Administrative Agent hereunder shall have the same rights and
           powers in its capacity as a Lender as any other Lender and may exercise the same as though it
           were not the Administrative Agent, and such bank and its Affiliates may accept deposits from,
           lend money to and generally engage in any kind of business with the Borrower or any Subsidiary
           or other Affiliate thereof as if it were not the Administrative Agent hereunder.

                    The Administrative Agent shall not have any duties or obligations except those expressly
           set forth herein. Without limiting the generality of the foregoing, (a) the Administrative Agent
           shall not be subject to any fiduciary or other implied duties, regardless of whether a Default has
           occurred and is continuing, (b) the Administrative Agent shall not have any duty to take any
           discretionary action or exercise any discretionary powers, except discretionary rights and powers
           expressly contemplated hereby that the Administrative Agent is required to exercise in writing as
           directed by the Required Lenders (or such other number or percentage of the Lenders as shall be
           necessary under the circumstances as provided in Section 9.02), and (c) except as expressly set
           f01ih herein, the Administrative Agent shall not have any duty to disclose, and shall not be liable
           for the failure to disclose, any information relating to the Borrower or any of its Subsidiaries that
           is communicated to or obtained by the bank serving as Administrative Agent or any of its
           Affiliates in any capacity. The Administrative Agent shall not be liable for any action taken or
           not taken by it with the consent or at the request of the Required Lenders (or such other number
           or percentage of the Lenders as shall be necessary under the circumstances as provided in
           Section 9.02) or in the absence of its own gross negligence or willful misconduct. The
           Administrative Agent shall be deemed not to have knowledge of any Default unless and until
           written notice thereof is given to the Administrative Agent by the Borrower or a Lender, and the
           Administrative Agent shall not be responsible for or have any duty to ascertain or inquire into
           (i) any statement, warranty or representation made in or in connection with this Agreement,
           (ii) the contents of any certificate, report or other document delivered hereunder or in connection
           herewith, (iii) the performance or observance of any of the covenants, agreements or other terms
           or conditions set forth herein, (iv) the validity, enforceability, effectiveness or genuineness of
           this Agreement or any other agreement, instrument or document, or (v) the satisfaction of any
           condition set forth in Article IV or elsewhere herein, other than to confirm receipt of items
           expressly required to be delivered to the Administrative Agent.

                   The Administrative Agent shall be entitled to rely upon, and shall not incur any liability
           for relying upon, any notice, request, certificate, consent, statement, instrument, document or
           other writing reasonably believed by it to be genuine and to have been signed or sent by the
           proper Person. The Administrative Agent also may rely upon any statement made to it orally or
           by telephone and reasonably believed by it to be made by the proper Person, and shall not incur
           any liability for relying thereon. The Administrative Agent may consult with legal counsel (who
           may be counsel for the Borrower), independent accountants and other experts selected by it, and
           shall not be liable for any action taken or not taken by it in accordance with the advice of any
           such counsel, accountants or experts.

                   The Administrative Agent may perform any and all its duties and exercise its rights and
           powers by or through any one or more sub-agents appointed by the Administrative Agent. The
           Administrative Agent and any such sub-agent may perform any and all its duties and exercise its
           rights and powers through their respective Related Parties. The exculpatory provisions of the
           preceding paragraphs shall apply to any such sub-agent and to the Related Paiiies of the


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           Administrative Agent and any such sub-agent, and shall apply to their respective activities in
           connection with the syndication of the credit facility provided for herein as well as activities as
           Administrative Agent.

                   The Administrative Agent may resign at any time, with the consent of the Borrower, by
           notifying the Lenders and the Borrower. Upon the occurrence of an Event of Default or a Final
           Determination, the Administrative Agent may immediately resign by notifying the Lenders and
           the Borrower. The Administrative Agent may be removed, with or without cause, by the
           Required Lenders. Upon any such resignation or removal, the Required Lenders shall have the
           right to appoint a successor, after consultation with the Borrower; provided, however, that if an
           Event of Default has occurred and is continuing or a Final Determination has been made, no such
           consultation with the Borrower shall be required. If no successor shall have been so appointed
           by the Required Lenders and shall have accepted such appointment within 30 days after the
           retiring Administrative Agent gives notice of its resignation, then the retiring Administrative
           Agent may, on behalf of the Lenders, appoint a successor Administrative Agent which shall be a
           bank with an office in San Juan, Puerto Rico or in the United States, or an Affiliate of any such
           bank, in any such case having capital and surplus of at least $1 billion. Upon the acceptance of
           its appointment as Administrative Agent hereunder by a successor, such successor shall succeed
           to and become vested with all the rights, powers, privileges and duties of the retiring
           Administrative Agent, and the retiring Administrative Agent shall be discharged from its duties
           and obligations hereunder. The fees payable by the Borrower to a successor Administrative
           Agent shall be the same as those payable to its predecessor unless otherwise agreed between the
           Borrower and such successor. After the Administrative Agent's resignation or removal
           hereunder, the provisions of this Article and Section 9.03 shall continue in effect for the benefit
           of such retiring Administrative Agent, its sub-agents and their respective Related Parties in
           respect of any actions taken or omitted to be taken by any of them while it was acting as
           Administrative Agent.

                   Each Lender acknowledges that it has, independently and without reliance upon the
           Administrative Agent or any other Lender and based on such documents and information as it
           has deemed appropriate, made its own credit analysis and decision to enter into this Agreement.
           Each Lender also acknowledges that it will, independently and without reliance upon the
           Administrative Agent or any other Lender and based on such documents and information as it
           shall from time to time deem appropriate, continue to make its own decisions in taking or not
           taking action under or based upon this Agreement, any related agreement or any document
           furnished hereunder or thereunder.

                                                     ARTICLE IX

                                                 MISCELLANEOUS

                   Section 9.01 Notice. (a) Except in the case of notices and other communications
           expressly permitted to be given by telephone (and subject to paragraph (b) below), all notices
           and other communications provided for herein shall be in writing and shall be delivered by hand
           or overnight courier service, mailed by certified or registered mail or sent by telecopy or
           electronic mail, as follows:



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                               (i)    if to the Borrower, to it at 1110 Ponce de Leon Avenue, San Juan,
           Puerto Rico 00909-3802, Attention of Nelson Morales (Telecopy No. (787) 521-4502, e-mail
           address: nmorales@aeepr.com);

                                 (ii)   if to the Administrative Agent, to it at Scotiabank Tower, CBC
           Department, Floor 8, 290 Jesus T. Pifiero Ave., San Juan, Puerto Rico 00936-2394, Attention:
           Irmari Pmtalatin and Juan Boscio, (Telecopy No. (787) 766-7909, e-mail addresses
           irmari.portalatin@scotiabank.com and juan.boscio@scotiabank.com, respectively); and

                                  (iii)  if to any other Lender, to it at its address (or telecopy number) set
           forth in its Administrative Questionnaire.

                           (b)    Notices and other communications to the Lenders hereunder may be
           delivered or furnished by electronic communications pursuant to procedures approved by the
           Administrative Agent; provided that the foregoing shall not apply to notices pursuant to
           Article II unless otherwise agreed by the Administrative Agent and the applicable Lender. The
           Administrative Agent or the Borrower may, in its discretion, agree to accept notices and other
           communications to it hereunder by electronic communications pursuant to procedures approved
           by it; provided that approval of such procedures may be limited to particular notices or
           communications.

                         (c)     Any party hereto may change its address or telecopy number for notices
           and other communications hereunder by notice to the other parties hereto. All notices and other
           communications given to any party hereto in accordance with the provisions of this Agreement
           shall be deemed to have been given on the date of receipt.

                   Section 9.02 Waivers; Amendments. (a) No failure or delay by the Administrative
           Agent or any Lender in exercising any right or power hereunder shall operate as a waiver
           thereof, nor shall any single or partial exercise of any such right or power, or any abandonment
           or discontinuance of steps to enforce such a right or power, preclude any other or further exercise
           thereof or the exercise of any other right or power. The rights and remedies of the
           Administrative Agent and the Lenders hereunder are cumulative and are not exclusive of any
           rights or remedies that they would otherwise have. No waiver of any provision of this
           Agreement or consent to any departure by the Borrower therefrom shall in any event be effective
           unless the same shall be permitted by paragraph (b) of this Section, and then such waiver or
           consent shall be effective only in the specific instance and for the purpose for which given.
           Without limiting the generality of the foregoing, the making of an Advance shall not be
           construed as a waiver of any Default, regardless of whether the Administrative Agent or any
           Lender may have had notice or knowledge of such Default at the time.

                         (b)     Neither this Agreement nor any provision hereof may be waived, amended
           or modified except pursuant to an agreement or agreements in writing entered into by the
           Borrower and the Required Lenders or by the Borrower and the Administrative Agent with the
           consent of the Required Lenders; provided that no such agreement shall (i) increase the
           Commitment of any Lender without the written consent of such Lender, (ii) reduce or forgive the
           principal amount of any Advance or reduce the rate of interest thereon, or reduce or forgive any
           fees payable hereunder, without the written consent of each Lender affected thereby,



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           (iii) postpone the scheduled date of payment of the principal amount of any Advance, or any
           interest thereon, or any fees payable hereunder, or reduce or forgive the amount of, waive,
           forgive or excuse any such payment, or postpone the scheduled date of expiration of any
           Commitment, without the written consent of each Lender affected thereby, (iv) change
           Section 2.12(b) or (c) in a .manner that would alter the pro rata sharing of payments required
           thereby, without the written consent of each Lender, (v) release any collateral securing the
           Advances, or (vi) change any of the provisions of this Section or the definition of "Required
           Lenders" or any other provision hereof specifying the number or percentage of Lenders required
           to waive, amend or modify any rights hereunder or make any determination or grant any consent
           hereunder, without the written consent of each Lender; provided further that no such agreement
           shall amend, modify or otherwise affect the rights or duties of the Administrative Agent
           hereunder without the prior written consent of the Administrative Agent.

                   Section 9.03 Indemnity; Damage Waiver. (a) To the extent permitted by law, the
           Borrower shall indemnify the Administrative Agent and each Lender, and each Related Party of
           any of the foregoing Persons (each such Person being called an "Indemnitee") against, and hold
           each Indemnitee harmless from, any and all losses, claims, damages, liabilities and related
           expenses, including the fees, charges and disbursements of any counsel for any Indemnitee,
           incurred by or asserted against any Indemnitee arising out of, in connection with, or as a result of
           (i) the execution or delivery of this Agreement or any agreement or instrument contemplated
           hereby, the performance by the parties hereto of their respective obligations hereunder or the
           consummation of the Transactions or any other transactions contemplated hereby, (ii) any
           Advance or the use of the proceeds therefrom, (iii) any actual or alleged presence or release of
           Hazardous Materials on or from any property owned or operated by the Borrower or any of its
           Subsidiaries, or any Environmental Liability related in any way to the Borrower or any of its
           Subsidiaries, or (iv) any actual or prospective claim, litigation, investigation or proceeding
           relating to any of the foregoing, whether based on contract, tort or any other theory and
           regardless of whether any Indemnitee is a party thereto; provided that such indemnity shall not,
           as to any Indernnitee, be available to the extent that such losses, claims, damages, liabilities or
           related expenses resulted from the gross negligence or willful misconduct of such Indemnitee.

                           (b)     If the indemnification provided for in paragraph (a) of this Section is
           unavailable to an Indernnitee in respect of any losses, claims, damages or liabilities referred to
           therein, then each indemnifying party under such paragraph, in lieu of indemnifying such
           Indernnitee thereunder, shall contribute to the amount paid or payable by such Indernnitee as a
           result of such losses, claims, damages or liabilities (i) in such proportion as is appropriate to
           reflect the relative benefits received by the Bonower and the Administrative Agent or the
           Lenders from the Advances or (ii) if the allocation provided by clause (i) above is not permitted
           by applicable law, in such proportion as is appropriate to reflect not only the relative benefits
           referred to in clause (i) above but also the relative fault of the Borrower and of the
           Administrative Agent or the Lenders in connection with the occurrences that resulted in such
           losses, claims, damages or liabilities, as well as any other relevant equitable considerations. The
           relative benefits received by the Borrower and the Administrative Agent or the Lenders shall be
           deemed to be in the same respective proportions as the proceeds from the Advances received by
           the Borrower and the fees received by the Administrative Agent or the interest received by the
           Lenders bear to the sum of such amounts. The Borrower, the Administrative Agent and the
           Lenders agree that it would not be just and equitable if contribution pursuant to this Section were


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           determined by pro rata allocation or by any other method of allocation that does not take account
           of the equitable considerations referred to in this paragraph. The amount paid or payable by an
           Indernnitee as a result of the losses, claims, damages and liabilities referred to in this paragraph
           shall be deemed to include, subject to the limitations set forth above, any legal or other expenses
           reasonably incurred by such Indemnitee in connection with investigating or defending any such
           action or claim. Notwithstanding the provisions of this Section, the Administrative Agent and
           the Lenders shall not be required to contribute any amount in excess of the fees or interest
           received by the Administrative Agent or the Lender on the Advances, as applicable. No Person
           guilty of fraudulent misrepresentation shall be entitled to contribution from any Person who was
           not guilty of such fraudulent misrepresentation.

                         (c)     To the extent that the Borrower fails to pay any amount required to be paid
           by it to the Administrative Agent under paragraph (a) or (b) of this Section, (i) each Lender
           severally agrees to pay to the Administrative Agent such Lender' s Applicable Percentage
           (determined as of the time that the applicable unreimbursed expense or indemnity payment is
           sought) of such unpaid amount; provided that the unreimbursed expense or indemnified loss,
           claim, damage, liability or related expense, as the case may be, was incurred by or asserted
           against the Administrative Agent in its capacity as such.

                          (d)     To the extent permitted by applicable law, the Borrower shall not assert,
           and hereby waives, any claim against any Indemnitee, on any theory of liability, for special,
           indirect, consequential or punitive damages (as opposed to direct or actual damages) arising out
           of, in connection with, or as a result of, this Agreement or any agreement or instrument
           contemplated hereby, the Transactions, any Advance or the use of the proceeds thereof.

                         (e)      All amounts due under this Section shall be payable promptly after written
           demand therefor.

                   Section 9.04 Successors and Assigns, Participations and Transfer of the Notes. (a)
           The provisions of this Agreement shall be binding upon and inure to the benefit of the parties
           hereto and their respective successors and assigns permitted hereby, except that (i) the Borrower
           may not assign or otherwise transfer any of its rights or obligations hereunder without the prior
           written consent of each Lender (and any attempted assignment or transfer by the Borrower
           without such consent shall be null and void) and (ii) no Lender may assign or otherwise transfer
           its rights or obligations hereunder except in accordance with this Section. Nothing in this
           Agreement, expressed or implied, shall be construed to confer upon any Person (other than the
           parties hereto, their respective successors and assigns permitted hereby, Participants (to the
           extent provided in paragraph (c) of this Section) and, to the extent expressly contemplated
           hereby, the Related Parties of each of the Administrative Agent and the Lenders) any legal or
           equitable right, remedy or claim under or by reason of this Agreement.

                         (b)    (i)      Subject to the conditions set forth in paragraph (b )(ii) below, any
           Lender may assign to one or more assignees all or a portion of its rights and obligations under
           this Agreement (including all or a portion of any Commitment of such Lender and the Advances
           at the time owing to it) with the prior written consent (such consent not to be unreasonably
           withheld) of:




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                                    A.      the B01Tower, provided that no consent of the Borrower shall be
                             required for an assignment to an existing Lender, an Affiliate of an existing
                             Lender or an Approved Fund or, if an Event of Default has occurred and is
                             continuing or if a Final Determination has been made, any other assignee; and

                                      B.     the Administrative Agent, provided that no consent of the
                             Administrative Agent shall be required for an assignment of any Commitment to
                             an assignee that is a Lender with a Commitment immediately prior to g1vmg
                             effect to such assignment, an Affiliate of a Lender or an Approved Fund.

                                    (ii)    Assignments shall be subject to the following additional
               conditions:

                                     A.     except in the case of an assignment to a Lender or an Affiliate of a
                             Lender or an assigmnent of the entire remaining amount of the assigning Lender' s
                             Commitment or Advances, the amount of the Commitment or Advances of the
                             assigning Lender subject to each such assignment (determined as of the date the
                             Assignment and Assumption with respect to such assignment is delivered to the
                             Administrative Agent) shall not be less than $5 ,000,000 unless each of the
                             Borrower and the Administrative Agent otherwise consent, provided that no such
                             consent of the Borrower shall be required if an Event of Default has occurred and
                             is continuing or a Final Determination has been made;

                                     B.      each partial assignment shall be made as an assignment of a
                             proportionate part of all the assigning Lender' s rights and obligations under this
                             Agreement, provided that this clause shall not be construed to prohibit the
                             assignment of a proportionate paii of all the assigning Lender' s rights and
                             obligations in respect of any Commitment or Advances;

                                   C.      the parties to each assigmnent shall execute and deliver to the
                             Administrative Agent an Assignment and Assumption;

                                     D.      the assignee, if it shall not be a Lender, shall deliver to the
                             Administrative Agent an Administrative Questionnaire in which the assignee
                             designates one or more credit contacts to whom all syndicate level information
                             (which may contain material non-public information about the Borrower and its
                             related parties or its securities) will be made available and who may receive such
                             information in accordance with the assignee' s compliance procedures and
                             applicable laws, including Federal and state securities laws;

                                     E.      if any Lender makes an assignment to an Affiliate or an Approved
                             Fund pursuant to this subsection (b) prior to the occurrence of an Event of Default
                             and the Borrower does not consent to such assignment, the Borrower shall not be
                             obligated to reimburse such Affiliate or Approved Fund under Section 2.11 for an
                             amount greater than the amount the Borrower would have been obligated to
                             reimburse such Lender under such sections if such assigmnent had not occurred;
                             and



                                                              43


Confidential                                                                                          PREPA_RSA0028225
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                                      F.     unless an Event of Default has occurred and is continuing, there
                              shall not be more than three Lender Groups at any one time.

               For the purposes of this Section 9.04(b), the term "Approved Fund" means any Person (other
               than a natural person) that is engaged in making, purchasing, holding or investing in bank loans
               and similar extensions of credit in the ordinary course of its business and that is administered or
               managed by (a) a Lender, (b) an Affiliate of a Lender or (c) an entity or an Affiliate of an entity
               that administers or manages a Lender.

                                       (iii)   Subject to acceptance and recording thereof pursuant to paragraph
               (b)(iv) of this Section, from and after the effective date specified in each Assignment and
               Assumption the assignee thereunder shall be a party hereto and, to the extent of the interest
               assigned by such Assignment and Assumption, have, in addition to any such rights and
               obligations theretofore held by it, the rights and obligations of a Lender under this Agreement,
               and the assigning Lender thereunder shall, to the extent of the interest assigned by such
               Assignment and Assumption, be released from its obligations under this Agreement (and, in the
               case of an Assignment and Assumption covering all of the assigning Lender' s rights and
               obligations under this Agreement, such Lender shall cease to be a party hereto but shall continue
               to be entitled to the benefits of Sections 2.11 and 9.03). Any assignment or transfer by a Lender
               ofrights or obligations under this Agreement that does not comply with this Section 9.04 shall be
               treated for purposes of this Agreement as a sale by such Lender of a pai1icipation in such rights
               and obligations in accordance with paragraph (c) of this Section.

                                  (iv)     The Administrative Agent, acting for this purpose as an agent of
           the Borrower, shall maintain at one of its offices a copy of each Assignment and Assumption
           delivered to it and a register for the recordation of the names and addresses of the Lenders, and
           the Commitments of, and principal amount of the Advances owing to, each Lender pursuant to
           the terms hereof from time to time (the "Register"). The entries in the Register shall be
           conclusive, and the Borrower, the Administrative Agent and the Lenders may treat each Person
           whose name is recorded in the Register pursuant to the terms hereof as a Lender hereunder for all
           purposes of this Agreement, notwithstanding notice to the contrary. The Register shall be
           available for inspection by the Borrower and any Lender at any reasonable time and from time to
           time upon reasonable prior notice.

                                 (v)     Upon its receipt of a duly completed Assignment and Assumption
           executed by an assigning Lender and an assignee, the assignee's completed Administrative
           Questionnaire (unless the assignee shall already be a Lender hereunder) and any written consent
           to such assignment required by paragraph (b)(i)(A) of this Section, the Administrative Agent
           shall accept such Assignment and Assumption and record the information contained therein in
           the Register; provided that if either the assigning Lender or the assignee shall have failed to
           make any payment required to be made by it pursuant to Section 2.03(b), 2.12(d) or 9.03(c), the
           Administrative Agent shall have no obligation to accept such Assignment and Assumption and
           record the information therein in the Register unless and until such payment shall have been
           made in full, together with all accrued interest thereon. No assignment shall be effective for
           purposes of this Agreement unless it has been recorded in the Register as provided in this
           paragraph.



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Confidential                                                                                            PREPA_RSA0028226
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                            (c)    (i)     Any Lender may, without the consent of the Borrower or the
           Administrative Agent, sell participations to one or more banks or other entities (a "Paiiicipant")
           in all or a portion of such Lender' s rights and obligations under this Agreement (including all or
           a portion of its Commitment and the Advances owing to it); provided that (A) such Lender's
           obligations under this Agreement shall remain unchanged, (B) such Lender shall remain solely
           responsible to the other parties hereto for the performance of such obligations and (C) the
           Bo1Tower or the Administrative Agent and the other Lenders shall continue to deal solely and
           directly with such Lender in connection with such Lender's rights and obligations under this
           Agreement. Any agreement or instrument pursuant to which a Lender sells such a patiicipation
           shall provide that such Lender shall retain the sole right to enforce this Agreement and to
           approve any amendment, modification or waiver of any provision of this Agreement; provided
           that such agreement or instrument may provide that such Lender will not, without the consent of
           the Participant, agree to any amendment, modification or waiver described in the first proviso to
           Section 9.02(b) that affects such Participant, or modify or waive any provision in this Agreement
           which materially and adversely affects the rights or remedies of the Lenders. Subject to
           paragraph (c)(ii) of this Section, the Borrower agrees that each Participant shall be entitled to the
           benefits of Section 2.11 to the same extent as if it were a Lender and had acquired its interest by
           assignment pursuant to paragraph (b) of this Section. To the extent permitted by law, each
           Participant also shall be entitled to the benefits of Section 9.08 as though it were a Lender,
           provided that such Participant agrees to be subject to Section 2.12(c) as though it were a Lender.

                                   (ii)     A Participant shall not be entitled to receive any greater payment
           under Section 2.11 than the applicable Lender would have been entitled to receive with respect to
           the participation sold to such Participant, unless the sale of the participation to such Participant is
           made with the Borrower's prior written consent. A Participant that would be a Foreign Lender if
           it were a Lender shall not be entitled to the benefits of Section 2.11 unless the Borrower is
           notified of the participation' sold to such Participant and such Participant agrees, for the benefit of
           the Borrower, to comply with Section 2.11 (e) as though it were a Lender.

                           (d)     Any Lender may at any time pledge or assign a security interest in all or
           any portion of its rights under this Agreement and its Notes to secure obligations of such Lender,
           including without limitation any pledge or assignment to secure obligations to a Federal Reserve
           Bank, and this Section shall not apply to any such pledge or assignment of a security interest;
           provided that no such pledge or assignment of a _security interest shall release a Lender from any
           of its obligations hereunder or substitute any such pledgee or assignee for such Lender as a party
           hereto.

                          (e)   In order to implement the assignment and part1c1pation rights in this
           Section 9.04, the Administrative Agent may request the Borrower at any time prior to the
           Maturity Date, to execute a new Note in the form of Exhibit B, and the Borrower agrees to
           provide the Administrative Agent with such executed Note or Notes within five Business Days
           of such request.

                  Section 9.05 Survival; Reinstatement of Obligations. All covenants, agreements,
           representations and warranties made by the Borrower herein and in the certificates or other
           instruments delivered in connection with or pursuant to this Agreement shall be considered to
           have been relied upon by the other parties hereto and shall survive the execution and delivery of


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           this Agreement and the making of any Advances, regardless of any investigation made by any
           such other party or on its behalf and notwithstanding that the Administrative Agent or any
           Lender may have had notice or knowledge of any Default or incorrect representation or warranty
           at the time any credit is extended hereunder, and shall continue in full force and effect as long as
           the principal of or any accrued interest on any Advance or any fee or any other amount payable
           under this Agreement is outstanding and unpaid and so long as the Commitments have not
           expired or been terminated. The provisions of Sections 2.09(h), 2.11 and 9.03 and Article VIII
           shall survive and remain in full force and effect regardless of the consummation of the
           transactions contemplated hereby, the repayment of the Advances, the expiration or termination
           of the Commitments or the termination of this Agreement or any provision hereof.

                   This Agreement, and the Borrower's Obligations hereunder, shall continue to be
           effective, or shall be automatically reinstated, as the case may be, if at any time payment in
           whole or in part of any of the Obligations is rescinded or must otherwise be restored or returned
           to the Borrower or such other party upon the insolvency, bankruptcy, dissolution, liquidation or
           reorganization of the Borrower, or upon or as a result of the appointment of a custodian, receiver,
           trustee or other officer with similar powers with respect to the Borrower, or with respect to any
           part of its properties or assets or otherwise, all as though such payment had not been made.

                   Section 9.06 Counterparts; Integration; Effectiveness. This Agreement may be
           executed in counterparts (and by different parties hereto on different counterparts), each of which
           shall constitute an original, but all of which when taken together shall constitute a single
           contract. This Agreement and any separate letter agreements with respect to fees payable to the
           Administrative Agent constitute the entire contract among the parties relating to the subject
           matter hereof and supersede any and all previous agreements and understandings, oral or written,
           relating to the subject matter hereof. Except as provided in Section 4.01, this Agreement shall
           become effective when it shall have been executed by the Administrative Agent and when the
           Administrative Agent shall have received counterparts hereof which, when taken together, bear
           the signatures of each of the other parties hereto, and thereafter shall be binding upon and inure
           to the benefit of the parties hereto and their respective successors and assigns. Delivery of an
           executed counterpart of a signature page of this Agreement by telecopy shall be effective as
           delivery of a manually executed counterpart of this Agreement.

                   Section 9.07 Severability. Any provision of this Agreement held to be invalid, illegal
           or unenforceable in any jurisdiction shall, as to such jurisdiction, be ineffective to the extent of
           such invalidity, illegality or unenforceability without affecting the validity, legality and
           enforceability of the remaining provisions hereof; and the invalidity of a particular provision in a
           particular jurisdiction shall not invalidate such provision in any other jurisdiction.

                   Section 9.08 Right of Setoff. If an Event of Default shall have occurred and be
           continuing, each Lender and each of its Affiliates is hereby authorized at any time and from time
           to time, to the fullest extent permitted by law, to set off and apply any and all deposits (general
           or special, time or demand, provisional or final) at any time held and other obligations at any
           time owing by such Lender or Affiliate to or for the credit or the account of the Borrower against
           any of and all the obligations of the Borrower now or hereafter existing under this Agreement
           held by such Lender, irrespective of whether or not such Lender shall have made any demand
           under this Agreement and although such obligations may be unmatured. The rights of each


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           Lender under this Section are in addition to other rights and remedies (including other rights of
           setoff) which such Lender may have.

                  Section 9.09 Governing Law. This Agreement shall be construed in accordance with
           and governed by the law of the Commonwealth.

                 Section 9.10 Waiver of Jury Trial. EACH PARTY HERETO HEREBY WAIVES,
           TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW, ANY RIGHT IT MAY
           HAVE TO A TRIAL BY JURY IN ANY LEGAL PROCEEDING DIRECTLY OR
           INDIRECTLY ARISING OUT OF OR RELATING TO THIS AGREEMENT OR THE
           TRANSACTIONS CONTEMPLATED HEREBY (WHETHER BASED ON CONTRACT,
           TORT OR ANY OTHER THEORY). EACH PARTY HERETO (A) CERTIFIES THAT NO
           REPRESENTATIVE, AGENT OR ATTORNEY OF ANY OTHER PARTY HAS
           REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PARTY WOULD
           NOT, IN THE EVENT OF LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER
           AND (B) ACKNOWLEDGES THAT IT AND THE OTHER PARTIES HERETO HAVE
           BEEN INDUCED TO ENTER INTO THIS AGREEMENT BY, AMONG OTHER THINGS,
           THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION.

                   Section 9.11 Headings. Aliicle and Section headings and the Table of Contents used
           herein are for convenience of reference only, are not part of this Agreement and shall not affect
           the construction of, or be taken into consideration in interpreting, this Agreement.

                   Section 9.12 Interest Rate Limitation. Notwithstanding anything herein to the
           contrary, if at any time the interest rate applicable to any Advance, together with all fees, charges
           and other amounts which are treated as interest on such Advance under applicable law
           (collectively the "Charges"), shall exceed the maximum lawful rate (the "Maximum Rate")
           which may be contracted for, charged, taken, received or reserved by the Lender holding such
           Advance or which may be contracted for or paid by the Borrower in accordance with applicable
           law, the rate of interest payable in respect of such Advance, together with all Charges payable in
           respect thereof, shall be limited to the Maximum Rate and, to the extent lawful, the interest and
           Charges that would have been payable in respect of such Advance but were not payable as a
           result of the operation of this Section shall be cumulated and the interest and Charges payable to
           such Lender in respect of other Advances shall be increased (but not above the Maximum Rate
           therefor) until such cumulated amount, together with interest thereon at the Federal Funds
           Effective Rate to the date of repayment, shall have been received by such Lender.

                   Section 9.13 USA Patriot Act. Each Lender that is subject to the requirements of the
           USA Patriot Act (Title III of Pub. L. 107-56 (signed into law October 26, 2001)) (the "Act")
           hereby notifies the Borrower that, pursuant to the requirements of the Act, it is required to
           obtain, verify and record information that identifies the Borrower, which information includes
           the name and address of the Borrower and other information, to the extent known to the
           Borrower, that will allow such Lender to identify the Borrower in accordance with the Act. The
           Borrower shall promptly provide such infonnation upon request from any such Lender.

                 Section 9.14 Waiver of Immunity. The Borrower agrees that it will not assert any
           immunity (sovereign or otherwise) it may have as a governmental instrumentality against


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               lawsuits brought in contract under the law of the Commonwealth with respect to this Agreement,
               any of the other Loan Documents or in connection herewith or therewith.

                       Section 9.15 Press Releases and Other Communications. The parties agree that no
               news release or public announcement pertaining to this Agreement or the transactions
               contemplated hereby shall be made by or on behalf of any party hereto without the prior approval
               of the other party. Notwithstanding the foregoing, nothing herein shall prohibit any party from
               making any disclosure that, in the opinion of its counsel, is required by any applicable law or
               regulation applicable to either the Borrower or the Lender.

                      Section 9.16 Comptroller of Puerto Rico . No payment under this Agreement, the
               Notes and the other Loan Documents shall be demanded until such time as this Agreement and
               the other Loan Documents have been submitted for registration with the Office of the
               Comptroller of the Commonwealth, pursuant to the provisions of Act. No. 18 of the Legislative
               Assembly of the Commonwealth, approved October 30, 1975, as amended.

                                               [Signatures follow on next page]




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                  IN WITNESS WHEREOF, the paiiies hereto have caused this Agreement to be duly
           executed by their respective authorized officers as of the day and year first above written.

                                                      PUERTO    RICO      ELECTRIC            POWER
                                                      AUTHORITY, Borrower

                                                      By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ ______,__
                                                      Name: Otoniel Cruz Carrillo
                                                      Title: Executive Director




                                                      BANCO BILBAO VIZCAYA             ARGENTARIA
                                                      PUERTO RICO, as Lender



                                                      By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                      Name:       Helen Pardo
                                                      Title:      Senior Vice President

                                                      By: _ _ _ _ _ _ _ _ _ _ _ _ __
                                                      Name:     Patrick Haggarty
                                                      Title:    Executive Vice President




                                                      SCOTIABANK DE PUERTO RICO, as Lender and
                                                      Administrative Agent



                                                      By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                      Name:       Diego Masola
                                                      Title:      Senior Vice President




                                        [Signature Page to Credit Agreement]




Confidential                                                                                  PREPA_RSA0028231
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                                                      EXHIBIT A

                                             ASSIGNMENT AND ASSUMPTION

                   This Assignment and Assumption (the "Assignment and Assumption") is dated as of the
           Effective Date set forth below and is entered into by and between [Insert name of Assignor] (the
           "Assignor") and [Insert name of Assignee] (the "Assignee"). Capitalized terms used but not
           defined herein shall have the meanings given to them in the Credit Agreement identified below
           (as it may be amended, supplemented or otherwise modified, the "Credit Agreement"), receipt of
           a copy of which is hereby acknowledged by the Assignee. The Standard Terms and Conditions
           set forth in Annex 1 attached hereto are hereby agreed to and incorporated herein by reference
           and made a part of this Assignment and Assumption as if set forth herein in full.

                   For an agreed consideration of the Purchase Price specified below, paid by the Assignee
           to the Assignor, the Assignor hereby irrevocably sells and assigns to the Assignee, and the
           Assignee hereby irrevocably purchases and assumes from the Assignor, subject to and in
           accordance with the Standard Terms and Conditions and the Credit Agreement, as of the
           Effective Date inserted by the Administrative Agent as contemplated below, (i) all of the
           Assignor' s rights and obligations in its capacity as a Lender under the Credit Agreement and any
           other documents or instruments delivered pursuant thereto to the extent related to the amount and
           percentage interest identified below of all of such outstanding rights and obligations under the
           respective facilities identified below and (ii) to the extent permitted to be assigned under
           applicable law, all claims, suits, causes of action and any other right of the Assignor (in its
           capacity as a Lender) against any Person, whether known or unknown, arising under or in
           connection with the Credit Agreement, any other documents or instruments delivered pursuant
           thereto or the loan transactions governed thereby or in any way based on or related to any of the
           foregoing, including contract claims, tort claims, malpractice claims, statutory claims and all
           other claims at law or in equity related to the rights and obligations sold and assigned pursuant to
           clause (i) above (the rights and obligations sold and assigned pursuant to clauses (i) and (ii)
           above being referred to herein collectively as the "Assigned Interest"). Such sale and assignment
           is without recourse to the Assignor and, except as expressly provided in this Assignment and
           Assumption, without representation or warranty by the Assignor.

               1.   Assignor:

           2.       Assignee:

                                                         [and is an Affiliate/Approved Fund of _ _ _ __
                                                         [identify Lender]

           3.       Borrower(s):

           4.       Administrative Agent:                _ __ _ __ _ _ , as the administrative agent
                                                         under the Credit Agreement

                    Select as appli cabl e




                                                            A-1


Confidential                                                                                         PREPA_RSA0028232
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           5.       Credit Agreement:                            The Credit Agreement dated as of June _ , 2011
                                                                 among Puerto Rico Electric Power Authority, the
                                                                 Lenders parties thereto, and SCOTIABANK DE
                                                                 PUERTO RICO, as Administrative Agent

           6.       Assigned Interest:

                 Facility               Aggregate                    Amount of                     Percentage Assigned of
                                        Amount of                 Commitment/Loans                  Commitment/Loans
                                       Commitment/                   Assigned
                                       Loans for all
                                         Lenders

                                              IE                             $                                  %

                                               $                             $                                  %

                                               $                             $                                  %

                                    Purchase Price $

                Effective Date: _ _ _ __ , 20_ [TO BE INSERTED BY ADMINISTRATIVE
           AGENT AND SHALL BE THE EFFECTIVE DATE OF RECORDATION OF TRANSFER IN
           THE REGISTER THEREFOR.]

                  The Assignee agrees to deliver to the Administrative Agent a completed Administrative
           Questionnaire in which the Assignee designates one or more Credit Contacts to whom all
           syndicate-level information (which may contain material non-public information about the
           Borrower and its Related Parties or their respective securities) will be made available and who
           may receive such information in accordance with the Assignee ' s compliance procedures and
           applicable laws, including Federal, Commonwealth and state securities laws.




           Set forth , to at least 9 decimals, as a percentage of the Commitment/Loans of all Lenders thereunder.




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Confidential                                                                                                        PREPA_RSA0028233
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                       The terms set forth in this Assignment and Assumption are hereby agreed to:

                                                                   ASSIGNOR

                                                                   [NAME OF ASSIGNOR]


                                                                   By _ _ __ _ _ _ _ _ _ _ _ _ _ __ __
                                                                   Name
                                                                   Title

                                                                   ASSIGNEE

                                                                   [NAME OF ASSIGNEE]


                                                                   By_ _ _ _ __ __ __ _ _ _ __
                                                                   Name
                                                                   Title



               [Consented to and] Accepted:

               [NAME OF ADMINISTRATIVE AGENT], as
               Administrative Agent


           By_ _ _ _ _ _ _ _ __ __ _ __
           Name
           Title

               [Consented to:] 4

           PUERTO RICO ELECTRIC POWER AUTHORITY


           By_ __ _ _ _ _ _ _ _ _ _ _ __
           Name
           Title
           3
                To be added only if the consent of the Administrative Agent is required by the terms of the Credit Agreement.
           4
                To be added only if the consent of the Borrower is required by the tem1s of the Credit Agreement.




                                                                       A-3


Confidential                                                                                                          PREPA_RSA0028234
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                                                           ANNEX 1


                                      Credit Agreement dated as of May 4, 2012 among
                             Puerto Rico Electric Power Authority, the Lenders parties thereto, and
                                SCOTIABANK DE PUERTO RICO, as Administrative Agent

                                       STANDARD TERMS AND CONDITIONS FOR
                                           ASSIGNMENT AND ASSUMPTION

                       1.     Representations and Warranties.

                       1. 1.  Assignor. The Assignor (a) represents and warrants that (i) it is the legal and
               beneficial owner of the Assigned Interest, (ii) the Assigned Interest is free and clear of any lien,
               encumbrance or other adverse claim and (iii) it has full power and authority, and has taken all
               action necessary, to execute and deliver this Assignment and Assumption and to consummate the
               transactions contemplated hereby; and (b) assumes no responsibility with respect to (i) any
               statements, wan-anties or representations made in or in connection with the Credit Agreement or
               any other Loan Document, (ii) the execution, legality, validity, enforceability, genuineness,
               sufficiency or value of the Loan Documents or any collateral thereunder, (iii) the financial
               condition of the Bon-ower, any of its Subsidiaries or Affiliates or any other Person obligated in
               respect of any Loan Document or (iv) the performance or observance by the Bon-ower, any of its
               Subsidiaries or Affiliates or any other Person of any of their respective obligations under any
               Loan Document.

                    1.2.    Assignee. The Assignee (a) represents and warrants that (i) it has full power and
           authority, and has taken all action necessary, to execute and deliver this Assignment and
           Assumption and to consummate the transactions contemplated hereby and to become a Lender
           under the Credit Agreement, (ii) it satisfies the requirements, if any, specified in the Credit
           Agreement that are required to be satisfied by it in order to acquire the Assigned Interest and
           become a Lender, (iii) from and after the Effective Date, it shall be bound by the provisions of
           the Credit Agreement as a Lender thereunder and, to the extent of the Assigned Interest, shall
           have the obligations of a Lender thereunder (in addition to any such obligations theretofore held
           by it), (iv) it has received a copy of the Credit Agreement, together with copies of the most
           recent financial statements delivered pursuant to Section 3.04 or 5.01 thereof, as applicable, and
           such other documents and information as it has deemed appropriate to make its own credit
           analysis and decision to enter into this Assignment and Assumption and to purchase the
           Assigned Interest, on the basis of which it has made such analysis and decision independently
           and without reliance on the Administrative Agent or any other Lender, and (v) if it is a Foreign
           Lender, attached to this Assignment and Assumption is any documentation required to be
           delivered by it pursuant to the terms of the Credit Agreement, duly completed and executed by
           the Assignee; and (b) agrees that (i) it will, independently and without reliance on the
           Administrative Agent, the Assignor or any other Lender, and based on such documents and
           information as it shall deem appropriate at the time, continue to make its own credit decisions in
           taking or not taking action under the Loan Documents, and (ii) it will perform in accordance with
           their terms all of the obligations which by the terms of the Loan Documents are required to be
           performed by it as a Lender.



                                                                Annex 1-1


Confidential                                                                                            PREPA_RSA0028235
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                       2.     Payments. From and after the Effective Date, the Administrative Agent shall
               make all payments in respect of the Assigned Interest (including payments of principal, interest,
               fees and other amounts) to the Assignor for amounts which have accrued to but excluding the
               Effective Date and to the Assignee for amounts which have accrued from and after the Effective
               Date.

                       3.      General Provisions. This Assignment and Assumption shall be binding upon, and
               inure to the benefit of, the parties hereto and their respective successors and assigns. This
               Assignment and Assumption may be executed in any number of counterparts, which together
               shall constitute one instrument. Delivery of an executed counterpart of a signature page of this
               Assignment and Assumption by telecopy shall be effective as delivery of a manually executed
               counterpart of this Assignment and Assumption. This Assignment and Assumption shall be
               governed by, and construed in accordance with, the law of the Commonwealth of Puerto Rico.




                                                               Annex 1-2


Confidential                                                                                          PREPA_RSA0028236
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                                                       EXHIBITB

                                         FORM OF NOTE - GENERAL
                                  PUERTO RICO ELECTRIC POWER AUTHORITY



           Maturity Date: May 3, 20 13



               $                                                                                         [Date]




                   FOR VALUE RECEIVED, the undersigned, PUERTO RICO ELECTRIC POWER
           AUTHORITY, a public corporation and government instrumentality of the Commonwealth of
           Puerto Rico (the "Borrower"), hereby unconditionally promises to pay to the order of [ ] (the
           "Lender") in lawful money of the United States of America and in immediately available funds,
           the principal amount of [ ] ($[ ]), or, if less, the aggregate unpaid and outstanding principal
           amount of the Advances made by the Lender pursuant to the Credit Agreement, dated as of
           May 4, 2012 (the "Credit Agreement"), among the Borrower, the lenders party thereto, and
           Scotiabank de Pue1io Rico, as Administrative Agent, plus any interest, any other amounts due
           and payable to the Lender pursuant to and as described in the Credit Agreement (collectively, the
           "Obligations").

                   This promissory note is one of the Notes referred to in the Credit Agreement and is
           entitled to the benefits of, and subject to the terms of, the Credit Agreement. Capitalized terms
           used herein without definition have the meanings assigned to them in the Credit Agreement.

                  This Note shall not be deemed to constitute a debt or obligation of the Commonwealth of
           Puerto Rico or any of its municipalities or other political subdivisions other than the Borrower,
           and neither the Commonwealth of Puerto Rico nor any such municipalities or other political
           subdivisions other than the Borrower are liable for the payment ofthis Note or interest thereon or
           any amounts due under the Credit Agreement, but this Note and the interest thereon and amounts
           due under the Credit Agreement shall be payable as provided in the Credit Agreement, the
           Resolution (hereinafter defined) and the Trust Agreement (hereinafter defined) .

                  The principal amount hereof is payable on the Maturity Date and otherwise in accordance
           with the Credit Agreement. This Note is subject to prepayment as provided in the Credit
           Agreement.

                  The Borrower further agrees to pay, in lawful money of the United States of America and
           in immediately available funds, interest from the date hereof on the unpaid and outstanding
           principal amount hereof until such unpaid and outstanding principal amount shall become due
           and payable (whether at stated maturity, by acceleration or otherwise) at the rate or rates set forth



                                                             B-1


Confidential                                                                                          PREPA_RSA0028237
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           in the Credit Agreement, and at the times set forth in the Credit Agreement, and the Borrower
           agrees to pay other Obligations as provided in the Credit Agreement.

                  This Note shall bear interest at the rate provided in the Agreement.

                   The date, amount and interest rate of each Advance, and each payment made on account
           thereof, shall be evidenced by records maintained by the Administrative Agent in the ordinary
           course of its business. Such records maintained by the Agent shall constitute prima facie
           evidence of the accuracy of the information so recorded in the absence of manifest error,
           provided that the failure to make such recordation or any error therein shall not limit or otherwise
           affect the obligations of the Borrower hereunder or under the Credit Agreement in respect of the
           Advances. The holder of this Note may, at its option, also record the date and amount of the
           Advances, the date and amount of each prepayment of principal thereof and the amount of
           unpaid principal with respect thereto on Schedule 1 annexed hereto and constituting a part
           hereof, and any such recordation shall constitute prima facie evidence of the accuracy of the
           information so recorded in the absence of manifest error, provided that the failure of the holder
           of this Note to make such recordation or any error therein shall not limit or otherwise affect the
           obligations of the Borrower hereunder or under the Credit Agreement in respect of the Advances.

                  In case an Event of Default shall occur and be continuing, all amounts then remaining
           unpaid on this Note shall become, or may be declared to be, immediately due and payable, as
           provided in the Credit Agreement, without presentment, demand for payment, protest or notice
           of any kind, all of which are expressly waived by Borrower.

                  The Borrower agrees to pay all costs and expenses, including reasonable attorneys ' fees
           incurred in connection with the interpretation or enforcement of this Note, as permitted by and in
           accordance with the Credit Agreement.

                   This Note is payable by the Borrower as a "Current Expense" under the Trust Agreement,
           dated as of January 1, 1974, as amended and supplemented, by and between the Borrower and
           the U.S. Bank National Association, as successor trustee (the "Trust Agreement'), pursuant to
           Resolution No. 3909 adopted by the Borrower on April 12, 2012 and a Certificate of
           Determination, dated May 4, 2012, executed by the Executive Director of the Authority
           (collectively, the "Resolution"), and is subject to the terms and provisions set forth in the Trust
           Agreement relating to Current Expenses.




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Confidential                                                                                         PREPA_RSA0028238
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               THIS NOTE SHALL BE GOVERNED BY, AND CONSTRUED AND IN
           ACCORDANCE WITH, THE LAW OF THE COMMONWEALTH OF PUERTO RICO.

                  IN WITNESS WHEREOF, Puerto Rico Electric Power Authority has caused this Note to
           bear the manual signatures of the Executive Director and the Secretary of the Authority and its
           corporate seal to be imprinted hereon, all of the date first set forth above.

                                                      PUERTO    RICO            ELECTRIC         POWER
                                                      AUTHORITY




               [Corporate Seal]                       By: _ _ _ __ _ _ __ _ _ _ _ _ _ _
                                                                  Executive Director




                                                      By:_ _ _ _ _ _ __ __ _ _ _ __
                                                                   Secretary




                                                          B-3


Confidential                                                                                    PREPA_RSA0028239
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                                            SCHEDULE 1
                                             TO NOTE

                                    ADVANCES AND PAYMENTS

                                                              Unpaid Principal
                             Amount of        Amount of         Balance of       Notation Made
                Date         Advances      Principal Repaid      Advance               By




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                                                        EXHIBIT C

                                           FORM OF BORROWING REQUEST



                                                           [Date]




               VIA FACSIMILE NO : 787-766-7909

               Scotiabank de Puerto Rico
               Hato Rey Commercial banking Center
               Scotiabank Tower, 290 Jesus T. Pifiero Avenue
               Hato Rey, Puerto Rico 00918
               Attention: Juan Boscio
                          Irmari Portalatin

                      Re: Bonowing Request from Puerto Rico Electric Power Authority

                       This Borrowing Request is being delivered pursuant to Section 2.03 of the Credit
               Agreement, dated as of May 4, 2012 (the "Agreement") between Puerto Rico Electric Power
               Authority (the "Borrower"), the lenders party thereto and Scotiabank de Puerto Rico, as
               Administrative Agent. All capitalized terms used but not defined herein shall have the meanings
               specified for such terms in the Agreement.

                  The Bonower hereby irrevocably requests a Borrowing under the Agreement and the
           Resolution (as defined in the Agreement) and sets forth the below information in connection
           therewith:

                      1.     The aggregate amount of the requested Borrowing is: _ _ _ _ _ _ _ _ __

                      2.     The Business Day of the requested Borrowing is: _ _ _ _ _ _ _ _ _ _ __

                 3.      The proceeds shall be applied to pay Current Expenses, as defined in the Trust
           Agreement and evidenced by the attached unpaid invoices or other documentation evidencing the
           payments due.

                  4.    The Bonowing shall be a LIBOR Advance for an Interest Period equal to (check
           one) I-week_ _ , I-month_, 2-months _ or 3-months _ .

                 5.     The Bonower certifies that such LIBOR Advance shall not result in such
           Advance maturing after the earlier of (i) the Advance Repayment Date or (ii) the Maturity Date.




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                   The Borrower hereby certifies that the conditions to such Borrowing set forth in
           Section 4.02 of the Agreement have been satisfied on the date hereof and will be true on the date
           of the Requested Borrowing.

                    The Borrower hereby further certifies that the proceeds of the requested Borrowing:

                    1.     Will be used only to pay Current Expenses, as defined in the Trust Agreement.

                  2.       The conditions to such Advance set forth in Section 4.02 of the Agreement have
           been satisfied on the date hereof and will be true on the date of the requested Borrowing.

                    3.   The proceeds of the Advance will be used only for the purpose of paying Current
           Expenses, as defined in the Trust Agreement, and evidenced by the attached unpaid invoices or
           other documentation evidencing the payments due.

                    4.     Will be used in a manner that is consistent with all provisions of the Agreement.

           Dated:                                        PUERTO    RICO            ELECTRIC          POWER
                                                         AUTHORITY




                                                         By: _ __ __ _ __ _ _ _ _ _ _ _ _ __
                                                         Name
                                                         Title




                                                           C-2



Confidential                                                                                        PREPA_RSA0028242
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                                                       EXHIBITD

                              FORM OF FINANCIAL COMPLIANCE CERTIFICATE

                          (Pursuant to Section 5.0l(c) of the Credit Agreement referred to below)



                   This certificate is given by Puerto Rico Electric Power Authority (the "Borrower"),
           pursuant to Section 5.0l(c) of that certain Credit Agreement dated as of May 4, 2012 (as restated
           or amended from time to time, the "Credit Agreement"), among the Borrower, the Lenders from
           time to time parties thereto and Scotiabank de Puerto Rico, as Administrative Agent. Capitalized
           terms used but not defined herein shall have the meanings given to them in the Credit
           Agreement.

                  The officer executing this certificate is a Financial Officer of the Borrower and as such is
           duly authorized to execute and deliver this certificate on its behalf. By executing this certificate
           such officer hereby certifies to the Administrative Agent as follows:

               1.   This certificate is prepared as of _ _ _ _ _ _ , 201_ (the "Financial Statement Date").

               2.   Financial Statements: Enclosed herewith are true and correct copies of (i) the annual
                    audited financial statements of the Borrower as of the Financial Statement Date (if such
                    date is the last day of the Borrower' s fiscal year), prepared in accordance with Section
                    5.0l(a) of the Credit Agreement, or (ii) the quarterly unaudited financial statements of the
                    Borrower as of the Financial Statement Date, prepared in accordance with Section
                    5.0l(b) of the Credit Agreement.

           3.       Work Sheets: Enclosed herewith are true and correct work sheets detailing the method
                    and setting out the calculations used to determine the information referred to in Section
                    4(a) below.

           4.       Representations: The Borrower hereby represents and warrants that as of the Financial
                    Statement Date:

                    (a)    The Borrower' s Revenues of the fiscal year (or fiscal quarter, as applicable)
                           ended on the Financial Statement Date are sufficient (i) to comply with
                           Section 502(B) of the Trust Agreement and (ii) to pay an amount equal to at least
                           100% of the principal of and interest on Subordinate Obligations (as defined in
                           the Trust Agreement) for said fiscal year (or fiscal quarter, as applicable).

                    (b)    To the best of my knowledge after due inquiry, no event has occurred and is
                           continuing which constitutes a Default. [If a Default has occurred and is
                           continuing, include a statement as to the nature thereof and the action which
                           the Borrower has taken or will take with respect thereto.]

                    (c)    There has been no change in GAAP or in the application thereof since the
                           Financial Statement Date. [If any such change has occurred, include a


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                         statement as to the nature of such change and its effects on the financial
                         statements accompanying this certificate.]

                   IN WITNESS WHEREOF, I have signed this certificate this_ day of _ _ _ _
           201 .

                                                   PUERTO RICO ELECTRIC POWER AUTHORITY




                                                             By:
                                                                   - - -- -- - - -- -- -
                                                        Title:




                                                       D-2


Confidential                                                                              PREPA_RSA0028244
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                                          SCHEDULE 2.01
                                          COMMITMENTS


           Lender:                                        Commitment:

           SCOTIABANK DE PUERTO RICO                      $300,000,000



           BANCO BILBAO VIZCAYA
           ARGENTARIA PUERTO RICO                         $200,000,000




                                                 1


Confidential                                                                    PREPA_RSA0028245
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                                              SCHEDULE 6.06

                                          EXISTING RESTRICTIONS




                                                     1


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                  IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly
           executed by their respective authorized officers as of the day and year first above written.

                                                     PUERTO    RICO      ELECTRIC             POWER
                                                     AUTHORITY, Borrower

                                                     By:      ~               -ft.
                                                     Name: otoniclCruzarrillo
                                                     Title: Executive Director




                                                     BANCO BILBAO VIZCAYA ARGENTARIA
                                                     PUERTO RICO, as Lender



                                                     By:_ _ _ _ _ _ _ _ _ _ __ _ _
                                                     Name:    Helen Pardo
                                                     Title:   Senior Vice President

                                                     By: _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ _
                                                     Name:      Patrick Haggarty
                                                     Title:     Executive Vice President



                                                     SCOTIABANK DE PUERTO RICO, as Lender and
                                                     Administrative Agent



                                                     By: _ _ _ __ _ _ _ __ _ __ _
                                                     Name:     Diego Masola
                                                     Title:    Senior Vice President




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Confidential                                                                                  PREPA_RSA002824 7
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                      IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly
               executed by their respective authorized officers as of the day and year first above written.

                                                         PUERTO    RICO      ELECTRIC             POWER
                                                         AUTHORITY, Borrower

                                                         By      ~                 U,o
                                                         Name: OtonielCruzarrillo
                                                         Title: Executive Director




                                                         BANCO BILBAO VIZCAYA ARGENTARIA
                                                         PUERTO RICO, as Lender



                                                         By: _ _ __ _ __ __ __ _ _ _ _ __
                                                         Name:      Helen Pardo
                                                         Title:     Senior Vice President

                                                         By: _ _ _ _ __ __ _ _ _ _ _ _ _ __
                                                         Name:      Patrick Haggarty
                                                         Title:     Executive Vice President



                                                         SCOTIABANK DE PUERTO RICO, as Lender and
                                                         Administrative Agent



                                                         By:_ _ __ __ __ _ _ _ _ _ _ _ __
                                                         Name:    Diego Masola
                                                         Title:   Senior Vice President




           13886297 .3




Confidential                                                                                     PREPA_RSA0028248
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                      IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly
               executed by their respective authorized officers as of the day and year first above written.

                                                         PUERTO     RICO      ELECTRIC            POWER
                                                         AUTHORI~ Y, Borro er
                                                         By:    V) ,               (,/4
                                                         Name: OtonielCruzCarrillo
                                                         Title: Executive Director




                                                         BANCO BILBAO VIZCAYA ARGENTARIA
                                                         PUERTO RICO, as Lender



                                                         By:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                         Name:     Helen Pardo
                                                         Title:    Senior Vice President

                                                         By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                         Name:      Patrick Haggarty
                                                         Title:     Executive Vice President



                                                         SCOTIABANK DE PUERTO RICO, as Lender and
                                                         Administrative Agent



                                                         By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                         Name:      Diego Masola
                                                         Title:     Senior Vice President




           13886297.3




Confidential                                                                                     PREPA_RSA0028249
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                      IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly
               executed by their respective authorized officers as of the day and year first above written.

                                                         PUERTO           RICO          ELECTRIC            POWER
                                                         AUTHO~RITY, ~ orrower ,
                                                         By:_ -------'L.~'----+--"--"'. : . . :. =:. :..___ _ _ __ _
                                                         Name: otonielCruzarril
                                                         Title: Executive Director




                                                         BANCO BILBAO VIZCAYA                      ARGENTARIA
                                                         PUERTO RICO, as Lender



                                                         By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                         Name:      Helen Pardo
                                                         Title:     Senior Vice President

                                                         By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                         Name:      Patrick Haggarty
                                                         Title:     Executive Vice President



                                                         SCOTIABANK DE PUERTO RICO, as Lender and
                                                         Administrative Agent



                                                         By:_ _ _ _ _ _ _ _ _ _ _ _ __
                                                         Name:    Diego Masola
                                                         Title:   Senior Vice President




           13886297.3




Confidential                                                                                               PREPA_RSA0028250
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        IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly
 executed by their respective authorized officers as of the day and year first above written.

                                           PUERTO    RICO      ELECTRIC             POWER
                                           AUTHOR~TY, Borro er
                                           By:    (/}.  ,           ltc
                                           Name: OtonielCruzCarriHo
                                           Title: Executive Director




                                           BANCO BILBAO VIZCAYA              ARGENT ARIA
                                           PUERTO RICO, as Lender


                                           By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                           Name:         Helen Pardo
                                           Title:        Senior Vice President

                                           By: _ _ _ _ _ _ _ _ _ _ _ _ __
                                           Name:         Patrick Haggarty
                                           Title:        Executive Vice President



                                           SCOTIABANK DE PUERTO RICO, as Lender and
                                           Administrative Agent


                                           By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                           Name:         Diego Masola
                                           Title:        Senior Vice President




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                                 IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly
                          executed by their respective authorized officers as of the day and year first above written.

                                                                    PUERTO    RICO      ELECTRIC             POWER
                                                                    AUTHORITY, Bon-ower

                                                                    By:      ~ -(,/,,
                                                                    Name: OtonielCruzarrillo
                                                                    Title: Executive Director




                                                                    BANCO BILBAO VIZCAYA              ARGENT ARIA
                                                                    PUERTO RICO, as Lender



                                                                    By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                    Name:         Helen Pardo
                                                                    Title:        Senior Vice President

                                                                    By: _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                    Name:         Patrick Haggarty
                                                                    Title:        Executive Vice President



                                                                    SCOTIABANK DE PUERTO RICO, as Lender and
                                                                    Administrative Agent



                                                                    By: _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                    Name:         Diego Masola
                                                                    Title:        Senior Vice President




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                       IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly
                executed by their respective authorized officers as of the day and year first above written.

                                                           PUERTO      RICO      ELECTRIC          POWER
                                                           AUTIIORIT.Y, Borrower
                                                           By: _ _ _ _ _ _ _ _ _ _ _ _ __
                                                           Name: Otoniel Cruz Carrillo
                                                           Title: Executive Director.




                                                           BANCO BILBAO VfZCAY A ARGENTARIA
                                                           PUERTO RICO, as Lender



                                                           By: ______---"-----:::::::::ta::::.--------
                                                           Name:
                                                           Title:

                                                           By:_..JU~!N.\-t-/:t.t'//4.~t4-----
                                                           Name:
                                                           Title:




                                                           SCOTIABANK DE PUERTO RICO, as Lender and
                                                           Administrative Agent


                                                           By:_ _ _ _ _ _ _ _ _ _ _ _ __
                                                           Name:          Diego Masola
                                                           Title:         Senior Vice President




                                             [Signature Page to Credit Agreement]




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                        IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly
                 executed by their respective authorized officers as of the day and year first above written.

                                                           PUERTO    RICO      ELECTRIC             POWER
                                                           AUTHORITY, Borrower
                                                           By: _ _ _ _ _ _ _ _ _ _ _ _ __
                                                           Name: Otoniel Cruz Carrillo
                                                           Title: Executive Director.




                                                           BANCO BILBAO VIZCAYA ARGENTARIA
                                                           PUERTO RICO, as Lender



                                                           By: _ _-=--_..c=.-....;;..,,_____,;~------
                                                           Name:
                                                           Title:

                                                           By: _    _JJ_j~ffl..jl-t:J~~M'..__ _ __
                                                           Name:
                                                           Title:




                                                           SCOTIABANK DE PUERTO RICO, as Lender and
                                                           Administrative Agent



                                                           By: _ _ _ _ _ _ _ _ _ _ _ _ __
                                                           Name:          Diego Masola
                                                           Title:         Senior Vice President




                                             [Signature Page to Credit Agreement]




Confidential                                                                                         PREPA_RSA0028254
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                                            IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly
                                     executed by their respective authorized officers as of the day and year first above written.

                                                                                PUERTO    RICO      ELECTRIC              POWER
                                                                                AUTHORITY, Borrower
                                                                                By:_ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                Name: Otoniel Cruz Carrillo
                                                                                Title: Executive Director




                                                                                BANCO BILBAO VIZCAYA ARGENT ARIA
                                                                                PUERTO RICO, as Lender


                                                                                By: _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                Name:          Helen Pardo
                                                                                Title:         Senior Vice President
                                                                                By: _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                Name:          Patrick Haggarty
                                                                                Title:         Executive Vice President




                                                                                SCOTIABANK DE PUERTO RICO, as Lender and
                                                                                Administrative Agent



                                                                                By:_-------1~-=--.::..
                                                                                                    ·_,,,._ _ _ _ _ _ _~ - - -
                                                                                N ame:            Diego Maso la
                                                                                Title:            Senior Vice President




                                                                  [Signature Page to Credit Agreement]




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                      IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly
               executed by their respective authorized officers as of the day and year first above written.

                                                          PUERTO    RICO      ELECTRIC              POWER
                                                          AUTHORITY, Borrower
                                                          By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                          Name: Otoniel Cruz Carrillo
                                                          Title: Executive Director




                                                          BANCO BILBAO VIZCAYA ARGENT ARIA
                                                          PUERTO RICO, as Lender



                                                          By: _ _ _ _ _ _ _ _ _ _ _ _ __
                                                          Name:     Helen Pardo
                                                          Title:    Senior Vice President

                                                          By: _ _ _ _ _ _ _ _ _ _ _ _ __
                                                          Name:     Patrick Haggarty
                                                          Title:    Executive Vice President




                                                          SCOTIABANK DE PUERTO RICO, as Lender and
                                                          Administrative Agent



                                                          By: _ _.,__-=""""-- - - - - - -----'t-- t - - - - -
                                                          Name:         Diego Maso la
                                                          Title:        Senior Vice President




                                            [Signature Page to Credit Agreement]




Confidential                                                                                         PREPA_RSA0028256
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                                            FIRST AMENDING AGREEMENT
                                                        TO
                                                CREDIT AGREEMENT


                     This First Amending Agreement (the "First Amending Agreement") to that certain Credit
               Agreement, dated as of May 4, 2012, by and among PUERTO RICO ELECTRIC POWER
               AUTHORITY (the "Borrower"), the LENDERS party thereto, and SCOTIABANK DE
               PUERTO RICO, as Administrative Agent (in such capacity, the "Agent") (the "Credit
               Agreement") is made this 23 rd day of October, 2012.


                                                         WITNESSETH:

                       WHEREAS, the Borrower, the Lenders and the Agent entered into the Credit Agreement,
               pursuant to which the Lenders granted to the Borrower certain revolving credit facility. All
               capitalized terms used herein and not otherwise defined, are used with the same meanings given
               to such terms in the Credit Agreement.

                     WHEREAS, the parties have agreed to amend the Credit Agreement to increase the
               number of permitted Lender Groups, as more fully set out below.

                      NOW THEREFORE, the parties hereby amend the Credit Agreement under the
               following:



                                                TERMS AND CONDITIONS

               1.     Increase in Number of Permitted Lender Groups.

                      Section 9.04(b)(ii)(F) is hereby amended to read as follows:

                             F.      unless an Event of Default has occurred and is continuing,
                                     there shall not be more than four Lender Groups at any one
                                     time.

               2.     All Other Provisions Applicable.

                       The Credit Agreement, as changed, altered, amended or modified by this First Amending
               Agreement, shall continue in full force and effect and is hereby in all respects ratified and
               confirmed and the rights and obligations of all parties thereunder shall not be affected or
               prejudiced in any manner except as specifically provided for herein. All terms, conditions,
               covenants and undertakings of the Loan Documents and all other instruments executed and/or
               delivered in connection therewith not expressly amended, substituted or otherwise revoked by
               the terms hereof, remain in full force and effect.




Confidential                                                                                       PREPA_RSA0034315
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               3.     References to Agreement.

                     All references in the Credit Agreement to the "Agreement" shall now mean the Credit
               Agreement, as amended by this First Amending Agreement; and all references to "Credit
               Documents" shall now include this First Amending Agreement.

               4.     No N ovation.

                      The foregoing modification shall not be construed nor does it constitute an extinctive
               novation of the Borrower's Obligations under the Credit Agreement.

               5.     Inconsistent Terms.

                      If any provision of this First Amending Agreement is inconsistent or conflicts with any
               provision of the Credit Agreement, the relevant provision of this First Amending Agreement
               shall prevail and be paramount.

               6.     Execution in Counterparts.

                       This First Amending Agreement may be executed by its signatories in separate
               counterparts, each of which shall be deemed an original, but all of which taken together shall
               constitute one and the same instrument.

                                             (SIGNATURE PAGE FOLLOWS)




Confidential                                                                                       PREPA_RSA0034316
               Case:17-03283-LTS Doc#:9069-1 Filed:10/31/19 Entered:10/31/19 00:23:25               Desc:
                                        Exhibit 1 Page 83 of 132

                                                         -3-

                    IN WITNESS WHEREOF, the parties hereto have caused this First Amending
           Agreement to be duly executed by their respective authorized officers as of the date first above
           written.

                                                       PUERTO RICO ELECTRIC POWER
                                                       AUTHORITY, Borrower


                                                       By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                       Name: Josue Antonio Colon Ortiz
                                                       Title: Acting Executive Director




                                                       BANCO BILBAO VIZCAYA ARGENTARIA
                                                       PUERTO RICO, as Lender



                                                       By:. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                       Name:       Helen Pardo
                                                       Title:       Senior Vice President

                                                       By: _ _ _ _ _ _ _ _ _ _ _ _ __
                                                       Name:     Patrick Haggarty
                                                       Title:    Executive Vice President




                                                       SCOTIABANK DE PUERTO RICO, as Lender and
                                                       Administrative Agent



                                                      By:_---/-'-------=----~_,,,.c....-=-c--+------
                                                      Name:        Diego Masola
                                                      Title:       Senior Vice President




Confidential                                                                                     PREPA_RSA0034317
           Case:17-03283-LTS Doc#:9069-1 Filed:10/31/19 Entered:10/31/19 00:23:25                                              Desc:
                                    Exhibit 1 Page 84 of 132


                                                          -3-

                    IN WITNESS WHEREOF, the parties hereto have caused this First Amending
           Agreement to be duly executed by their respective authorized officers as of the date first above
           w1itten.

                                                       PUERTO RICO ELECTRIC POWER
                                                       AUTHORITY, Borrower


                                                       By: _ _ __ _ _ _ _ __ _ _ _ __
                                                       Name: Josue Antonio Colon Ortiz
                                                       Title: Acting Executive Director




                                                       BANCO BILBAO VIZCAYA ARGENTARIA
                                                       PUERTO RICO, as Lender




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                                                                   ~ _H_e-le_n_~_-:Z
                                                                                ...
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                                                                                         --,1r;.;;;-
                                                                                               ~ ~- - --                         -

                                                       Title:

                                                       By: _ _ ____,_----'--------''----=----,,F-L.4--~   -,/--l'-~ - - = 1 - - - - - -

                                                       N ame:
                                                       Title:




                                                       SCOTIABANK DE PUERTO RICO, as Lender and
                                                       Administrative Agent



                                                      By: _ _ __ _ _ _ _ __ _ _ _ __
                                                      Name:     Diego Masola
                                                      Title:    Senior Vice President




Confidential                                                                                                               PREPA_RSA0034318
               Case:17-03283-LTS Doc#:9069-1 Filed:10/31/19 Entered:10/31/19 00:23:25                   Desc:
                                        Exhibit 1 Page 85 of 132

                                                            -3-

                       IN WITNESS WHEREOF, the parties hereto have caused this First Amending
               Agreement to be duly executed by their respective authorized officers as of the date first above
               written.



                                                           AUTn wer
                                                           PUERTO RICO ELECTRIC POWER

                                                                                       ~
                                                           By:    ~~                                     ,
                                                           Name: Josue Antonio Colon Ortiz          ·
                                                           Title: Acting Executive Director




                                                           BANCO BILBAO VIZCAYA ARGENTARIA
                                                           PUERTO RICO, as Lender



                                                           By: _ _ __ _ __ _ _ __ _ __ _ _ __
                                                           Name:      Helen Pardo
                                                           Title:     Senior Vice President

                                                           By: _ _ _ _ _ _ _ _ _ _ _ __ __
                                                           Name:     Patrick Haggarty
                                                           Title:    Executive Vice President




                                                           SCOTIABANK DE PUERTO RICO, as Lender and
                                                           Administrative Agent



                                                          By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                          Name:       Diego Masola
                                                          Title:      Senior Vice President




Confidential                                                                                         PREPA_RSA0034319
Case:17-03283-LTS Doc#:9069-1 Filed:10/31/19 Entered:10/31/19 00:23:25   Desc:
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                         Exhibit 1 Page 87 of 132




                                SECOND AMENDING AGREEMENT
                                             TO
                                     CREDIT AGREEMENT


             his second Amending Agreement the -Second Amending Agreement") to that certain
Credit „Aon-ecinent,. dated ats or May 4, 20!2.        and among PUERTO RICO ELECTRIC
POWER Al I i IOR              he "Borro\‘er-). the LENDERS part.,.- thereto. and SCOTIABANK DE
Pt:1 -1-ZTO kit"( as Administrative Agent (al such capacity. the "Agent") (the "Credit
.. i•xgrcenient--)is made as or ./.\ brit

                                                      SSETII:

       W I II , R I - AS_ the florroNA et. the .t_iiiders and the Aceni entered into the credit Agreement,
pursuant to NA hiCh he lenders granted to the Borrower certain revolx mg credit facility.

       W I EEREAS ihe Credit ./V:p-ciement \:.vas amended by a Firs/                         .l,t,i-rceinc(7; /0
  vdif          dated October 23, 2012(the "First Amending Agreement-).

           \A 1 1ER I           capital /ed terms used herein and not i- tlier\k I- se defined. are used With
the s:.trne n-leatnnis Oen to tiuch teL            in Me Credit, \afreement.           ,' 1P-fr-Tided ht.!
it‘ rilend!!    .1,4niccrlient.

                         the parties hat, c .ti2reed to further amend he Credit Agreement to           grant a
w ai‘et and emension to the term to deliver certain financial documents_ and (hi extend the
\l stunt 1)i0e, ;.111 iis more lul l\ set, oth neltiv.: as      as t,0 acknov(ledle that Orienta!B inl has
hecA,mc a Lw ider, as sueLcsor by n:creci in Banco k)jbao                      ricsrudi-iit Puerto Rico,

        NOW THEREFORE, the parties nercir,... execute this Second Amendini. :Agreement under
the ioilowing:

                                     TERMS AND CONDITIONS

        I)eii err of Financial Information.

            t he Borrower was required under Section 5.01(a) of the Credit Agreement to furnish to
the     Administrative  Agent.. by December 31, 2012, its audited consolidated balance sheet and
related statements of revenues, expenses and changes in net assets and cash flows for the fiscal
,..-ear ended June 30, 2012, together with the related certificates required by subsections (c) and
0..- 1) of Section 5.01, At the Borrower's request the Administrative Agent and all Lenders hereby
\valve Mc Borrower's failure to comply with said term, and extend until April 30, 2013 the term
 chanted by Section 5.01, subsections (a). (e) and (d), to provide the financial statements and
certificates reciuired liv sad subsections ith respect to the fiscal :
                                                                     -,/eat ended June 30, 2012.




                                                                                     Cortland_PREPA_00001729
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                                                                             Second Amending Agreement
                                                                      Puerto Rico Electric Power Authority
                                                                                             April 25,2013
                                                                                                 Page - 2 -
        Extensior oi Vitetzu\

         At the Borrower's request. the ,\dministrative Agent and all Lenders agree to extend the
NIatterib, Date to June 30, 2013. Accordingly, the definition of -Mann-it\ 0""te- ebntained in
Section 1.01 of the Credit Agreement is hereM.' amended to read as folioN\ s,

                    • I..k. m(1.11v /*lie metinx „iiinc 30. .2073..

         i.nurted       CCI. Or Waiver and Consent


            Thc Borrower ackno‘kledp,es that, in accordance wIth Section 9.0.2ia)                         ci.c2dit
iviscementi the waiver and consent nranted herein to the Borrower's: departure lrom the
cstablished minis ul the Credit AEreement, is effective oa in his SPcC t ic nslance and ior the
PurPose rot- :4H:di it isgiven                 mlerence is to be draw-, ftonl this `7.-;,cconJ.
                 that the tichtlers \Alit grant ant, ‘t,„avver.. k.-onscnt or extcnslon in any other instance or
tsti. ith respect to ain.‘: her terms di the Credit ...Ati_rceincitt.

4.      :\lionges to No(es

                                   o[ z                                  ,tO,./   ULU', 4..   Cu      \eeitt   our

allonges, sith:inuttialk in the Iorm or 1:xhil-tii A to this Second Amendini. 'tidi2recment, refdreheung
the four \ies t . sueohs the iiorrotNer to be order ot the i .cnocits,             Apeni sEia     rtiin:\ itti
del i\ er each at taupe to Es corresponchrig 1 .coder, io,ho will then attach the iti lontie to the Note
issued fn. the l'orrov,iitit n :-atch lender. therchn, evidencing the          to the Maturity Date of
     Noics                    sccf.md

         ILXLCU.S1011 l'eC.

           he lendiirrs, g.rant the foreilon-4: ‘...k.-„6ver, consent and extension to ibc Matunnv Date in
coritsicieration a.1 the paiv.rnelli h the ii,orrovvvr to the 4-t ent. Cor the               heilefit at the
            of an extension lee in the sum of $312,500, the receipt                         ted he Aiiiterii
acknowiediiies on this date.

         Achititoxi.„;edgement or Successor lender.

        T he purnes acknotiikiediic that Oriental Bat'h as he             ing enind     "t metritter
HanC0   iiiitycio Vizcaya Aro -rittuni
                                    c   Puerto Rico Pffect:ve       i)ecerithe- ' "'It: succeeded
                                                                                          succeed
opernition      laW to all ritilts and obligations of Banco Bilbao Vy/coya Argentaria Puerto Rico as
l ender in resnect at        Credit Agreement and all other I .oan Documents.

7,       All Other Provisions Applicable.

       The Credit Agreement, as changed, altered, amended or modilled by this Second
Amending Agreement, shall continue in full force and elect and is hereby in ail respects raiiIied
and confirmed and the tights and obligations or all partie thcieunder shal l not be tiffeLied or




                                                                                               Cortland_PREPA_00001730
Case:17-03283-LTS Doc#:9069-1 Filed:10/31/19 Entered:10/31/19 00:23:25                         Desc:
                         Exhibit 1 Page 89 of 132

                                                                     Second Amending Agro-el-nen
                                                              Puerto Rico Electric Power Nut horii
                                                                                     April 25, 2013
                                                                                          Page - 3 -
predudlerd 0 hd‘. Inhimer except L.b , ,hectlIcahN. ph-r, t:.icd:1 for hcrein. All term, co llnons_.
covenants and undertakimis of the Loan Documents and all other instruments executed and/or
delivered in connection therewith not expressly amended. substituted or otherwise revoked by
the lerins hereot. ;remainfl I tbree and effect.

8.      kelerences to A.greernent.

       A ll retircnecs in the Credit Agreement 10 the "A!ircemcnt- snail no mean the Credit
                 aI ended by the          AnicnCim2.
              and :ht .-cti2hdrice:              Dochinent: shhh now include ih H s,,zcond
A mending. A,greenient,

0           \0\ atlhh


                 ,d(All2 much healions to the terms of the (redit :6\ reernent shai i not be construed
            l Orc,
nor do the constitute an eydincti\e no‘ailon oi the korro‘Aer'sOld icon ions under the Credit
A greement.

1 0.   Inconsistent .1,crip!,.:.- „,

       I lan\ rm, Hon u hosccond                         it is inco,'-istent or cowl,Lts with any
provision ol the (redo pa cement. Lne leie:arn hro‘nnon of this Se.:,atict 'Noncnding Agreement
shah pro uu and he paLtil to,JW

                          C onnicritKAJn,

          h Pecond Arnenchm.i .Apre 1,,t1h may be executed m. m ,:        .: imhorn°,- 10 :,..toarate
cournerparns cuen of wilu.a snai i be de•3ined an original, but all o \\inch ,:ato2n           shall
conslitific ,
            ,,oe and the si-
                           J ;ne in-4mment.

                                       CSIGNATT 7R.I7 PAGFS FOLLOW)




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Case:17-03283-LTS Doc#:9069-1 Filed:10/31/19 Entered:10/31/19 00:23:25                   Desc:
                         Exhibit 1 Page 90 of 132


                                                                 Second Amending Agreement
                                                          Puerto Rico Electric Power Authority
                                                                                 April 25, 2013
                                                                                      Page - 4 -

        IN WITNESS WHEREOF, the parties hereto have caused this Second Amending
Agreement to be duly executed by their respective authorized officers as of the date first above
written.

                                            PUERTO RICO ELECTRIC POWER
                                            AUTHORITY, Borrower



                                            By:
                                            N ame:
                                            Title:




                                            SCOTIABANK DE PUERTO RICO, as Lender and
                                            Administrative Agent




                                            ORIENTAL BANK, as successor by merger to
                                            BANCO BILBAO VIZCAYA ARGENTARIA
                                            PUERTO RICO, as Lender


                                            By:
                                            Name: Patrick J. Haggarty Phillips
                                            Title: SVP — Wholesale Banking

                                            By:
                                            Name: Helen M. Pardo Hernandez
                                            Title: SVP — Corporate & Institutional Banking

                   (SIGNATURES CONTINUE ON FOLLOWING PAGE)




                                                                          Cortland_PREPA_00001732
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                                                                    Second Amending Agreement
                                                             Puerto Rico Electric Power Authority
                                                                                    April 25, 2013
                                                                                        Page - 4 -
         IN WITNESS WHEREOF, the parties hereto have caused this Second Amending
 Agreement to be duly executed by their respective authorized officers as of the date first above
 written.

                                             PUERTO RICO ELECTRIC POWER
                                             AUTHORITY, Borrower



                                             By:
                                             Nath       an F. Aite-ea Fl res
                                             Title:   &ecutive Director



                                             SCOTIABANK DE PUERTO RICO. as Lender and
                                             Administrative Agent



                                             By:
                                             Name:
                                             Title:



                                            ORIENTAL BANK,as successor by merger to
                                            BANCO BILBAO VIZCAYA ARGENTARIA
                                            PUERTO RICO. as Lender


                                            By:
                                            Name: Patrick J. Haggarty Phillips
                                            Title: SVP — Wholesale Banking

                                             By:
                                            Name: Helen M. Pardo Hernandez
                                            Title: SVP — Corporate & Institutional Banking

                   (SIGNATURES CONTINUE ON FOLLOWING PAGE)




                                                                               Cortland_PREPA_00001733
Case:17-03283-LTS Doc#:9069-1 Filed:10/31/19 Entered:10/31/19 00:23:25                   Desc:
                         Exhibit 1 Page 92 of 132


                                                                 Second Amending Agreement
                                                          Puerto Rico Electric Power Authority
                                                                                 April 25, 2013
                                                                                      Page - 4 -
        IN WITNESS WHEREOF, the parties hereto have caused this Second Amending
Agreement to be duly executed by their respective authorized officers as of the date first above
written.

                                            PUERTO RICO ELECTRIC POWER
                                            AUTHORITY, Borrower



                                            By:
                                            Name:
                                            Title:



                                            SCOTIABANK DE PUERTO RICO, as Lender and
                                            Administrative Agent



                                            By:
                                            Name:
                                            Title:



                                            ORIENTAL BANK,as successor by merger to
                                            BANCO BILBAO VIZCAYA #RGENTARIA
                                            PUERTO RICO,as Le




                                            Name: Patrick J. Haggarty Phillip n
                                            Title: SVP — Wholesalle Bankini
                                                                   \
                                            By:                 A,QA
                                            Name: Helen M.PdfdO—H—erkandez
                                            Title: SVP — Corporate & Institutional Banking

                  (SIGNATURES CONTINUE ON FOLLOWING PAGE)




                                                                          Cortland_PREPA_00001734
Case:17-03283-LTS Doc#:9069-1 Filed:10/31/19 Entered:10/31/19 00:23:25          Desc:
                         Exhibit 1 Page 93 of 132

                                                        Second Amending Agreement
                                                 Puerto Rico Electric Power Authority
                                                                        April 25, 2013
                                                                             Page - 5 -
                      (SIGNATURE PAGE CONTINUED)



                                   BANCO SANTANDER PUERTO RICO, as Lender



                                   By:
                                   Name: Lilian Diaz Bento, SVP
                                   Title: Director fnstitutional Banking
                                      L--
                                   By:
                                   Name: Jor      Garcia Arroyo
                                          e 'or 'Relationship Manager, Institutional




                                   BANCO POPULAR DE PUERTO RICO, as
                                   Lender



                                   By:
                                   Name:
                                   Title:




                                                                  Cortland_PREPA_00001735
Case:17-03283-LTS Doc#:9069-1 Filed:10/31/19 Entered:10/31/19 00:23:25          Desc:
                         Exhibit 1 Page 94 of 132

                                                        Second Amending Agreement
                                                 Puerto Rico Electric Power Authority
                                                                        April 25, 2013
                                                                             Page - 5 -
                      (SIGNATURE PAGE CONTINUED)



                                   BANCO SANTANDER PUERTO RICO, as Lender




                                   Name: Lilian Diaz Bento, SVP
                                   Title: Director, Institutional Banking


                                   By:
                                   Name: Jorge R. Garcia Arroyo
                                   Title: Senior Relationship Manager, Institutional
                                          Banking




                                   BANCO POPULAR          E. PUERTO RICO, as
                                   Lender



                                   B y:
                                   Name: Liza M.',Cigar° Rodriguez
                                   Title: VP & Credit Manager, Corporate Banking




                                                                  Cortland_PREPA_00001736
Case:17-03283-LTS Doc#:9069-1 Filed:10/31/19 Entered:10/31/19 00:23:25               Desc:
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                               PREPA Officers and Seal Certificate

              Office-Officer               Commencement of Term          Expiration of Term

 Chairman and Member
 Harry Rodriguez-Garcia                       January 15, 2013             June 17, 2014

 Vice Chairman and Member
 Edgardo J. Fabregas-Castro                      July 7,2012               June 17, 2013

 Member
 Roberto A. Volckers-Esteves                 November 18, 2011             June 17, 2013

 Member
 Andres E. Salas-Soler                          April 7, 2012              June 17, 2016

 Member
 Norma Burgos-AndOjar                        December 29, 2012             June 17, 2014

 Member
 Gabriel He andez-Rodriguez                  December 28, 2012            February 1. 2015

 Member
 Agustin Irizarry-Rivera                        June 11,2012             September 11,2013

 Member
 Juan E. Rosa o laldonado                       June 11,2012             September 11.2013

  ember                                                                      Indefinite
 Miguel A. Torres-Diaz
 Executive Director                                                          Indefinite
 Juan F. Alicea-Flores
 General Counsel                                                             Indefinite
 Jorge A. ConcepciOn-Rivera
 Director of Finance                                                         Indefinite
 Luis Figueroa-Baez
 Treasurer                                                                   Indefinite
 Arid l R. Tirado   •vera
 Secretary                                                                   Indefinite
 Maria M. Mendez-Rivera




                                                           Maria M. M ndez-Rivera
 Seal                                                      Corporate Secretary




                                                                       Cortland_PREPA_00001737
Case:17-03283-LTS Doc#:9069-1 Filed:10/31/19 Entered:10/31/19 00:23:25                     Desc:
                         Exhibit 1 Page 96 of 132



                                            ALLONGE

                   To the Note in the principal sum of $200,000.000 issued by
          Puerto Rico Electric Power Authority to the order of Scotiabank de Puerto Rico
                             dated as of October 23, 2012 (the -Note-)

         Pursuant to that certain Second Amending Agreement to Credit Agreement dated as of
 April 25, 2013, between the issuer of this Note and the Lenders party thereto, the Maturity Date
 of this Note has been extended to June 30, 2013.

         All provisions of the Note not expressly modified by this allonge remain in full force and
 effect and are hereby confirmed by Puerto Rico Electric Power Authority.

        In San Juan, Puerto Rico, as of April 25, 2013.

       IN WITNESS WHEREOF, Puerto Rico Electric Power Authority has caused this Note to
bear the manual signatures of the Executive Director and the Secretary of the Authority and its
corporate seal to be imprinted hereon, all as of the date set forth above.

                                              PUERTO RICO ELECTRIC POWER
                                              AUTHORITY


                                              By: ,
                                                                   ./
                                                             Executxve Director




                                                                  Secretary




                                                                              Cortland_PREPA_00001738
Case:17-03283-LTS Doc#:9069-1 Filed:10/31/19 Entered:10/31/19 00:23:25                     Desc:
                         Exhibit 1 Page 97 of 132



                                            ALLONGE

                    To the Note in the principal sum of $200,000.000 issued by
                       Puerto Rico Electric Power Authority to the order of
                          Banco Bilbao Vizcaya Argentaria Puerto Rico
                                  dated May 4, 2012 (the -Note-)

        Pursuant to that certain Second Amending Agreement to Credit Agreement dated as of
 April 25. 2013, between the issuer of this Note and the Lenders party thereto, (i) the Maturity
 Date of this Note has been extended to June 30, 2013; and (ii) the Authority acknowledges that
 Oriental Bank became the payee of this Note as successor in interest to Banco Bilbao Vizcaya
 Argentaria Puerto Rico, by virtue of a merger effective December 18, 2012.

         All provisions of the Note not expressly modified by this allonge remain in full force and
 effect and are hereby confirmed by Puerto Rico Electric Power Authority.

        In San Juan, Puerto Rico, as of April 25, 2013.

       IN WITNESS WHEREOF,Puerto Rico Electric Power Authority has caused this Note to
bear the manual signatures of the Executive Director and the Secretary of the Authority and its
corporate seal to be imprinted hereon, all as of the date set forth above.

                                              PUERTO RICO ELECTRIC POWER
                                              AUTHORITY


                                              By:
                                                             Executive Directo



                                              By;
                                                                  Secretary




                                                                              Cortland_PREPA_00001739
Case:17-03283-LTS Doc#:9069-1 Filed:10/31/19 Entered:10/31/19 00:23:25                    Desc:
                         Exhibit 1 Page 98 of 132



                                           ALLONGE

                    To the Note in the principal sum of $50,000,000 issued by
                       Puerto Rico Electric Power Authority to the order of
                                  Banco Popular de Puerto Rico
                            dated as of October 23, 2012 (the "Note-)

         Pursuant to that certain Second Amending Agreement to Credit Agreement dated as of
 April 25, 2013, between the issuer of this Note and the Lenders party thereto, the Maturity Date
 of this Note has been extended to June 30, 2013.

        All provisions of the Note not expressly modified by this allonge remain in full force and
effect and are hereby confirmed by Puerto Rico Electric Power Authority.

        In San Juan, Puerto Rico, as of April 25, 2013.

        IN WITNESS WHEREOF, Puerto Rico Electric Power Authority has caused this Note to
 bear the manual signatures of the Executive Director and the Secretary of the Authority and its
 corporate seal to be imprinted hereon, all as of the date set forth above.

                                             PUERTO RICO ELECTRIC POWER
                                             AUTHORITY


                                             By:
                                                            Exeeutiv0,iNctor




                                                                            Cortland_PREPA_00001740
Case:17-03283-LTS Doc#:9069-1 Filed:10/31/19 Entered:10/31/19 00:23:25                    Desc:
                         Exhibit 1 Page 99 of 132



                                           ALLONGE

                   To the Note in the principal sum of $50,000,000 issued by
                      Puerto Rico Electric Power Authority to the order of
                                 Banco Santander Puerto Rico
                           dated as of October 23, 2012 (the -Note-)

        Pursuant to that certain Second Amending Agreement to Credit Agreement dated as of
April 25, 2013, between the issuer of this Note and the Lenders party thereto, the Maturity Date
of this Note has been extended to June 30, 2013.

        All provisions of the Note not expressly modified by this allonge remain in full force and
effect and are hereby confirmed by Puerto Rico Electric Power Authority.

       In San Juan, Puerto Rico, as of April 25, 2013.

       IN WITNESS WHEREOF,Puerto Rico Electric Power Authority has caused this Note to
bear the manual signatures of the Executive Director and the Secretary of the Authority and its
corporate seal to be imprinted hereon, all as of the date set forth above.

                                             PUERTO RICO ELECTRIC POWER
                                             AUTHORITY


                                             By:                          ,
                                                            Execu • ze Director




                                                                           Cortland_PREPA_00001741
Case:17-03283-LTS Doc#:9069-1 Filed:10/31/19 Entered:10/31/19 00:23:25   Desc:
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Case:17-03283-LTS Doc#:9069-1 Filed:10/31/19 Entered:10/31/19 00:23:25                           Desc:
                         Exhibit 1 Page 101 of 132




                               THIRD Amr-NDI               AG.R17.17\1177\-7

                                      CREDIT ,,.:Vir-Z.FEMINf



        This Hind Amending Agreement the           hird Amending Agreement-) to that certain
Credit Aiireement dated as of Ma" 4. 1,012. by and arriong Pt iviR ro RICO IA FETRIC POWER
A i 11 tORITY (the --Borrowcir-). Cric        DI RS put\ thuto nid SCOTIARANK DE
Pi TR 10 RICO, .ts Administrative Agent ( in such (.iipacit‘, the "Agent-) idle "Original Credit
      einem-)k imidc ot ,June2      01 II,

                                             1i \p...-,i7„ii•i fjs

                     t ho Borrower.. the :enders and the AiNnt entered into thc Credit Aitreement,
pirrHwint to which the Lenders; eranted to the km-rower ii certain rcvol\ Inc credit theilits

           \V!IVRF AS, the (;. redit :‘,.;:treerhcrit o arnendcu lw a                   .trti c,ncni 10
          . igrecmcni dated October 23. 2012 (tilt: -First Amending ,i'd _reement- i, and     a !s'ccond
               0.,rvccmcrit dalcu prt             I ttle -Second Amendini2, Agreement-      he Original
Credh Ag,recmei t.. the l'irst Amending .:\lrecinent and the Second Amending Agreement are
1. -wrein coHeettY el\ referred to as the --Ciedh Agreement.-

       WI1iRlAi. all caphali/eh terms used hylcrn andDit otherwisc iticitnehi arc used with
 he same meanings given to stiCh te ms in the Credi: "V,reement

                      t he parties have i.erecd to amend tarther the (:rcillt   Ercement to extend the
Matun     Ritc Ill     thiL id i   more miry set out boiovit

        NO\\ 1 11FRIthOR I      ine parties heret-. . e\ccrac In s rhird .Anlendint,,,. Agreement under
the tot'onon:

                                   THAIS AND CONDITIONS;

        Fxiension of Maturity Date.

       At the Borrower's request, the Administrative Agent and all Lenders agree to extend the
Maturity Date to August 15, 2013. Accordingly, the definition of "Maturity Date" contained in
Section 1.01 of the Credit Agreement is hereby amended to read as follows:

               -Maturity Date- means August 15, 2013.




                                                                                 Cortland_PREPA_00001742
Case:17-03283-LTS Doc#:9069-1 Filed:10/31/19 Entered:10/31/19 00:23:25                           Desc:
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                                                                        Third An-lending /\ oreement
                                                               Puerto Rico Electric Power Awhorit- ',-
                                                                                      June 28, 2013
                                                                                           Page - 2 -
        Allonges to Notes.

        Concurrently herewith the Borrower has executed and delivered to the Agent three
alionges substantially in the form of Exhibit A to this Third Amending Agreement. referencing
the three Notes issued by the Borrower to the order of the Lenders. The Agent shall forthwith
denser each allonge to its corresponding Lender. who will then attach the allonge to the Note
i ssued by the Borrower to such Lender. therelw evidencing the extension to The Alinurit\ Dale ot
t he Notes granted h\ this Third Amending \greement.

        FXICrIS1011 1' ee .


         i he Lenders t2.rant the iorct2oirt?. consent and extension to the Maturo;-,. Date In
consitte-ron on el the pa-vment by the liorra,Aer In the Ag_ent. lor the pro-rata henerii oi the
                     II 150)0 L    11 thc             8i       he receipt ot. which hie     ,tent
auk noviedrte on this date,

4.        ruder Consent.

             he tenders lit.reb\ consent to the Borrower pus tug the sum of S50,000,000 to Banco
 .-,auti„inuer onerto Kieo. I tormer tender water ItAc ( L. EL Agrcel icnt.      ion settieinC711.
 oiliii4ations thereto. consequently, .\,-c iiictuic 2 to the C redo Agreement is replaced with i.i nevi
:iiiohodirie 2 oi that is attached hereto.
                                   i—
        A II )thti-            Appncarae.,

         The Credit Agreement, as changed_ uttered. amended or modil'ied 1-r\ this Third
A mending -Agreement, shall continue in lull rorce and erfect, and is hereby in all respects ratified
a nd contirmcd_ and the rwhis and ohhtlations 01 al t parties ihereunder shal t not he ariecied or
      to n.d ir .11y inLinner except as speci liealk pro\ ided lor herein. :All terms, conditions
covenants and tindertakint_is ot the loan pocumenk and alt other instruments executed and
deir,ered in connection therev,itft not expressix amended,. substituted or others, SC: R:'s oi,cd
t hc terms hereoL !villain in 11,1111ot:cc and L eel.

6.      References to Agreement.

         A l! references in the Credit Agreement to the -Agreement" shall now mean the Credit
A greement. as amended by the First Amending Agreement, the Second Amending Agreement
and this third Amending Agreement: and all references to the -Credit Documents" shall now
i nelude this Third Amending Agreement.




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                                                                                   Third Amending Agreement
                                                                          Puerto Rico Electric Power Authority
                                                                                                 June 28. 2013
                                                                                                     Page - 3 -
7         No Noti nOr)fl

       The terms and conditions of this Third Amending Agreement shall not be construed as,
nor do they constitute. an extinctive novation of the Borrower's Obligations under the Credit
A Lf _Cement_



          I neonsislent 1 erms,

             an\ pro\ ision of this Thin. Amendine Agreement is        ,nsistent iir conflicts with any
             or the Credit Agreement. thi rcievnin orc.-“, sion ut this Hurd Amending Agreement
             P i and be paramount,


           ' : 1o tLLf ounterparts.

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constitute (ine alio the samt.i instrument

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                                                                 CO ELEC. Ntli.. .
                                                            i0P1   Borrower



                                                     by:                 7
                                                     Name:tAUIN F. ALICEA—F-L-6RES
                                                     Title: EXECUTIVE DIRECTOR



                                                     SO.               1)1-: PUERTO RICO,as Lender and
                                                     Admii is1rattvc .Ageth,



                                                     by:




                          (SIGNATURES CONTINUE ON FOLLOWING PAGE)




                                                                                           Cortland_PREPA_00001744
Case:17-03283-LTS Doc#:9069-1 Filed:10/31/19 Entered:10/31/19 00:23:25                   Desc:
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                                                                   Third Amending Agreement
                                                          Puerto Rico Electric Power Authority
                                                                                 June 2.e,)2013
                                                                                     Page - 3 -
       Inconsistent Terms.

        If any provision of this Third Amending Agreement is inconsistent or conflicts with any
provision of the Credit Agreement, the relevant provision of this Third Amending Agreement
shall prevail and be paramount.

9.     Execution in Counterparts.

       This Third Amending Agreement may be executed by its signatories in separate
counterparts, each of which shall be deemed an original, but all of which taken together shall
constitute one and the same instrument.

        IN WITNESS WHEREOF, the parties hereto have caused this Third Amending
Agreement to be duly executed by their respective authorized officers as of the date first above
written.

                                            PUERTO RICO ELECTRIC POWER
                                            A UTHORITY, Borrower



                                            by:
                                            Name:
                                            Title:



                                            SCOTIABANK DE PUERTO RICO, as Lender and
                                            Administrative Agent


                                                                               =1/
                                            by: ---
                                            Name:                    PI,
                                                 s
                                            Title                 e- t-Eov



                   (SIGNATURES CONTINUE ON FOLLOWING PAGE)




                                                                           Cortland_PREPA_00001745
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                                                               Third Amending Agreement
                                                      Puerto Rico Electric Power Authority
                                                                             June 15, 2013
                                                                                 Page - 4 -
                     (SIGNATURE PAGE CONTINUED)


                                  BANCO POPULAR DE PUERTO RICO, as
                                  Lender



                                  by:
                                  Name:
                                  Title:



                                  ORIENTAL,BANK,
                                         „       as Lender,„
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                                              gr.   t.' A,   'I    1,--f•       1/";
                                  b y:     '             i.1
                                         I
                                  Name: Patrick J. Ha arty Phi,I, iplis
                                  Title: SVP — Wholesale B.anking

                                  By:
                                  Name: Helen M. Pardo Ilernandez
                                  Title: SVP — Corporate & Institutional Banking




                                                                            Cortland_PREPA_00001746
Case:17-03283-LTS Doc#:9069-1 Filed:10/31/19 Entered:10/31/19 00:23:25         Desc:
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                                                          Third Amending Agreement
                                                 Puerto Rico Electric Power Authority
                                                                        June 28, 2013
                                                                            Page - 4 -
                       (SIGNATURE PAGE CONTINUED)


                                   BANCO POPULAR DE PUERTO RICO, as
                                   Lender



                                   by:   á1LLQcdY4
                                   Name: Adlin M. R    riguez Gonzalez
                                   Title: Commercial Relationship Officer



                                   ORIENTAL BANK, as Lender


                                   by:
                                   Name: Patrick J. Haggarty Phillips
                                   Title: SVP — Wholesale Banking

                                   By:
                                   Name: Helen M. Pardo Hernandez
                                   Title: SVP — Corporate & Institutional Banking




                                                                 Cortland_PREPA_00001747
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                                                             Third Amending Agreement
                                                    Puerto Rico Electric Power Authority
                                                                           June 28. 2013
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O riental Bank                            2000(10.
Banco Popular de Puerto Rao              S50,000.0oo




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                                                                             Third Amending Agreement
                                                                    Puerto Rico Electric Power Authority
                                                                                           June 28, 2013
                                                                                               Page -6 -
                                                                                                           Exhibit A

                                                  ALLON(Ji

        Pursuant to that ecrlain thira inictiam,cz .1g-r(-cmen1 in('reciii Agreement dated as of June 28,
   3. net\\ een the makei oi this Note atm the Lenders part\ memo, the Maturity Date of this Note has
neen extended to Admust 5. 20:3

              oro\ isons pt the :Vte not e\pressi\ modiried II\ this anomie remain in full force and effect,
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           i n a ivau, P[tcri, Rico, as of Jun; 28, 20

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                                   a. Plierto Rico Electr!,hn c \uthoi IP
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i mprinted hereon, all a- H              forth above.

                                                           Pt 1 .1,!..1() RICO 1:11,14:: I -11C PO‘/VI-R



                                                                  Juan F. Alicea Flores
                                                           by
                                                                             Nieenta\ („!    reel or




                                                           by:
                                                                                  Secret dry




                                                                                            Cortland_PREPA_00001749
Case:17-03283-LTS Doc#:9069-1 Filed:10/31/19 Entered:10/31/19 00:23:25   Desc:
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                                   Exhibit 1 Page 110 of 132


                                                                                         Execution Copy




                                      FOURTH AMENDING AGREEMENT
                                                   TO
                                           CREDIT AGREEMENT



                This Fourth Amending Agreement (the "Fourth Amending Agreement") to that certain
        Credit Agreement dated as of May 4, 2012 (the "Original Credit Agreement"), by and among
        PUERTO RICO ELECTRIC POWER AUTHORITY (the "Borrower"), the LENDERS party
        thereto, and SCOTIABANK DE PUERTO RICO, both as Lender and as Administrative Agent,
        made as of August 14, 2013 and effective August 15, 2013,

                                                  WITNESSETH:

               WHEREAS, the Borrower, the Lenders and the Agent entered into the Credit Agreement,
        pursuant to which the Lenders granted to the Borrower a certain revolving credit facility; and

                WHEREAS, the Credit Agreement was amended by a First Amending Agreement to
        Credit Agreement dated October 23, 2012 (the "First Amending Agreement"), by a Second
        Amending Agreement dated April 25, 2013 (the "Second Amending Agreement") and by a Third
        Amending Agreement dated June 28, 2013. The Original Credit Agreement, the First Amending
        Agreement, the Second Amending Agreement and the Third Amending Agreement are herein
        collectively referred to as the "Credit Agreement"; and

               WHEREAS, all capitalized terms used herein and not otherwise defined, are used with
        the same meanings given to such terms in the Credit Agreement; and

                WHEREAS, the parties have agreed to amend further the Credit Agreement, all as more
        fully set out below;

               NOW THEREFORE, in consideration of the premises, the parties hereby execute this
        Fourth Amending Agreement under the following:

                                           TERMS AND CONDITIONS

               1. Definition of "Applicable Margin" and "Applicable Spread.''

               The definition of the term "Applicable Margin" in Section 1.01 of the Credit Agreement
        is amended to read as follows:

                         "Applicable Margin" and "Applicable Spread, " used interchangeably,
                         shall be that to be determined based on the following grid, as per the
                         lower of the long term ratings issued and in effect at the applicable time
                         by Moody's and S&P for Senior Debt:




                                                                                                      PREPA_RSA0031657
Confidential
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                                                                                                 Page - 2 -
                           Moody's          S&P           Advances up to 90 days       Rollover Premium
                            Baa2            BBB               275 basis points           50 basis points
                            Baa3            BBB-              300 basis points           50 basis points
                             Bal            BB+               475 basis points          + 75 basis points.


               2. Definition of "Default Rate."

               The definition of the term "Default Rate" in Section 1.01 of the Credit Agreement is
         amended to read as follows:

                  "Default Rate" has the meaning set forth in Section 2.09(c).

               3. Definition of "Event of Taxability."

                The definition of the term "Event of Taxability" in Section 1.01 of the Credit Agreement
         is amended to read as follows:

                         "Event of Taxability" shall mean with respect to the Advances: (i) the
                         enactment of any federal legislation or the promulgation of any federal
                         rule or regulation after the Closing Date, which would have the effect of
                         causing the interest on such Advances to be or become includable in gross
                         income of the recipients thereoffor Federal income tax purposes; (ii) any
                         portion of the interest on the Advances paid or payable by the Borrower is
                         (A) not excludable from the gross income of any of the Lenders for
                         Commonwealth income tax purposes or (BJ subject to the payment of
                         municipal license taxes or sales and use taxes imposed by the
                         Commonwealth or any of its municipalities; or (C) the Notes cease to be
                         exempt in whole or in part from Commonwealth property taxes.

               4. Definition of "Event Taxes."

               The following definition of "Event Taxes" 1s added to Section 1.01 of the Credit
         Agreement:

                          "Event Taxes" shall mean additional Taxes resulting from the occurrence
                          of an Event of Taxability. "
               5. Definition of "GOB Resolution."

               The definition of the term "GOB Resolution" in Section 1.01 of the Credit Agreement is
         amended to read as follows:




                                                                                                    PREPA_RSA0031658
Confidential
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                                                                              Fourth Amending Agreement
                                                                      Puerto Rico Electric Power Authority
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                                                                                                 Page - 3 -
                          "GDB Resolution" means such resolutions adopted by the Board
                           of Directors or the Executive Committee of the Government
                           Development Bank for Puerto Rico. authorizing the Advances as
                           set forth in the Agreement.

               6. Definition of"Maturity Date."

               The definition of the term "Maturity Date" in Section 1.01 of the Credit Agreement is
         amended to read as follows:

                          "Maturity Date" means August 14, 2014.

               7. Definition of "Resolution."

                 The definition of "Resolution" in Section 1.01 of the Credit Agreement is amended to
         read as follows:

                          "Resolution" means, collectively, such resolutions and certificates
                           of determination of the Borrower authorizing the Borrowings and
                           providing, among other things, that the Borrowings shall
                           constitute Current Expenses under the Trust Agreement.

               8. Definition of "Taxes."

                The definition of "Taxes" in Section 1.01 of the Credit Agreement is amended to read as
         follows:

                          "Taxes" means any and all present or future taxes, levies, imposts, duties.
                          deductions, charges or withholdings imposed by any Governmental
                          Authority, including Other Taxes.

               9. Interest.

                  9.1. Section 2.09(b) of the Credit Agreement is amended to read as follows:

                          (b) ABR Advances. ABR Advances shall bear interest at a_fl,uctuating rate
                          per annum equal at all times to the Alternate Base Rate plus the
                          Applicable Spread.

                  9.2. Section 2.09(c) of the Credit Agreement is amended to read as follows:

                           (c) Default Rate. Anything hereunder to the contrary notwithstanding,
                          and without prejudice to any remedies of the Administrative Agent or the
                          Lenders provided hereunder or at law or in equity, the interest rate




                                                                                                      PREPA_RSA0031659
Confidential
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                                                                               Fourth Amending Agreement
                                                                       Puerto Rico Electric Power Authority
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                                                                                                  Page - 4 -
                            applicable to the outstanding principal amount of the Advances during
                            anyperiod-
                                (i) when an Event of Default shall have occurred and be continuing,
                                and/or
                                (ii) when and for so long as Moody's long term rating for Senior
                                Debt is lower than Bal or S&P 's long term rating for Senior Debt is
                                lower than BB ,
                            shall be four percent (4%) over the Alternate Base Rate (the "Default
                            Rate").

               10. Taxes.

                  10.1.Section 2.11 (a) of the Credit Agreement is amended to read as follows:

                            (a) Any and all payments by or on account of any obligation of the
                            Borrower hereunder shall be made free and clear of and without
                            deduction for any lndemnffied Taxes; provided that if the Borrower shall
                            be required to deduct any Indemnified Taxes from such payments, then
                            (i) the sum payable shall be increased as necessary so that after making
                            all required deductions (including deductions applicable to additional
                            sums payable under this Section) the Administrative Agent or Lender (as
                            the case may be) receives an amount equal to the sum it would have
                            received had no such deductions been made, (ii) the Borrower shall make
                            such deductions and (iii) the Borrower shall pay the full amount deducted
                            to the relevant Governmental Authority in accordance with applicable
                            law.

                  10.2.The following subsection is added immediately after Section 2.11 (f) of the Credit
                       Agreement:

                            (g) Upon occurrence of an Event of Taxability, Event Taxes that were
                            considered Excluded Taxes prior thereto shall be considered to be
                            Indemnified Taxes.

               11. Effective Date.

                  Section 4.0l(d) of the Credit Agreement is amended to read as follows:

                            (d) The Administrative Agent shall have received a certificate, dated the
                            Effective Date, and again as of the date of the Fourth Amending
                            Agreement, signed by the Executive Director, a Vice President or a
                            Financial Officer of the Borrower confirming (i) compliance with the
                            conditions set forth in paragraphs (b), (c) and (d) of Section 4.02 and




                                                                                                       PREPA_RSA0031660
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                            (ii) the long term ratings in effect for the Senior Debt by Moody's and
                            S&P is no less than Baa3 and BBB, respectively.

               12. Deletion of Sections.

                  12.1. The title and text of Section 5. IO of the Credit Agreement are deleted, and
                        Section 5. IO is marked "Reserved."

                  12.2. The text of clause (o) in Article VII of the Credit Agreement is deleted, and clause
                        (o) is marked "Reserved."

               13. Notes.

                 Concurrently herewith the Borrower has executed and delivered to the Administrative
         Agent four Notes substantially in the form of Exhibit A to this Fourth Amending Agreement,
         each made payable to the order of one Lender. The Agent shall forthwith deliver each Note to its
         corresponding Lender. Concurrently herewith each Lender holding a Note made by the Borrower
         pursuant to the Original Credit Agreement returns (through the Administrative Agent) said Note
         to the Borrower for cancellation.

               14. Lender Commitments.

                 The Lender commitments are hereby restructured as per new Schedule 2.01 attached
         hereto. Consequently, Schedule 2. OJ to the Credit Agreement is replaced thereby.

               15. Additional Reporting Requirement:

                 The Borrower shall furnish to the Administrative Agent (for delivery to each Lender) a
         notification of any filing pertaining to any planned bond issue and continuing disclosure pursuant
         to Municipal Securities Rulemaking Board requirements.

               16. Structuring Fee.

                  The Borrower shall pay to the Administrative Agent a structuring fee of $150,000.

               17. All Other Provisions Applicable.

                 The Credit Agreement, as changed, altered, amended or modified by this Fourth
         Amending Agreement, shall continue in full force and effect, and is hereby in all respects ratified
         and confirmed, and the rights and obligations of all parties thereunder shall not be affected or
         prejudiced in any manner except as specifically provided for herein. All terms, conditions,
         covenants and undertakings of the Loan Documents and all other instruments executed and
         delivered in connection therewith, not expressly amended, substituted or otherwise revoked by
         the terms hereof, remain in full force and effect.




Confidential                                                                                        PREPA_RSA0031661
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                                                                            Fourth Amending Agreement
                                                                    Puerto Rico Electric Power Authority
                                                                                         August 14, 2013
                                                                                               Page - 6 -
               18. References to Agreement.

                All references in the Credit Agreement to the "Agreement" shall now mean the Credit
         Agreement, as amended by the First Amending Agreement, the Second Amending Agreement,
         the Third Amending Agreement and this Fourth Amending Agreement; and all references to the
         "Credit Documents" shall now include this Fourth Amending Agreement.

               19. No Novation.

                The terms and conditions of this Fourth Amending Agreement shall not be construed as,
         nor do they constitute, an extinctive novation of the Borrower's obligations under the Credit
         Agreement.

               20. Inconsistent Terms.

                 If any provision of this Fourth Amending Agreement is inconsistent or conflicts with any
         provision of the Credit Agreement, the relevant provision of this Fourth Amending Agreement
         shall prevail and be paramount.

               21. Execution in Counterparts.

                 This Fourth Amending Agreement may be executed by its signatories in separate
         counterparts, each of which shall be deemed an original, but all of which taken together shall
         constitute one and the same instrument.

                  IN WITNESS WHEREOF, the parties hereto have caused this Fourth Amending
         Agreement to be duly executed by their respective authorized officers as of the date first above
         written.

                Puerto Rico Electric Power Authority                Scotiabank de Puerto Rico
                            as Borrower                        as Lender and Administrative Agent


                                                              by:

                                                              Name:
               Executive Director:                            Title:




Confidential                                                                                     PREPA_RSA0031662
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                                                                            Fourth Amending Agreement
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                                                                                               Page - 6 -
               18. References to Agreement.

                 All references in the Credit Agreement to the "Agreement" shall now mean the Credit
          Agreement, as amended by the First Amending Agreement, the Second Amending Agreement,
          the Third Amending Agreement and this Fourth Amending Agreement; and all references to the
          "Credit Documents" shall now include this Fourth Amending Agreement.

               19. No Novation.

                 The terms and conditions of this Fourth Amending Agreement shall not be construed as,
          nor do they constitute, an extinctive novation of the Borrower's obligations under the Credit
          Agreement.

               20. Inconsistent Terms.

                  If any provision of this Fourth Amending Agreement is inconsistent or conflicts with any
          provision of the Credit Agreement, the relevant provision of this Fourth Amending Agreement
          shall prevail and be paramount.

               21. Execution in Counterparts.

                  This Fourth Amending Agreement may be executed by its signatories in separate
          counterparts, each of which shall be deemed an original, but all of which taken together shall
          constitute one and the same instrument.

                   IN WITNESS WHEREOF, the parties hereto have caused this Fourth Amending
          Agreement to be duly executed by their respective authorized officers as of the date first above
          written.

                Puerto Rico Electric Power Authority                 Scotiabank de Puerto Rico
                            as Borrower                         as Lender and Administrative Agent


               by:

               Name:
               Title:




                                                                                                 PREPA_RSA0031663
Confidential
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                                                                                      Page - 7 -




                by:                                  by:

                Name:                                              -
                                                     Name: Helen M. Pardo ~
                Title: Senior Vice President         Title: Senior Vice President


                      Banco Popular de Puerto Rico
                               as Lender


                by:

                Name:
                Title:


                         FirstBank Puerto Rico
                               as Lender


               by:

               Name:
               Title:




Confidential                                                                            PREPA_RSA0031664
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                                                                                    August 14, 2013
                                                                                          Page - 7 -
                                   Oriental Bank
                                   as Lender

                by:                                      by:

                Name:                                    Name:
                Title:                                   Title:


                      Banco Popular de Puerto Rico
                              as Lender


                by: _    __..~~•   ~-==---·_.._f_ _ __
                Name: Adlin M. Rodriguez Gonzalez
                Title: Assistant Vice-President


                          FirstBank Puerto Rico
                                as Lender


               by:

               Name:
               Title:




                                                                                            PREPA_RSA0031665
Confidential
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                                                                                      Page - 7 -
                             Oriental Bank
                             as Lender

                by:                                  by:

                Name:                                Name:
                Title:                               Title:


                      Banco Popular de Puerto Rico
                               as Lender


                by:

                Name:
                Title:


                         FirstBank Puerto Rico
                               as Lender


               by:

               Name:    F
                        ! p:zon
               Title: Vice President




Confidential                                                                            PREPA_RSA0031666
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                                                                             Fourth Amending Agreement
                                                                     Puerto Rico Electric Power Authority
                                                                                          August 14, 2013
                                                                                                Page - 8 -
         Exhibit A


                               PUERTO RICO ELECTRIC POWER AUTHORITY

                                                       NOTE

         DATED: August 15, 2013                                            Maturity Date: August 15, 2014


         Principal Amount
         Not to Exceed:                               MILLION DOLLARS ($                    )


                 FOR VALUE RECEIVED, the undersigned, PUERTO RICO ELECTRIC POWER
         AUTHORITY, a public corporation and governmental instrumentality of the Commonwealth of
         Puerto Rico (the "Borrower"), hereby unconditionally promises to pay to the order of
                                         (the "Lender") in lawful money of the United States of America
         and in immediately available funds, the principal amount of                            MILLION
         DOLLARS ($                  ) or, if less, the aggregate unpaid and outstanding principal amount
         of the Advances made by the Lender pursuant to the Credit Agreement, dated as of May 4, 2012,
         as amended (the "Credit Agreement"), among the Borrower, the lenders party thereto, and
         Scotiabank de Puerto Rico, as Administrative Agent, plus any interest, any other amounts due
         and payable to the Lender pursuant to and as described in the Credit Agreement (collectively, the
         "Obligations").

                 This promissory note is one of the Notes referred to in the Credit Agreement and is
         entitled to the benefits, and subject to the terms, of the Credit Agreement. Capitalized terms used
         herein without definition have the meanings assigned to them in the Credit Agreement.

                This Note shall not be deemed to constitute a debt or obligation of the Commonwealth of
         Puerto Rico or any of its municipalities or other political subdivisions other than the Borrower,
         and neither the Commonwealth of Puerto Rico nor any such municipalities or other political
         subdivisions other than the Borrower are liable for the payment of this Note or interest thereon or
         any amounts due under the Credit Agreement, but this Note and the interest thereon and amounts
         due under the Credit Agreement shall be payable as provided in the Credit Agreement, the
         Resolution (hereinafter defined) and the Trust Agreement (hereinafter defined).

                The principal amount hereof is payable on the Maturity Date and otherwise in accordance
         with the Credit Agreement. This Note is subject to prepayment as provided in the Credit
         Agreement.




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                                                                      Puerto Rico Electric Power Authority
                                                                                           August 14, 2013
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                The Borrower further agrees to pay, in lawful money of the United States of America and
         in immediately available funds, interest from the date hereof on the unpaid and outstanding
         principal amount hereof until such unpaid and outstanding principal amount shall become due
         and payable (whether at stated maturity, by acceleration or otherwise) at the rate or rates and at
         the times set forth in the Credit Agreement, and the Borrower agrees to pay other Obligations as
         provided in the Credit Agreement.

                 The date, amount and interest rate of each Advance, and each payment made on account
         thereof, shall be evidenced by records maintained by the Administrative Agent in the ordinary
         course of its business. Such records maintained by the Agent shall constitute prima facie
         evidence of the accuracy of the information so recorded in the absence of manifest error,
         provided that the failure to make such recordation or any error therein shall not limit or otherwise
         affect the obligations of the Borrower hereunder or under the Credit Agreement in respect of the
         Advances. The holder of this Note may, at its option, also record the date and amount of the
         Advances, the date and amount of each prepayment of principal thereof and the amount of
         unpaid principal with respect thereto on Schedule 1 annexed hereto and constituting a part
         hereof, and any such recordation shall constitute prima facie evidence of the accuracy of the
         information so recorded in the absence of manifest error, provided that the failure of the holder
         of this Note to make such recordation or any error therein shall not limit or otherwise affect the
         obligations of the Borrower hereunder or under the Credit Agreement in respect of the Advances.

                In case an Event of Default shall occur and be continuing, all amounts then remaining
         unpaid on this Note shall become, or may be declared to be, immediately due and payable, as
         provided in the Credit Agreement, without presentment, demand for payment, protest or notice
         of any kind, all of which are expressly waived by Borrower.

                The Borrower agrees to pay all costs and expenses, including reasonable attorneys' fees
         incurred in connection with the interpretation or enforcement of this Note, as permitted by and in
         accordance with the Credit Agreement.

                 This Note is payable by the Borrower as a "Current Expense" under the Trust Agreement
         dated as of January 1, 1974, as amended and supplemented, by and between the Borrower and
         U.S. Bank National Association, as successor trustee (the "Trust Agreement'), pursuant to
         Resolution No. 3909 adopted by the Borrower on April 12, 2012 and a Certificate of
         Determination dated May 4, 2012, executed by the Executive Director of the Authority
         (collectively, the "Resolution"), and is subject to the terms and provisions set forth in the Trust
         Agreement relating to Current Expenses.

             THIS NOTE SHALL BE GOVERNED BY, AND CONSTRUED AND IN
         ACCORDANCE WITH, THE LAW OF THE COMMONWEALTH OF PUERTO RICO.




                                                                                                     PREPA_RSA0031668
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                IN WITNESS WHEREOF, Puerto Rico Electric Power Authority has caused this Note to
         bear the manual signatures of the Executive Director and the Secretary of the Authority and its
         corporate seal to be imprinted hereon, all of the date first set forth above.

                                                    PUERTO RICO ELECTRIC POWER
                                                    AUTHORITY




         [Corporate Seal]                           By:_ _ _ _ __ _ _ _ __ _ __ __
                                                               Executive Director




                                                     By: _ _ _ _ _ _ _ _ __ _ _ _ __ __
                                                                     Secretary




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                                        SCHEDULE 1
                                          TO NOTE
                                  ADVANCES AND PAYMENTS
                                                        Unpaid Principal
                           Amount of      Amount of       Balance of         Notation Made
               Date        Advances    Principal Repaid    Advance                 By




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                                                                                   Page - 12 -
                                         Schedule 2.01

                                        COMMITMENTS

         Scotiabank de Puerto Rico                $200,000,000
         Oriental Bank                            $200,000,000
         Banco Popular de Puerto Rico             $75,000,000
         FirstBank Puerto Rico                    $75,000,000

                                          Total                  $550,000,000




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                                        FIFTH AMENDING AGREEMENT
                                                     TO
                                             CREDIT AGREEMENT



                   This Fifth Amending Agreement (the "Fifth Amending Agreement") to that certain
           Credit Agreement dated as of May 4, 2012 (the "Original Credit Agreement"), by and among
           PUERTO RICO ELECTRIC POWER AUTHORITY (the "Borrower"), the LENDERS party
           thereto, and SCOTIABANK DE PUERTO RICO, both as Lender and as Administrative Agent,
           made as ofNovember 12, 2013,

                                                  WITNESSETH:

                  WHEREAS, the Borrower, the Lenders and the Agent entered into the Credit Agreement,
           pursuant to which the Lenders granted to the Borrower a certain revolving credit facility.

                  WHEREAS, the Credit Agreement was amended by a First Amending Agreement to
           Credit Agreement dated October 23, 2012, by a Second Amending Agreement dated April 25,
           2013, by a Third Amending Agreement dated June 28, 2013, and by a Fourth Amending
           Agreement dated August 14, 2013. The Original Credit Agreement and all of the amending
           agreements referenced in this paragraph are herein collectively referred to as the "Credit
           Agreement".

                  WHEREAS, all capitalized terms used herein and not otherwise defined, are used with
           the same meanings given to such terms in the Credit Agreement.

                  WHEREAS, the parties have agreed to amend further the Credit Agreement to modify the
           method of calculating the funding-loss compensation payable by the Borrower to the Lenders
           upon qptional prepayment of Advances, all as more fully set o.ut below.

                  NOW THEREFORE, in consideration of the premises, the parties hereby execute this
           Fifth Amending Agreement under the following:

                                            TERMS AND CONDITIONS

               1. Optional Prepayment of Advances.

                   Section 2.07(e) is amended to read as follows. For ease ofreference, added text is shown
           in bold, and deleted text is shown in strikethrnugh:

                          (e)   In the event of (a) the payment of any principal of any LIBOR
                  Advance, other than on the last day of an Interest Period applicable thereto
                  (including as a result of an Event of Default), or (b) the failure to borrow,




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                                                                               Fifth Amending Agreement
                                                                      Puerto Rico Electric Power Authority
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                  continue or prepay any LIBOR Advance on the date specified in any notice
                  delivered pursuant thereto, then, in any such event, the Borrower shall
                  compensate each Lender for the loss, cost and expense attributable to such event.
                  Such loss, cost or expense to any Lender shall be deemed to include an amount
                  reasonably determined by such Lender to be the excess, if any, of (i) the amount
                  of interest which would have accrued on the principal amount of such Advance
                  had such event not occurred, computed at the LIBOR component of at the
                  LIBOR Rate that would have been applicable to such Advance, for the period
                  from the date of such event to the last day of the then current Interest Period
                  therefor (or, in the case of a failure to borrow or continue, for the period that
                  would have been the Interest Period for such Advance), over (ii) the amount of
                  interest which would accrue on such principal amount for such period at the
                  interest rate which such Lender would be offered, at the commencement of such
                  period, for dollar deposits of a comparable amount and period from other banks in
                  the LIBOR market. A certificate of any Lender setting forth in reasonable detail
                  any amount or amounts that such Lender is entitled to receive pursuant to this
                  Section shall be delivered to the Borrower and shall be conclusive absent manifest
                  error. The Borrower shall pay such Lender the amount shown as due on any such
                  certificate within 10 days after receipt thereof Notwithstanding anything to the
                  contrary herein, this paragraph (e) shall not apply to any LIBOR Advance with an
                  Interest Period of 1-week.

               2. All Other Provisions Applicable.

                  The Credit Agreement, as changed, altered, amended or modified by this Fifth Amending
          Agreement, shall continue in full force and effect, and is hereby in all respects ratified and
          confirmed, and the rights and obligations of all parties thereunder shall not be affected or
          prejudiced in any manner except as specifically provided for herein. All tenns, conditions,
          covenants and undertakings of the Loan Documents and all other instruments executed and
          delivered in connection therewith, not expressly amended, substituted or otherwise revoked by
          the te1ms hereof, remain in full force and effect.

               3. References to Agreement.

                 All references in the Credit Agreement to the "Agreement" shall now mean the Credit
          Agreement, as amended by all previous amending agreements referenced in the preamble hereof,
          and by this Fifth Amending Agreement; and all references to the "Credit Documents" shall now
          include this Fifth Amending Agreement.

               4. No Novation.

                 The terms and conditions of this Fifth Amending Agreement shall not be construed as,
          nor do they constitute, an extinctive novation of the Borrower' s obligations under the Credit
          Agreement.




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                                                                              Fifth Amending Agreement
                                                                     Puerto Rico Electric Power Authority
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                                                                                                Page - 3 -
               5. Inconsistent Te1ms.

                  If any provision of this Fifth Amending Agreement is inconsistent or conflicts with any
          provision of the Credit Agreement, the relevant provision of this Fifth Amending Agreement
          shall prevail and be paramount.

               6. Execution in Counterparts.

                  This Fifth Amending Agreement may be executed by its signatories in separate
          counterparts, each of which shall be deemed an original, but all of which taken together shall
          constitute one and the same instrnment.

                  IN WITNESS WHEREOF, the parties hereto have caused this Fifth Amending
          Agreement to be duly executed by their respective authorized officers as of the date first above
          written.

                                                      PUERTO RICO ELECTRIC POWER
                                                      AUTHORITY, Borrower


                                                      by: ~dg==
                                                      Name:ani:Alicea-Fl
                                                      Title: Executive Director


                                                      SCOTIABANK DE PUERTO RICO, as Lender and
                                                      Administrative Agent


                                                      by: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                      Name: Jose A. Maldonado-Davila
                                                      Title: Vice-President



                              (SIGNATURES CONTINUE ON FOLLOWING PAGE)




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                                                                              Fifth Amending Agreement
                                                                     Puerto Rico Electric Power Authority
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                                                                                                Page - 3 -
               5. Inconsistent Terms.

                 If any provision of this Fifth Amending Agreement is inconsistent or conflicts with any
         provision of the Credit Agreement, the relevant provision of this Flfih Amending Agreement
         shall prevail and be paramount.

               6. Execution in Counterparts.

                  This Fifth Amending Agreement may be executed by its signatories in separate
          counterparts, each of which shall be deemed an original, but all of which taken together shall
          constitute one and the same instrument.

                   IN WITNESS WHEREOF, the parties hereto have caused this Fifth Amending
          Agreement to be duly executed by their respective authorized officers as of the date first above
          written.

                                                      PUERTO RI CO ELECTRIC POWER
                                                      AUTHORITY, Borrower


                                                      by:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                      Name: Juan F. Alicea-Flores
                                                      Title: Executive Director



                                                      SCOTIABANK DE PUERTO RICO, as Lender and
                                                      Administrative Agent




                              (SIGNATURES CONTINUE ON FOLLOWING PAG E)




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                                 (SIONATURE PAGE CONTINUED)


                                             BANCO POPULAR DE PUERTO RICO, as
                                             Lender


                                             by:  dWJ2W2s,J.4      I
                                             Name: Adlin M. Rodriguez Gonzalez
                                             Title: Assistant VicewPresident




                                             ORIENTAL BANK, as Lender


                                             by:_ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                             Name:
                                                    -------------
                                             Title:
                                             By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                            Name: - - - -- - - - - - - - -
                                            Title:




                                            FIRSTBANK PUERTO RICO, as Lender


                                            by: _ _ _ __ _ __ _ _ _ _ __ __
                                            Name:
                                                   -------------
                                            Title:




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                                                             Pue110 Rico Electric Power Authmity
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                                 (SIGNATURE PAGE CONTINUED)


                                             BANCO POPULAR DE PUERTO RICO, as
                                             Lender


                                             by: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                             Name:
                                                    --------------
                                             Title:




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                                             By: ____________________ _ _ __
                                                          Helen M. Parc:Io?
                                                        -==-=-=....:....::a=--------
                                                         Senior Vice President -----



                                             FIRSTBANK PUERTO RICO, as Lender


                                             by: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                             Name:
                                                        --------------
                                             TitIe:




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                                  (SIGNATURE PAGE CONTINUED)


                                              BANCO POPULAR DE PUERTO RICO, as
                                              Lender


                                              by: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                              Name:
                                                     -------------
                                              Title:




                                              ORIENTAL BANK, as Lender


                                              by: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                              Name:
                                                     - -- -- -- - -- -- -
                                              Title:

                                              By:_ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                              Name: - - - - - - - - - - -- -
                                              Title:




                                              FIRSTBANK PUERTO RICO, as Lender


                                              by: _ __  i___f✓._/4+------------
                                              Name: ~F~el=-ip_e~L=,e'b~b~ro~n_ _ _ _ _ __
                                              Title:   Vice President




Confidential                                                                            PREPA_RSA0031678
